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      EDWARD TOMBA                                                 February 22, 2016
      JACKSON vs CITY OF CLEVELAND                                                 1

·1· · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · NORTHERN DISTRICT OF OHIO - EASTERN DIVISION

·3· ·RICKY JACKSON,

·4· · · · · · · Plaintiff,
· · · · · · · · · · · · · · · · ·JUDGE BOYKO
·5· · · ·-vs-· · · · · · · · · · CASE NO. 1:15-CV-00989

·6· ·CITY OF CLEVELAND, et al.,

·7· · · · · · · Defendants.
· · ·__________________________/
·8· ·KWAME AJAMU, et al.,

·9· · · · · · · Plaintiffs,

10·   · · ·-vs-· · · · · · · · · ·JUDGE BOYKO
· ·   · · · · · · · · · · · · · · CASE NO 1:15-CV-01320
11
· ·   ·CITY OF CLEVELAND, et al.,
12
· ·   · · · · · · Defendants.
13·   ·__________________________/

14· · · ·Deposition of EDWARD TOMBA, taken as if upon

15· ·examination before Brian A. Kuebler, a Notary

16· ·Public within and for the State of Ohio, at the

17· ·offices of Friedman & Gilbert, 55 Public Square,

18· ·Suite 1055, Cleveland, Ohio, at 9:05 a.m. on

19· ·Monday, February 22, 2016, pursuant to notice

20· ·and/or stipulations of counsel, on behalf of the

21· ·Plaintiffs in this cause.

22· · · · · · · · · · · · -· -· -           -

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      EDWARD TOMBA                                                 February 22, 2016
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·1· ·APPEARANCES:

·2·   ·   ·   ·Elizabeth Wang, Esq.
· ·   ·   ·   ·Loevy & Loevy
·3·   ·   ·   ·2060 Broadway, Suite 460
· ·   ·   ·   ·Boulder, Ohio· 80302
·4·   ·   ·   ·(720) 328-5642,

·5·   · · · · On behalf of the Plaintiff;
· ·   · · · · Ricky Jackson;
·6
· ·   ·   ·   ·Terry H. Gilbert, Esq.
·7·   ·   ·   ·Jacqueline C. Greene, Esq.
· ·   ·   ·   ·Friedman & Gilbert
·8·   ·   ·   ·55 Public Square, Suite 1022
· ·   ·   ·   ·Cleveland, Ohio· 44113
·9·   ·   ·   ·(216) 241-1430,

10· · · · · and

11·   ·   ·   ·David E. Mills, Esq.
· ·   ·   ·   ·The Mills Law Office, LLC
12·   ·   ·   ·1300 West Ninth Street, Suite 636
· ·   ·   ·   ·Cleveland, Ohio· 44113
13·   ·   ·   ·(216) 929-4747,

14·   · · · · On behalf of the Plaintiffs,
· ·   · · · · Kwame Ajamu and Wiley Bridgeman;
15
· ·   ·   ·   ·Stephen W. Funk, Esq.
16·   ·   ·   ·Roetzel & Andress
· ·   ·   ·   ·222 South Main Street
17·   ·   ·   ·Suite 400
· ·   ·   ·   ·Akron, Ohio· 44308
18·   ·   ·   ·(330) 376-2700,

19·   · · · · On behalf of the Individual
· ·   · · · · and Estate Defendants;
20
· ·   ·   ·   ·Shawn Mallamad, Esq.
21·   ·   ·   ·City of Cleveland Law Department
· ·   ·   ·   ·601 Lakeside Avenue
22·   ·   ·   ·Room 106 City Hall
· ·   ·   ·   ·Cleveland, Ohio· 44114
23·   ·   ·   ·(216) 664-2569,

24· · · · · On behalf of the Defendant,
· · · · · · City of Cleveland.
25


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·1· · · · · · · · · ·I N D E X

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   EDWARD TOMBA                                                 February 22, 2016
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·1· · · · · ·EDWARD TOMBA, of lawful age, called by the
·2· · · ·Plaintiffs for the purpose of examination, as
·3· · · ·provided by the Rules of Civil Procedure, being
·4· · · ·by me first duly sworn, as hereinafter certified,
·5· · · ·deposed and said as follows:
·6· · · · · · · · · EXAMINATION OF EDWARD TOMBA
·7· · · ·BY MS. WANG:
·8· ·Q.· Would you please state your name and spell it for
·9· · · ·the record?
10· ·A.· Edward Tomba, T-o-m-b-a.
11· ·Q.· What's your -- do you have a current position in
12· · · ·the Cleveland Police Department?
13· ·A.· Yes.· I am the deputy chief of homeland security
14· · · ·and special operations.
15· ·Q.· What, generally, are your duties and
16· · · ·responsibilities in that position?
17· ·A.· My duties and responsibilities are to oversee the
18· · · ·operations of three commands within the division
19· · · ·of police; the Bureau of Homeland Services, the
20· · · ·Bureau of Special Investigations, and the Bureau
21· · · ·of Special Services.
22· · · · · ·And under those commands are three
23· · · ·commanders, all the investigative functions
24· · · ·within the division of police, our organized
25· · · ·crime and intelligence unit, and the staff at


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   EDWARD TOMBA                                                 February 22, 2016
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·1· · · ·the Cleveland Hopkins Airport.
·2· ·Q.· How long have you had that position?
·3· ·A.· Seven years.
·4· ·Q.· Prior to -- well, let's start from the beginning,
·5· · · ·actually.
·6· · · · · ·When were you first appointed to the
·7· · · ·Cleveland Police Department?
·8· ·A.· July 29th, 1985.
·9· ·Q.· Okay.· And at that time, what was your -- did you
10· · · ·go to the police academy?
11· ·A.· Yeah.· Yes, I did.
12· ·Q.· Okay.· By the way, have you been deposed before?
13· ·A.· Once before, yes.
14· ·Q.· How long ago?
15· ·A.· Probably ten years ago.
16· ·Q.· Okay.· So just -- I'll go over some preliminary
17· · · ·rules for a deposition just to refresh your
18· · · ·recollection.
19· · · · · ·So we're here for a deposition that the City
20· · · ·of Cleveland has designated you for in the case
21· · · ·of Ricky Jackson versus the City of Cleveland and
22· · · ·Kwame Ajamu and Wiley Bridgeman versus the City
23· · · ·of Cleveland.
24· · · · · ·I'll be asking you some questions.· If you
25· · · ·don't understand any of my questions, let me


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   EDWARD TOMBA                                                 February 22, 2016
   JACKSON vs CITY OF CLEVELAND                                                 6

·1· · · ·know, and I'll try to rephrase or make it
·2· · · ·understandable; is that fair?
·3· ·A.· Okay.· Yep.
·4· ·Q.· All right.· And so the record is clear, please
·5· · · ·allow me to finish asking my question before you
·6· · · ·begin your answer.· That way the record will be
·7· · · ·clear; is that fair?
·8· ·A.· Yes.
·9· ·Q.· Okay.· We can take a break at any time that you
10· · · ·wish, except for when a question is pending; is
11· · · ·that fair?
12· ·A.· Okay.· Yes.
13· ·Q.· All right.· So the police academy.· How long were
14· · · ·you in the police academy?
15· ·A.· Four months.
16· ·Q.· And then where were you assigned?
17· ·A.· I was assigned to the basic patrol division of
18· · · ·the Sixth District, which is on the east side of
19· · · ·the city.
20· ·Q.· How long were you in that position?
21· ·A.· Six years.
22· ·Q.· All right.· And then after that, what was your
23· · · ·next position?
24· ·A.· I was assigned as a vice detective, vice
25· · · ·detective in the Sixth District --


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   EDWARD TOMBA                                                 February 22, 2016
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·1· ·Q.· What kind --
·2· ·A.· -- for 18 months.
·3· ·Q.· What kind of crimes did you investigate in vice?
·4· ·A.· Prostitution, illegal gambling, and narcotics.
·5· ·Q.· All right.· And then where did you go after that?
·6· ·A.· I was promoted to sergeant in 1993.· And I worked
·7· · · ·the -- I was a road supervisor in the uniform
·8· · · ·division for a year, and I supervised a group of
·9· · · ·officers for a year.
10· · · · · ·And then after that, I was transferred to the
11· · · ·internal affairs bureau for four and a half
12· · · ·years, where we investigated allegations of
13· · · ·police misconduct.
14· ·Q.· What did you do as a road supervisor?
15· ·A.· Road supervisor is, I was in a patrol car, a
16· · · ·supervisor, and I supervised the men and women
17· · · ·in the Sixth District on a specific shift that
18· · · ·answered calls for service.
19· · · · · ·So if there was a serious crime or something
20· · · ·that they needed supervisory guidance, I would
21· · · ·respond in uniform and talk to the officers on
22· · · ·the scene, and we would come to a decision as to
23· · · ·exactly what action to take.
24· ·Q.· Okay.· And then when you were transferred to
25· · · ·internal affairs, you were there for four and a


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   EDWARD TOMBA                                                 February 22, 2016
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·1· · · ·half years?
·2· ·A.· Yes.
·3· ·Q.· Okay.· So was that '95 to '99?
·4· ·A.· Yes.· Exactly.
·5· ·Q.· Did you have a supervisory position in internal
·6· · · ·affairs?
·7· ·A.· No.· I was a sergeant, and all the investigators
·8· · · ·were supervisors.· We answered to a lieutenant,
·9· · · ·who answered directly to the chief of police.
10· ·Q.· After your stint in internal affairs, where did
11· · · ·you go?
12· ·A.· I went to the Third District, strike force unit,
13· · · ·which covered the downtown business district.
14· · · ·And we investigated -- I was a supervisor.· We
15· · · ·investigated pattern crimes within the downtown
16· · · ·business district, street robberies, auto thefts,
17· · · ·narcotics, complaints.
18· · · · · ·I did that for about a year, and then I was
19· · · ·promoted to lieutenant.
20· ·Q.· What year was it that you made lieutenant?
21· ·A.· That was 2000.
22· ·Q.· Where did you go next as lieutenant?
23· ·A.· I was assigned to the Third District detective
24· · · ·bureau, and I was responsible for the general
25· · · ·duty detectives, who investigated crimes


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   EDWARD TOMBA                                                 February 22, 2016
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·1· · · ·throughout the Third District and the strike
·2· · · ·force, who investigated pattern crimes, and
·3· · · ·also the vice unit.
·4· · · · · ·And I had three sergeants underneath me that
·5· · · ·were the direct supervisors in those units.
·6· ·Q.· Okay.· So you supervised the sergeants?
·7· ·A.· I supervised the sergeants, yes.
·8· ·Q.· And the sergeants supervised the detectives?
·9· ·A.· The detectives.· Correct.
10· ·Q.· Okay.· How long were you in that position?
11· ·A.· I was in that position until 2002.· And then I
12· · · ·was appointed as the commander of the Bureau of
13· · · ·Special Investigations.
14· ·Q.· And what where your duties and responsibilities
15· · · ·there?
16· ·A.· I oversaw the investigative function of the
17· · · ·major investigative bureaus within the city,
18· · · ·the homicide unit, sex crimes and child abuse
19· · · ·unit, financial crimes unit, domestic violence
20· · · ·unit, our bomb squad, our forensic lab.· Any
21· · · ·specialized investigation was handled by our
22· · · ·unit.
23· ·Q.· How long were you in that position?
24· ·A.· Until 2005 -- 2006, 2006.
25· ·Q.· Where did you go in 2006?


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   EDWARD TOMBA                                                  February 22, 2016
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·1· ·A.· And I was promoted to deputy chief, my current
·2· · · ·position.
·3· ·Q.· Where did you go to college?
·4· ·A.· Cleveland State University.
·5· ·Q.· When did you graduate?
·6· ·A.· 2007.
·7· ·Q.· You got a BA or --
·8· ·A.· Bachelor's degree in public safety management.
·9· ·Q.· Did you work before you joined the Cleveland
10· · · ·Police Department?
11· ·A.· I did for three -- before that, I got out of --
12· · · ·I was at Ashley University when I got out of high
13· · · ·school.· And then from 1981 until I was hired, I
14· · · ·worked at the Cleveland Clinic Foundation.
15· ·Q.· What did you do at the Cleveland Clinic
16· · · ·Foundation?
17· ·A.· I was an orderly.
18· ·Q.· And you said 1980 to 1981?
19· ·A.· 1981 until I was appointed in '85.
20· ·Q.· Oh, okay.
21· ·A.· About four years.
22· · · · · · · · · · · MS. WANG:· All right.· I'm going
23· · · · · · · to -- it's just the deposition notice.
24· · · · · · · · · · · MR. MALLAMAD:· I can look at the
25· · · · · · · chief's if you guys need an extra copy.


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   EDWARD TOMBA                                                  February 22, 2016
   JACKSON vs CITY OF CLEVELAND                                                 11

·1· · · · · ·(Thereupon, Deposition Exhibit 1 was marked
·2· · · · · ·for purposes of identification.)
·3· · · ·BY MS. WANG:
·4· ·Q.· All right.· I have handed you what the court
·5· · · ·reporter has marked as Deposition Exhibit 1.· It
·6· · · ·is the Amended Notice of Rule 30(b)(6) Deposition
·7· · · ·to Defendant City of Cleveland.· And just take a
·8· · · ·look at that.
·9· · · · · ·Have you seen that document before?
10· ·A.· Yes.
11· ·Q.· Okay.· Now, I'm just going to go through these
12· · · ·topics and confirm that you have, in fact, been
13· · · ·designated by the city to testify about these
14· · · ·topics here today.
15· ·A.· Okay.
16· ·Q.· So are you the person who has been designated
17· · · ·by the City of Cleveland to provide binding
18· · · ·testimony on the city's behalf on the following
19· · · ·topics?
20· · · · · ·One:· The city's written and unwritten
21· · · ·policies, practices, and customs in effect from
22· · · ·May 19th, 1970, through May 19th, 1980, relating
23· · · ·to:· A.· Documenting or memorializing the
24· · · ·developments in an investigation in such a way
25· · · ·that they would become part of the official file


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   EDWARD TOMBA                                                  February 22, 2016
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·1· · · ·during the course of an investigation, including
·2· · · ·documentation and preservation of information
·3· · · ·learned during a homicide investigation,
·4· · · ·including placing witness statements and notes
·5· · · ·thereof in the official investigation file.
·6· · · · · ·Have you been so designated?
·7· ·A.· Yes.
·8· · · · · · · · · · · MR. MALLAMAD:· Liz, if I could
·9· · · · · · · just interrupt, obviously, you're going to
10· · · · · · · read each and every one of these sentences
11· · · · · · · and paragraphs.· That's fine, but I'm sure
12· · · · · · · the chief could review this and give you a
13· · · · · · · global response if you --
14· · · · · · · · · · · MS. WANG:· Well, I want it on the
15· · · · · · · record.· So I'm going to read each of the
16· · · · · · · topics.
17· · · · · · · · · · · MR. MALLAMAD:· Okay.
18· · · ·BY MS. WANG:
19· ·Q.· B.· Conducting and documenting photo or in-person
20· · · ·lineup or showup.· Have you been designated to
21· · · ·testify about that topic?
22· ·A.· Yes, I have.
23· ·Q.· C.· Use of informants or witnesses during a
24· · · ·criminal investigation, including disclosure of
25· · · ·such witnesses and payments, gifts, promises,


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   EDWARD TOMBA                                                  February 22, 2016
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·1· · · ·and threats made to such witnesses.
·2· ·A.· Yes.
·3· ·Q.· D.· Disclosure of exculpatory evidence,
·4· · · ·including, but not limited to, impeachment
·5· · · ·materials, to criminal defendants, defense
·6· · · ·attorneys, or prosecutors.
·7· ·A.· Yes.
·8· ·Q.· E.· Conducting and documenting interrogations or
·9· · · ·interviews of suspects and witnesses, including
10· · · ·juveniles.
11· ·A.· Yes.
12· ·Q.· F.· Writing, preserving, and destroying police
13· · · ·reports, investigator/detective notes, memos,
14· · · ·and exculpatory evidence, including impeachment
15· · · ·materials, during the course of an investigation,
16· · · ·including use, creation, contents of, storage,
17· · · ·location, movement, and preservation of homicidal
18· · · ·investigative files kept by the Cleveland Police
19· · · ·Department and Cleveland detectives.
20· ·A.· Yes.
21· ·Q.· G.· Discipline, training, and supervision of
22· · · ·detectives.
23· ·A.· Yes.
24· ·Q.· Okay.· Have you been designated by the city to
25· · · ·testify -- to provide binding testimony on the


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   EDWARD TOMBA                                                  February 22, 2016
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·1· · · ·city's behalf on the topic of:· 2.· The city's
·2· · · ·training of its law enforcement officers
·3· · · ·in effect from May 19th, 1970, through May
·4· · · ·19th, 1980, relating to A:· Documenting
·5· · · ·or memorializing the developments in an
·6· · · ·investigation in such a way that they would
·7· · · ·become part of the official file during
·8· · · ·the course of an investigation, including
·9· · · ·documentation and preservation of information
10· · · ·learned during a homicide investigation,
11· · · ·including placing witness statements and notes
12· · · ·thereof in the official investigation file?
13· ·A.· Yes.
14· ·Q.· B.· Conducting and documenting photo or in-person
15· · · ·lineup or showup.
16· · · · · ·Have you been designated on topic 2B?
17· ·A.· Yes.
18· ·Q.· Have you been --
19· ·A.· I'm sorry.
20· ·Q.· Are you following along?
21· ·A.· Yes, I am.
22· ·Q.· All right.· Have you been designated on topic
23· · · ·2C?· Use of informants or witnesses during a
24· · · ·criminal investigation, including disclosure
25· · · ·of such witnesses and payments, gifts, promises,


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   EDWARD TOMBA                                                  February 22, 2016
   JACKSON vs CITY OF CLEVELAND                                                 15

·1· · · ·and threats made to such witnesses.
·2· ·A.· Yes.
·3· ·Q.· Have you been designated on topic 2D?
·4· · · ·Disclosure of exculpatory evidence, including,
·5· · · ·but not limited to impeachment materials, to
·6· · · ·criminal defendants, defense attorneys, or
·7· · · ·prosecutors?
·8· ·A.· Yes.
·9· ·Q.· 2E.· Conducting and documenting interrogations or
10· · · ·interviews with suspects and witnesses, including
11· · · ·juveniles.
12· ·A.· Yes.
13· ·Q.· 2F.· Writing, preserving, and destroying police
14· · · ·reports, investigator/detective notes, memos,
15· · · ·and exculpatory evidence, including impeachment
16· · · ·materials, during the course of an investigation,
17· · · ·including the use, creation, contents of,
18· · · ·storage, location, movement, and preservation
19· · · ·of homicidal investigative files kept by the
20· · · ·Cleveland Police Department and Cleveland
21· · · ·detectives.
22· ·A.· Yes.
23· ·Q.· 2G.· Discipline, training, and supervision of
24· · · ·detectives.
25· ·A.· Yes.


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   EDWARD TOMBA                                                  February 22, 2016
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·1· ·Q.· Have you been designated to provide binding
·2· · · ·testimony on behalf of the City of Cleveland on
·3· · · ·the topic of 3?
·4· · · · · ·Any and all training provided to Eugene
·5· · · ·Terpay, James Farmer, Frank Stoiker, John
·6· · · ·Staimpel, Peter Comodeca, Michael Cummings,
·7· · · ·James White, Jerold Englehart.
·8· ·A.· Yes.
·9· ·Q.· Have you been designated by the City of Cleveland
10· · · ·to provide binding testimony on topic 4?
11· · · · · ·The city's efforts to locate and produce
12· · · ·files responsive to plaintiff's document request
13· · · ·in this case.· This request includes, but is not
14· · · ·limited to, the persons with knowledge about
15· · · ·those search efforts where efforts have been
16· · · ·undertaken to locate and produce documents
17· · · ·relating to the Franks' homicide investigation or
18· · · ·to the police department's policies and
19· · · ·procedures from different areas of the Cleveland
20· · · ·Police Department and the City of Cleveland,
21· · · ·including, but not limited to, location of the
22· · · ·documents produced in this case between 1975 and
23· · · ·the present day.
24· ·A.· Yes.
25· ·Q.· Have you been designated by the City of Cleveland


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·1· · · ·to provide binding testimony on topic 5?
·2· · · · · ·The Cleveland Police Department and the
·3· · · ·city's document retention policies from May 1975
·4· · · ·to the present.
·5· ·A.· Yes.
·6· ·Q.· Have you been designated by the City of Cleveland
·7· · · ·to provide binding testimony on topic 6?
·8· · · · · ·Any efforts by the City of Cleveland to
·9· · · ·identify, investigate, or present any of the
10· · · ·following types of misconduct and discipline
11· · · ·imposed by the city as a result of such
12· · · ·investigations.
13· · · · · ·A.· Improper eyewitness identification
14· · · ·procedures, including misconduct related to live
15· · · ·in-person lineup and photographic showup or lack
16· · · ·of documentation regarding the same.
17· ·A.· Yes.
18· ·Q.· 6B.· Failure to place Brady evidence and
19· · · ·information in the official investigative file or
20· · · ·otherwise withholding material, exculpatory
21· · · ·information from prosectors, suspects, criminal
22· · · ·defendants and their attorneys.
23· ·A.· Yes.
24· ·Q.· 6C.· Failure to document and preserve information
25· · · ·learned during a homicide investigation.


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·1· ·A.· Yes.
·2· ·Q.· 6D.· Improper interviews, interrogations, or
·3· · · ·interactions with juvenile witnesses and/or
·4· · · ·juvenile suspects.
·5· ·A.· Yes.
·6· ·Q.· Have you been designated by the City of Cleveland
·7· · · ·to provide binding testimony on behalf of topic
·8· · · ·7, which is the final policymaking authority for
·9· · · ·the City of Cleveland for the time period of May
10· · · ·19th, 1970, through May 19th, 1980, on policies,
11· · · ·procedures, practices, and training relating to
12· · · ·topics 1 through 6 listed above?
13· ·A.· Yes.
14· ·Q.· Thank you.
15· ·A.· Uh-huh.
16· ·Q.· Now, what did you do to prepare for this
17· · · ·deposition?
18· ·A.· I met with Mr. Mallamad, and I reviewed some
19· · · ·documents that he had provided from the City of
20· · · ·Cleveland.
21· ·Q.· Okay.· When did you meet with Mr. Mallamad?
22· ·A.· We met twice last week.· I believe it was on
23· · · ·Tuesday and Friday.
24· ·Q.· Is that it?· Are those the only times you met
25· · · ·with him?


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·1· ·A.· Yes.
·2· ·Q.· How long did you meet with Mr. Mallamad?
·3· ·A.· Total?· Probably about six hours.
·4· ·Q.· What documents did you review in preparation for
·5· · · ·your deposition?
·6· ·A.· It was a series of documents that were responsive
·7· · · ·to the requests that were made.· And there was
·8· · · ·policy, general police orders, some policies from
·9· · · ·the State of Ohio.· There were documents that
10· · · ·were related to the Manual of Rules during the
11· · · ·years in question.
12· · · · · ·There was a large, large group of responsive
13· · · ·documents.· We reviewed all of those.· Exactly,
14· · · ·every single document, I couldn't tell you
15· · · ·exactly what it was, but...
16· ·Q.· All right.· So it's your understanding that you
17· · · ·reviewed documents that have been produced in
18· · · ·this case?
19· ·A.· Yes.
20· ·Q.· Okay.· Did you speak with anyone else, besides
21· · · ·Mr. Mallamad, in preparation for the deposition
22· · · ·today?
23· ·A.· Yes.
24· ·Q.· Who else did you speak to?
25· ·A.· I talked to -- a phone conversation with Steve.


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·1· ·Q.· With Mr. Funk?
·2· ·A.· Yes.
·3· ·Q.· When did you speak with him?
·4· ·A.· That was Friday afternoon.
·5· ·Q.· What did you say to him?· What did he say to you?
·6· ·A.· Just a general overview of what to expect today,
·7· · · ·being the fact that I haven't been deposed in
·8· · · ·quite a long time.
·9· · · · · ·Just that -- really, reiterated a lot
10· · · ·of things that Shawn and I spoke about about
11· · · ·answering the questions relative to the
12· · · ·responsive documents that were provided.
13· ·Q.· Did Mr. Funk call you, or did you call him?
14· ·A.· Shawn called him, and we had a conference call.
15· ·Q.· So who else was present for that conversation --
16· ·A.· Just the two of us.
17· ·Q.· Sorry.· Just let me finish the question so the
18· · · ·record is clear.
19· · · · · ·Who else was present for that conversation,
20· · · ·besides yourself, Mr. Mallamad, and Mr. Funk?
21· ·A.· It was just myself, Mr. Mallamad, and Mr. Funk
22· · · ·was on the phone.
23· ·Q.· Okay.· And I'm sorry if I just asked you this,
24· · · ·but how long was that phone call?
25· ·A.· Ten minutes at best.


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·1· ·Q.· Was there anything else that was said in that
·2· · · ·conversation, other than what you've already
·3· · · ·testified to?
·4· ·A.· No.
·5· ·Q.· Did Mr. Funk point out any documents for you to
·6· · · ·review?
·7· ·A.· No, he didn't.
·8· ·Q.· Did he tell you anything about what the defendant
·9· · · ·officers were alleged to have done in this case?
10· ·A.· I was aware of what they were alleged to have
11· · · ·done.
12· ·Q.· Did you review the complaint in this case?
13· ·A.· Yes.
14· ·Q.· Besides anything that you might have learned from
15· · · ·speaking with your attorney, how else are you
16· · · ·aware of what the allegations are in this case?
17· ·A.· I really don't have any other knowledge, except
18· · · ·when I was contacted by the law department to
19· · · ·start this process.
20· ·Q.· Okay.· Now, was there anybody who was in the
21· · · ·Cleveland Police Department in the 1970s that
22· · · ·you spoke with in preparation for your deposition
23· · · ·today?
24· ·A.· No, there isn't.
25· ·Q.· What is your understanding, generally, of how


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·1· · · ·written policies for the Cleveland Police
·2· · · ·Department were established in the 1970s?
·3· ·A.· Well, I can speak as to how things are done
·4· · · ·today.· And after reviewing those documents, it
·5· · · ·looked like they were about the same.· So I can
·6· · · ·tell you how we do things today.
·7· · · · · ·We have a Manual of Rules.· We have general
·8· · · ·police orders, and we have divisional notices.
·9· · · ·And reviewing some of those documents, I see that
10· · · ·they had the same thing back in the 1970s.
11· · · · · ·So, you know, the orders and the notices are
12· · · ·established by the chief of police, and they are
13· · · ·given to the members of the Division of Police to
14· · · ·follow.
15· ·Q.· And so I just want to be clear which time period
16· · · ·you're speaking of now.· The orders in the 1970s
17· · · ·were -- both today and in the 1970s are
18· · · ·established by the chief of police?
19· ·A.· By the chief of police, yes.
20· ·Q.· And you're talking about the general police
21· · · ·orders?
22· ·A.· Yes, I am.
23· ·Q.· Okay.· And in the 1970s, was there anybody else
24· · · ·responsible for establishing or promulgating
25· · · ·police orders, general police orders, besides


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·1· · · ·the chief of police?
·2· ·A.· The ultimate responsibility comes from the chief
·3· · · ·of police, but he gathers information from a lot
·4· · · ·of different sources.· It could be new case
·5· · · ·law.· It could be new policies within different
·6· · · ·organizations that we work with.
·7· · · · · ·Anything that would change or guide the men
·8· · · ·and women of the Division of Police about how
·9· · · ·they do their jobs.
10· · · · · ·So he is the sole policy setter for the
11· · · ·division, but there are a lot of other outside,
12· · · ·I would have to say, people that make
13· · · ·recommendations.
14· · · · · ·And, you know, we do follow the law.· So if
15· · · ·the law changes, the chief will put that in the
16· · · ·policy.
17· ·Q.· Okay.· So in the 1970s, the chief of police was
18· · · ·the final policy maker for the department?
19· ·A.· Yes.
20· ·Q.· And that's on any of the topics -- any of the
21· · · ·issue areas that might confront a police officer?
22· ·A.· Yes.
23· ·Q.· What was the role in the 1970s of the director
24· · · ·of public safety in relationship to the police
25· · · ·chief?


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·1· ·A.· Well, the director of public safety answers to
·2· · · ·the mayor of the City of Cleveland.· And the
·3· · · ·director of public safety is responsible for
·4· · · ·management and oversight of the Division of
·5· · · ·Police, the Division of Fire, the Division of
·6· · · ·EMS, and the dog warden.
·7· ·Q.· And that was true in the 1970s as well?
·8· ·A.· Yes.
·9· ·Q.· Did the director of public safety have any
10· · · ·responsibility for creating or promulgating rules
11· · · ·or general orders for the department?
12· ·A.· In the 1970s, no.· I believe it was still the
13· · · ·office of the chief of police was the final
14· · · ·policy maker.· And I think -- I believe that is
15· · · ·set by the charter of the City of Cleveland.
16· ·Q.· Okay.· You mentioned there was a Manual -- there
17· · · ·is a Manual of Rules --
18· ·A.· Yes.
19· ·Q.· -- that was in existence in the 1970s?
20· ·A.· Yes, there is.
21· ·Q.· Is there still a Manual of Rules today?
22· ·A.· Yes, there is.
23· ·Q.· The Manual of Rules, in the 1970s, do you know
24· · · ·who created that, the one that was in existence
25· · · ·in the 1970s?


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·1· ·A.· No.· I don't recall.
·2· ·Q.· Today, who is responsible for creating or
·3· · · ·revising the Manual of Rules?
·4· ·A.· Chief Williams.
·5· ·Q.· Chief Williams?
·6· ·A.· The chief of police.
·7· ·Q.· Oh, the chief of police.
·8· ·A.· Yes.
·9· ·Q.· And does he receive input from people in the same
10· · · ·way, in terms of the Manual of Rules and making
11· · · ·updates or edits to it, as he did -- as he does
12· · · ·with the police orders?
13· ·A.· Yes, he does.
14· ·Q.· What's the difference between the kinds of items,
15· · · ·you know, rules that were in the Manual of Rules,
16· · · ·versus the general police orders?
17· ·A.· The Manual of Rules is a document that provides
18· · · ·responsibility, job descriptions of different
19· · · ·ranks within the division.· It provides a broad
20· · · ·overview of what is expected, as far as conduct
21· · · ·for the members of the Division of Police.
22· · · · · ·And the general police orders -- I could
23· · · ·describe them as more operational, day-to-day
24· · · ·responsibilities that a supervisory officer, all
25· · · ·the way down to a first line uniformed officer


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·1· · · ·would follow.
·2· · · · · ·So the Manual of Rules is very -- is broad,
·3· · · ·and it encompasses our conduct and our
·4· · · ·responsibilities.· And then the general police
·5· · · ·orders encompass the day-to-day things that take
·6· · · ·place in the field.
·7· ·Q.· Today, in the general police orders, is there an
·8· · · ·order concerning the officer's obligation to
·9· · · ·disclose exculpatory evidence?
10· ·A.· Today?
11· ·Q.· Yes.
12· ·A.· Not in a general police order, but, you know,
13· · · ·the number one responsibility for a police
14· · · ·officer is to follow the law and, you know, be
15· · · ·honest and conduct their job with integrity, but
16· · · ·is it documented anywhere in a general police
17· · · ·order?· No.· But that is following the law that
18· · · ·is expected of them.
19· ·Q.· Is there any rule, policy, or written document
20· · · ·in the Cleveland Police Department today that
21· · · ·explains to officers what their duties are to
22· · · ·disclose exculpatory evidence?
23· ·A.· Well, I would have to say that they -- their
24· · · ·responsibilities, particularly in the detective
25· · · ·function, is that we are the -- it's outlined


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·1· · · ·that we are the gatherer of information and
·2· · · ·facts.
·3· · · · · ·And we present everything that we gather to
·4· · · ·the prosecutor for that decision.· We don't
·5· · · ·make that decision as to what is exculpatory or
·6· · · ·not.· We provide everything that we get during
·7· · · ·the course of an investigation, and we give it
·8· · · ·to the prosecutor's office.· That is our duty.
·9· · · · · ·And then they decide what is or what isn't
10· · · ·through the legal process.· That isn't something
11· · · ·that is mandated, or that is not a responsibility
12· · · ·of a Cleveland police officer.
13· ·Q.· The duty and obligation that you just described
14· · · ·to disclose all evidence to the prosecutor, is
15· · · ·that written down?
16· ·A.· That's in -- those are in different policy
17· · · ·manuals within the Division of Police.
18· ·Q.· Today?
19· ·A.· Yes.
20· ·Q.· Which policy manual?
21· ·A.· It's in the homicide unit policy manual,
22· · · ·sex crimes.· Any investigative unit within the
23· · · ·Division of Police is -- it's pretty much a
24· · · ·standard operating procedure when conducting
25· · · ·an investigation, that any and all evidence,


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·1· · · ·information gathered, is turned over to the
·2· · · ·prosecutor's office so they can make an informed
·3· · · ·decision.
·4· · · · · ·And all of our cases are reviewed by a
·5· · · ·prosecutor.· We don't make any of those decisions
·6· · · ·on our own.
·7· ·Q.· Okay.· And that is written down in policy
·8· · · ·manuals --
·9· ·A.· Yes.
10· ·Q.· -- that exist today?
11· ·A.· Yes, it is.
12· ·Q.· And you said in any of the -- that is in -- so
13· · · ·there is more than one policy manual?
14· ·A.· Yes.
15· ·Q.· There is a policy manual for each investigative
16· · · ·division?
17· ·A.· Each investigative unit.
18· ·Q.· Oh, unit.
19· ·A.· Each investigative unit.
20· ·Q.· And what do you mean by investigative unit?
21· ·A.· I would say homicide is an investigative unit.
22· · · ·Sex crimes and child abuse is an investigative
23· · · ·unit.· Narcotics is an investigative unit.
24· · · · · ·There are broad investigative
25· · · ·responsibilities and requirements that we


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·1· · · ·all follow.· And then the uniqueness of the
·2· · · ·investigation to a particular unit, there
·3· · · ·are policies that guide them also.
·4· ·Q.· Okay.· The requirement of officers to disclose
·5· · · ·evidence to the prosecutors, where else is that
·6· · · ·written down today, besides in the policy manual?
·7· ·A.· I don't think it's written anywhere else.
·8· ·Q.· In the 1970s, what was the role of -- or sorry.
·9· · · ·Strike that.
10· · · · · ·Today, you said you have divisional notices?
11· ·A.· Yes.
12· ·Q.· Okay.· And what is the purpose of divisional
13· · · ·notices today?
14· ·A.· Divisional notices are temporary notices, such
15· · · ·as -- a general police order is an order that is
16· · · ·to be followed until the general police order is
17· · · ·revised.
18· · · · · ·A divisional notice is a notice of -- such
19· · · ·as December 23rd and 21st, municipal prosecutor's
20· · · ·office will not be open for prosecutor
21· · · ·consultation.· Tomorrow is St. Patrick's Day.
22· · · ·The uniform of the day will be such and such.
23· · · · · ·So they're operational notices that have an
24· · · ·expiration, usually, within a week or so.· It's
25· · · ·just information that the police chief wants to


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·1· · · ·get out to the division.
·2· ·Q.· Okay.· And back in the 1970s, were there
·3· · · ·divisional notices then, too?
·4· ·A.· During the review of my documents, I did not see
·5· · · ·any.
·6· ·Q.· I saw a reference to departmental notices that
·7· · · ·existed back in 1970.
·8· ·A.· Same thing.· Departmental notices could be the
·9· · · ·same thing as a divisional notice.
10· ·Q.· Do you have things called departmental notices
11· · · ·today?
12· ·A.· No.· We have divisional notices.
13· ·Q.· So you think that the -- if there was a reference
14· · · ·to departmental notices in one of these documents
15· · · ·from the 1970s, it may be the same thing as the
16· · · ·divisional notices today?
17· ·A.· It may be, yes.
18· ·Q.· All right.· Besides -- today, you mentioned
19· · · ·there is Manual of Rules, general police orders,
20· · · ·divisional notices.· There is policy manuals for
21· · · ·each investigative unit.
22· ·A.· Yes.
23· ·Q.· Where else are there written policies and
24· · · ·procedures for the operation of the department
25· · · ·today?


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·1· ·A.· That is it.
·2· ·Q.· Okay.
·3· ·A.· I believe that is it.
·4· ·Q.· Okay.· Back in the 1970s, were there written
·5· · · ·policies or procedures for the operation of the
·6· · · ·department besides what you've already testified
·7· · · ·to, which were the Manual of Rules, the general
·8· · · ·police orders?
·9· ·A.· Just what -- from the documents that I reviewed,
10· · · ·those were the only documents that had the rules
11· · · ·and regulations.· And I didn't see any policy
12· · · ·manuals.
13· ·Q.· Okay.· With respect -- today, you -- strike that.
14· · · · · ·You testified that, currently, detectives
15· · · ·have an obligation to turn over information that
16· · · ·is in their file to the prosecutor?
17· ·A.· Yes.
18· ·Q.· Is that correct?
19· ·A.· I did.
20· ·Q.· Today, if there were information that was known
21· · · ·to the detective that was not contained within
22· · · ·the investigative file, would they have an
23· · · ·obligation to turn that over to the prosecutor?
24· ·A.· Yes, they would.
25· ·Q.· And how would they -- how would they communicate


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·1· · · ·that information?
·2· ·A.· A lot of different ways, but I would imagine
·3· · · ·face-to-face.
·4· ·Q.· Is there a requirement that that -- a written
·5· · · ·policy or requirement or rule that requires
·6· · · ·officers to document the fact that they have
·7· · · ·communicated such information to prosecutors?
·8· ·A.· Could you rephrase that?
·9· ·Q.· Okay.· If there were information that an officer
10· · · ·verbally communicated to the prosecutor's office,
11· · · ·is there any -- does he have to document that
12· · · ·somewhere?
13· ·A.· Yes.
14· ·Q.· Where does he have to document that?
15· ·A.· He would document that in -- today?
16· ·Q.· Yes.
17· ·A.· We call that a form 10, and that would be a
18· · · ·written -- a written report.· And at times, that
19· · · ·would be at the request of the prosecutor's
20· · · ·office.
21· · · · · ·There are conversations that take place that
22· · · ·are not documented in a form 10, but if it's an
23· · · ·investigative -- if it's something that is
24· · · ·relevant to the investigation, the prosecutor
25· · · ·may even say, "You know, I need you to type


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·1· · · ·that out and document it in a form 10."
·2· ·Q.· Is there a department -- is there a rule in the
·3· · · ·department or a policy somewhere that explains
·4· · · ·to officers that they are to document that
·5· · · ·information in a form 10?
·6· ·A.· Yes, there is.· It's in the policy manuals.
·7· ·Q.· For each of the investigative units?
·8· ·A.· For each of the investigative units.· Yes, there
·9· · · ·is.
10· ·Q.· When were the policy manuals, the ones that
11· · · ·exist currently, the policy manuals for the
12· · · ·investigative units, when were those created?
13· ·A.· I don't know exactly.· I don't know.· I know
14· · · ·when I was appointed in my command of special
15· · · ·investigations, those manuals existed, and we
16· · · ·update them every year.
17· · · · · ·So I can tell you from my experience in the
18· · · ·last ten years that they have been updated every
19· · · ·year for the last ten years.
20· ·Q.· And is the police chief responsible for updating
21· · · ·those, too?
22· ·A.· He gives us the order, and we push that down to
23· · · ·our commanders and our lieutenants, who do the
24· · · ·operational work in those bureaus.
25· · · · · ·We'll tell the lieutenant January 1st, "By


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·1· · · ·March 1st, please have your manuals updated
·2· · · ·with any new case law, any new policy, any new
·3· · · ·procedure that's taken place over the last year."
·4· ·Q.· Okay.· Taking a look at the deposition notice,
·5· · · ·let's talk about topic 1A.· Topic 1A relates
·6· · · ·to the city's written and unwritten policies,
·7· · · ·practices, and customs in effect from May 19th,
·8· · · ·1970, through May 19th, 1980, relating to
·9· · · ·documenting or memorializing the developments in
10· · · ·an investigation in such a way that they would
11· · · ·become part of the official file during the
12· · · ·course of an investigation.
13· · · · · ·What written policies or procedures were
14· · · ·there in place during that time period, relating
15· · · ·to that topic?
16· ·A.· You know, when I was reviewing this, as far as
17· · · ·written policies in the '70s and the 1980s, I
18· · · ·can't speak with certainty on that, but I go back
19· · · ·to the Manual of Rules and to, you know, what the
20· · · ·duty of a law enforcement officer is.
21· · · · · ·And it's to follow the law.· And all this is
22· · · ·part of, I believe -- and it is definitely, you
23· · · ·know, following the law.
24· · · · · ·So I would assume -- I don't have any
25· · · ·evidence to prove it, but I would assume that the


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·1· · · ·officers that were conducting that -- those
·2· · · ·types of investigations during that time frame
·3· · · ·would document their work and provide everything
·4· · · ·that they have to the prosecutor, but as far as
·5· · · ·manuals and any type of guidance, just what is
·6· · · ·in the general police orders and the departmental
·7· · · ·notices.
·8· ·Q.· Well, have you seen a departmental notice on --
·9· · · ·specifically about officers' obligation to
10· · · ·document or memorialize the developments in an
11· · · ·investigation in such a way that they would
12· · · ·become part of an official file during the
13· · · ·course --
14· ·A.· I saw that.
15· ·Q.· -- of an investigation?
16· ·A.· Yes, I did.
17· ·Q.· A departmental notice?
18· ·A.· Yeah.· I believe I saw that in the documents that
19· · · ·we reviewed.
20· ·Q.· Which one was it?
21· ·A.· I believe that was the -- I believe that was
22· · · ·the document that was created after a letter was
23· · · ·received from the Cuyahoga County prosecutor at
24· · · ·the time about turning over evidence and making
25· · · ·sure all the evidence that was obtained was given


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·1· · · ·to the prosecutor's office.
·2· ·Q.· Because that was a general police order, right?
·3· ·A.· Right.· It was.
·4· ·Q.· That's was number 19-73?
·5· ·A.· Yes.
·6· ·Q.· Okay.· We'll talk about that.
·7· ·A.· Okay.
·8· ·Q.· Let's talk about the Manual of Rules.
·9· · · · · · · · · · · MS. WANG:· Can I have this marked
10· · · · · · · as Exhibit 2?
11· · · · · · · · · · · · · ·-· -· -               -
12· · · · · ·(Thereupon, Deposition Exhibit 2 was marked
13· · · · · ·for purposes of identification.)
14· · · · · · · · · · · · · ·-· -· -               -
15· · · ·BY MS. WANG:
16· ·Q.· All right.· So this is -- for the record, it's
17· · · ·the version of the Manual of Rules produced by
18· · · ·the City of Cleveland.· It is Bates stamped CLE
19· · · ·3219 through CLE 3305.
20· · · · · ·Could you take a look at that and let me know
21· · · ·if you've seen it before?
22· ·A.· I have seen this document before.
23· ·Q.· Okay.· And this is one of the documents that you
24· · · ·reviewed in preparation for your deposition?
25· ·A.· Yes, it was.


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·1· ·Q.· Okay.· Now, if you turn to the second page right
·2· · · ·here.
·3· ·A.· Uh-huh.
·4· ·Q.· That is CLE 3220.· There is a cover or an inside
·5· · · ·cover that lays out the title of this manual.
·6· · · ·It's the Rules of Conduct and Discipline for the
·7· · · ·Officers, Members, and Employees of the Division
·8· · · ·of Police and the Department of Public Safety
·9· · · ·1950.
10· · · · · ·Is it your understanding that this manual was
11· · · ·published in 1950?
12· ·A.· Yes.
13· ·Q.· And this was the -- this was the Manual of Rules
14· · · ·that governed, generally, the conduct of officers
15· · · ·in the department?
16· ·A.· Correct.· It is.
17· ·Q.· And it was in effect in 1975?
18· ·A.· I believe it was.
19· ·Q.· Okay.· Do you know when this manual stopped being
20· · · ·in effect?
21· ·A.· The manual is still in effect today.· We still
22· · · ·have a Manual of Rules.· So I don't believe that
23· · · ·there was ever an interruption in the producing
24· · · ·of the manual.
25· ·Q.· The Manual of Rules that you have today, does it


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·1· · · ·look like this one?· Is it the 1950 one?
·2· ·A.· It looks similar.
·3· ·Q.· Is there -- the one that you have today, is that
·4· · · ·a different publications date?
·5· ·A.· Yes.· That is updated also every year.
·6· ·Q.· That is updated every year?
·7· ·A.· Yes.
·8· ·Q.· Do you know when the -- this version of the
·9· · · ·Manual of Rules, the 1950 one, stopped being in
10· · · ·effect and there was like a new one that was in
11· · · ·effect?
12· ·A.· No, I don't.· No, I don't.
13· ·Q.· Do you know what the handwritten markings are on
14· · · ·the bottom here?
15· ·A.· No, I don't.
16· ·Q.· And by that, I just mean, for the record, there
17· · · ·is a handwritten number 609 Clifton John.· And
18· · · ·then under that, it says 902 of Rocha 3/1/57.
19· · · · · ·Do you see that?
20· ·A.· Yes, I do.
21· ·Q.· Do you know where this Manual of Rules was
22· · · ·obtained from to produce it in discovery?
23· ·A.· Yes.· I believe it was discovered in our police
24· · · ·museum.
25· ·Q.· Okay.· Do you know if perhaps the names that are


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·1· · · ·handwritten here were officers who donated their
·2· · · ·copy to the museum?
·3· ·A.· Yeah.· That is a good possibility.· We -- number
·4· · · ·609, the way that is written, traditionally, I
·5· · · ·mean, it looks like a badge number to me.
·6· · · · · ·I mean, I would write my badge number like
·7· · · ·that with that sign and then my badge number and
·8· · · ·then my last name first and then my first name.
·9· · · · · ·That is just kind of a traditional way that
10· · · ·law enforcement officers within the city would
11· · · ·write things.
12· ·Q.· Okay.· Do you know how this -- in the 1970s, do
13· · · ·you know how the Manual of Rules was distributed
14· · · ·to the officers?
15· ·A.· In the 1970s, I would say it was distributed in a
16· · · ·hard copy version given to each officer maybe in
17· · · ·a binder, but each officer was required to have a
18· · · ·copy of this.
19· ·Q.· Okay.· And so when would officers get their copy
20· · · ·of the Manual of Rules?· Like, for instance --
21· · · ·and I'm just going to give an example -- if an
22· · · ·officer -- you know, this was originally
23· · · ·published in 1950, but if an officer didn't come
24· · · ·onto the force until 1962 or something, would
25· · · ·they just get a copy of the Manual of Rules at


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·1· · · ·that time?
·2· ·A.· The Manual of Rules was discussed, and the
·3· · · ·officers were trained on it while they were in
·4· · · ·the academy.· So in your scenario, if an officer
·5· · · ·was in the police academy in 1962, when he or she
·6· · · ·left the police academy, they would have a copy
·7· · · ·of this.
·8· ·Q.· Okay.· And then if there were changes made to the
·9· · · ·Manual of Rules, were there inserts that were
10· · · ·given to officers to put into the copies that
11· · · ·they had, or were new -- whole new copies issued?
12· ·A.· In the 1950s, I really can't speak on that, but I
13· · · ·can tell you today how we do things is, it would
14· · · ·be a divisional notice.
15· · · · · ·If it was in the middle of the year, the
16· · · ·chief would put out a divisional notice and say,
17· · · ·"This change will be in effect immediately for
18· · · ·the Manual of Rules and Regulations of the
19· · · ·Division of Police.· The manual will be updated
20· · · ·annually."
21· · · · · ·And whenever that annually is -- it's not
22· · · ·every January.· It's, you know, on a 12-month
23· · · ·cycle.· Then the chief would update the manual,
24· · · ·and he would push it out again as a whole.
25· ·Q.· Do you know, in the 1970s, how the manual -- how


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·1· · · ·amendments to the Manual of Rules would be made?
·2· ·A.· No, I don't.
·3· ·Q.· All right.· So if you turn to the page that is
·4· · · ·Bates stamped at the bottom CLE 3229, it says
·5· · · ·Section 8, Chief of Police.
·6· · · · · ·"The chief of police shall be the executive
·7· · · ·head of the Division of Police who shall direct
·8· · · ·all activities of the division and cause to be
·9· · · ·enforced all laws and ordinances."
10· · · · · ·Do you see that?
11· ·A.· Yes, I do.
12· ·Q.· And just for the record, there is highlighting
13· · · ·there that was not in the original copy that was
14· · · ·produced to me, but somehow my highlighting got
15· · · ·reproduced, but just for the record.
16· · · · · ·So the manual itself states that the chief of
17· · · ·police is responsible for promulgating orders and
18· · · ·enforcing all laws and ordinances; is that
19· · · ·correct?
20· ·A.· Yes, it does.
21· ·Q.· And that's what it says in Section 83 as well?
22· ·A.· Yes.
23· ·Q.· If you turn to page 3231, Rule 1, obedience to
24· · · ·rules, Section 1.
25· · · · · ·It says, "All officers, members, and


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·1· · · ·employees of the Division of Police shall
·2· · · ·familiarize themselves with these rules and
·3· · · ·obey them."
·4· ·A.· Yes.· That is correct.
·5· ·Q.· How -- so the city expected officers to follow
·6· · · ·the rules, correct?
·7· ·A.· Oh, yes.
·8· ·Q.· Okay.· How did the city enforce this in the
·9· · · ·1970s?
10· ·A.· Well, in reviewing some of the documents that
11· · · ·I reviewed, if there was an allegation or if
12· · · ·someone didn't follow the rules, either on the
13· · · ·recommendation of a superior officer or by a
14· · · ·complaint, the chief would cause an investigation
15· · · ·into that alleged rule violation, but that is a
16· · · ·supervisor's responsibility.
17· ·Q.· So prior to the violation of a rule, how did the
18· · · ·city ensure that officers were following the
19· · · ·rules?
20· ·A.· Prior --
21· ·Q.· Was it -- go ahead.
22· ·A.· No.· Go ahead.
23· ·Q.· So you're saying that if a rule was violated,
24· · · ·then certain disciplinary action would be taken?
25· ·A.· Right.


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·1· ·Q.· Okay.· So how did -- besides giving officers a
·2· · · ·copy of the rules and saying, "Here, these are
·3· · · ·the rules," was there anything else that the
·4· · · ·department did to ensure that officers would
·5· · · ·actually read this and follow the rules?
·6· ·A.· Right.· I understand.· Number one, they were
·7· · · ·required to read it.· And they were required --
·8· · · ·it's assumed throughout the division that you
·9· · · ·read this and you know what the rules are and
10· · · ·what the laws are.
11· · · · · ·There was training within the different units
12· · · ·as to the operational procedures.· So if you came
13· · · ·into the unit and they had -- and there was this
14· · · ·list of rules and obligations, your training
15· · · ·officer would explain those to you.· You would
16· · · ·follow those.· And the oversight was by the
17· · · ·superior officers.
18· ·Q.· And that was in the 1970s?
19· ·A.· That was in the 1970s, and it continues today.
20· · · ·That is the way it is today also.
21· ·Q.· Going back to the topic 1A that's in the
22· · · ·notice --
23· ·A.· Okay.
24· ·Q.· -- do you see any written rule in the Manual
25· · · ·of Rules that specifically requires officers to


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·1· · · ·document or memorialize the developments in an
·2· · · ·investigation so that they become part of the
·3· · · ·official file?
·4· ·A.· No, I don't.
·5· ·Q.· Okay.· Now, turning to document -- or Bates stamp
·6· · · ·CLE 3242, that is Rule 14?
·7· ·A.· Yes.
·8· ·Q.· So Rule 14.2 says, "The officer in charge
·9· · · ·shall cause statements to be taken from persons
10· · · ·brought to the unit in the course of criminal
11· · · ·investigations and shall see that such statements
12· · · ·are properly filed and preserved.· These
13· · · ·statements shall be available only to the
14· · · ·officers and members of the Division of Police
15· · · ·who are interested in the preparation of a
16· · · ·particular case, to the officers of the county
17· · · ·prosecutor, or the law department of the City of
18· · · ·Cleveland.· Under no circumstances shall they be
19· · · ·given or exhibited to any other person without
20· · · ·the written consent of the chief of police."
21· · · · · ·What's your understanding of how that rule
22· · · ·worked within the department in the 1970s?
23· ·A.· How that rule worked in the 1970s, based on what
24· · · ·is written here, is there was a separate unit
25· · · ·that was called the statement unit.· And there


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·1· · · ·were city officers and employees in that
·2· · · ·statement unit.
·3· · · · · ·And if a detective was required to obtain a
·4· · · ·written statement, they would take the person to
·5· · · ·that unit, and they would type it out on a
·6· · · ·typewriter and obtain that statement.
·7· · · · · ·And then it was part of the investigative
·8· · · ·file, which was turned over to the prosecutor's
·9· · · ·office as part of that file.
10· ·Q.· And the statements -- where were the statements
11· · · ·kept, the typed statements?
12· ·A.· Well, I can tell you that the statement unit
13· · · ·still exists today in our building, which I
14· · · ·believe was built in 1976.· And there is a
15· · · ·statement unit that houses all the statements
16· · · ·throughout the division.
17· ·Q.· Okay.· So they keep the statements there?
18· ·A.· They keep them there, and investigators have them
19· · · ·in their -- in their case files also.
20· ·Q.· And officers were expected not to give the
21· · · ·statements to anyone, other than the officers
22· · · ·who were involved in the case or the county
23· · · ·prosecutor or the law department?
24· ·A.· Correct.· Unless they had written consent from
25· · · ·the chief of police.


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·1· ·Q.· Where does it say that?
·2· ·A.· It says it in Rule 14 at the end of number 2.
·3· · · · · ·"Under no circumstances shall they be given
·4· · · ·or exhibited to any other person without the
·5· · · ·written consent of the chief of police."
·6· ·Q.· Do you know what was the purpose of that rule?
·7· ·A.· No, I don't.
·8· ·Q.· Does that rule still exist today?
·9· ·A.· No, it doesn't.
10· ·Q.· Do you know why not?
11· ·A.· No, I don't.
12· ·Q.· Okay.· Do you know why the rule was changed?
13· ·A.· No, I don't.
14· ·Q.· If you turn to page CLE 3264, Rule 42 states,
15· · · ·"Officers and members shall, at the end of their
16· · · ·tour of duty, advise the relieving officers and
17· · · ·members of all important police business
18· · · ·transacted during that tour of duty and of all
19· · · ·unfinished police business in their jurisdiction.
20· · · ·They shall familiarize themselves at the
21· · · ·commencement of their tour of duty with all
22· · · ·important police business transacted since their
23· · · ·last tour of duty and all unfinished police
24· · · ·business within their jurisdiction."
25· · · · · ·What is your understanding of how that rule


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·1· · · ·worked in the 1970s?· What did this rule require
·2· · · ·officers to do?
·3· ·A.· Well, my understanding, this rule or some
·4· · · ·iteration of this rule still is in effect
·5· · · ·today.· So I can tell you that before we would
·6· · · ·leave, as an officer or superior officer, if
·7· · · ·anything unusual took place in your area of
·8· · · ·responsibility, your zone, or the area that you
·9· · · ·were to patrol that you think may affect the
10· · · ·officers that are relieving you, that you should
11· · · ·talk to them and tell them kind of as a heads-up.
12· · · · · ·"I want to give you a heads-up.· This is what
13· · · ·is going on," such as -- you know, we get off at
14· · · ·3 o'clock, but at 5 o'clock tonight, there is
15· · · ·going to be a parade downtown in your zone.
16· · · · · ·So that's the way it's done today, and
17· · · ·that's the way I expected that it was done in the
18· · · ·1970s throughout law enforcement, that they would
19· · · ·communicate what took place during their day,
20· · · ·anything of any significance, be on the lookout
21· · · ·for maybe a suspect or a stolen car or something
22· · · ·like that.
23· ·Q.· So let's take, for example, detectives who are
24· · · ·assigned to investigate a homicide.· And we're
25· · · ·talking about in the 1970s.


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·1· · · · · ·There may be more than one team of detectives
·2· · · ·that were assigned to investigate a case, right?
·3· ·A.· Correct.
·4· ·Q.· And so there may be a team, you know, a
·5· · · ·partner pair of detectives who were assigned to
·6· · · ·investigate a case during a day shift and then
·7· · · ·also another team or pair of detectives assigned
·8· · · ·to investigate during the night shift.
·9· · · · · ·Is that fair to say?
10· ·A.· That is.
11· ·Q.· Okay.· And so this rule, Rule 42, would require
12· · · ·the pair, you know, who were working on the case
13· · · ·throughout the day to, before they left, make
14· · · ·sure that the next pair of detectives working on
15· · · ·that case would know what it is they had done on
16· · · ·that investigation and what there was left to do,
17· · · ·for instance?
18· · · · · · · · · · · MR. FUNK:· Objection.
19· ·Q.· Is that fair to say?
20· · · · · · · · · · · MR. MALLAMAD:· You can answer.
21· ·A.· It would be.· The way things are done is,
22· · · ·usually, one team of detectives is the primary.
23· · · ·And that's the way it was in the '70s.· They are
24· · · ·the primary investigative team.
25· · · · · ·If there was a request -- and a lot of --


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·1· · · ·even these requests are documented.
·2· · · · · ·If there was a request, if they work day
·3· · · ·shift, they could give a request to the second
·4· · · ·shift, afternoon shift, and say, "We need to
·5· · · ·speak with Mrs. Jones.· She doesn't get home from
·6· · · ·work until 6 o'clock.· You guys working 4 to
·7· · · ·midnight, could you go talk to Mrs. Jones and ask
·8· · · ·her the following questions?"
·9· · · · · ·So, historically, there's only one primary
10· · · ·set of investigators, one set of detectives that
11· · · ·primarily investigates.
12· · · · · ·Very complicated cases, they do use more than
13· · · ·one team, but, historically, it's just been one
14· · · ·team.
15· · · ·BY MS. WANG:
16· ·Q.· Okay.· So the primary set of detectives could ask
17· · · ·another set of detectives who are coming on the
18· · · ·following shift to do certain tasks in the case?
19· ·A.· Yes.
20· ·Q.· And if those -- the second set of detectives did
21· · · ·complete whatever task it was that the first set
22· · · ·of detectives had asked them to do, were they
23· · · ·expected to communicate that information to the
24· · · ·primary set of detectives when they're done with
25· · · ·their shift?


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·1· ·A.· Yes.
·2· ·Q.· Okay.· Rule 66, which is on page 3273 --
·3· ·A.· Okay.
·4· ·Q.· -- says, Section 1, "Officers and members
·5· · · ·prosecuting persons charged with a crime shall
·6· · · ·thoroughly familiarize themselves with all the
·7· · · ·facts and details concerning the case so that all
·8· · · ·of the evidence may be properly presented to the
·9· · · ·court."
10· · · · · ·What is your understanding of what this rule
11· · · ·required officers to do in the 1970s?
12· ·A.· My understanding is that -- really, just what it
13· · · ·says.· It's not a suggestion.· It's a -- it's a
14· · · ·shall.· It's an order that they be familiarized
15· · · ·with all the facts and details and that all
16· · · ·the evidence is properly presented to the
17· · · ·prosecutor's office for presentation to the
18· · · ·court.
19· ·Q.· Okay.· So did this rule require officers to
20· · · ·familiarize themselves with the evidence in the
21· · · ·case just prior to trial in preparation for trial
22· · · ·or like throughout their investigation?
23· ·A.· No.· The way I read it and the way it's done
24· · · ·today -- and I can tell you, being a policeman
25· · · ·for 31 years, historically, when you're assigned


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·1· · · ·a case, you know the intricacies of that case as
·2· · · ·it's going on, not just for -- not just before
·3· · · ·you go to trial.
·4· ·Q.· And were you -- you were a detective at some
·5· · · ·point?
·6· ·A.· I was.
·7· ·Q.· And so you considered it your responsibility to
·8· · · ·know what all the facts were in the case as you
·9· · · ·were investigating it?
10· ·A.· Yes.
11· ·Q.· And you would keep yourself apprised of what
12· · · ·facts were learned by -- you know, may have
13· · · ·been learned by other detectives or other
14· · · ·investigators in a particular case?
15· ·A.· Yes.
16· ·Q.· And why did you consider it your -- part of your
17· · · ·duty to make sure that you were apprised of all
18· · · ·the facts in a particular case that you were
19· · · ·investigating?
20· ·A.· Well, number one, it was our duty.· It's the law.
21· · · ·It's our duty.· And that is what the system is
22· · · ·based on is to gather all the facts as we know
23· · · ·them and present them to the prosecutor.
24· · · · · ·You know, in this rule, it says, "Officers
25· · · ·and members prosecuting persons."· You know, we


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·1· · · ·don't prosecute people.· We're the gatherer of
·2· · · ·facts, and that is the prosecutor's job to decide
·3· · · ·whether they go forward with the prosecution.
·4· ·Q.· And you gather facts to present to the prosecutor
·5· · · ·so that they may prosecute; is that correct?
·6· ·A.· Facts, anything, things that aren't based in
·7· · · ·facts.· Your job is to present everything.· Any
·8· · · ·rumor, innuendo, tip that goes nowhere.· Your
·9· · · ·job is to present that and let them make that
10· · · ·determination.
11· ·Q.· When you were a detective, did you consider it
12· · · ·your -- or did you make it a practice to apprise
13· · · ·yourself of all the facts known about how a
14· · · ·particular crime occurred before interviewing
15· · · ·witnesses -- potential witnesses to a crime?
16· · · · · · · · · · · MR. FUNK:· Objection.· You can
17· · · · · · · answer.
18· · · · · · · · · · · THE WITNESS:· No, no.· That -- I
19· · · · · · · would have to say that was on a case by
20· · · · · · · case basis, and it was kind of up to that
21· · · · · · · particular detective and whatever the case
22· · · · · · · was before you would decide exactly how you
23· · · · · · · wanted to proceed with that case.
24· · · · · · · · · · · I can give you an example.· If
25· · · · · · · there was something that happened immediate


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·1· · · · · · · and there was witnesses there, it's always
·2· · · · · · · a good practice to interview people right
·3· · · · · · · away.
·4· · · · · · · · · · · Things are a little fresh in their
·5· · · · · · · minds, but we've interviewed people months
·6· · · · · · · and years after cases have taken place,
·7· · · · · · · because facts have come to light.
·8· · · · · · · · · · · There really isn't one -- I guess
·9· · · · · · · if you're looking for a standard operating
10· · · · · · · procedure, exactly how to go about it, I
11· · · · · · · don't think there -- that one exists.
12· · · ·BY MS. WANG:
13· ·Q.· In the 1970s, you mentioned that the practice
14· · · ·was to have a pair of -- if there were -- there
15· · · ·would -- in terms of a homicide, investigation of
16· · · ·a homicide in the 1970s, there would have been a
17· · · ·primary set of investigative detectives; is that
18· · · ·correct?
19· ·A.· Yes.
20· ·Q.· Now, was it expected, you know, under the rules
21· · · ·or the policies or procedures of the department,
22· · · ·that the primary set of investigating detectives
23· · · ·would read the reports or form 10's or what have
24· · · ·you that were created by any other detectives or
25· · · ·officers in the case, you know, once they came


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·1· · · ·back on shift?
·2· ·A.· Yes.· That was expected.
·3· ·Q.· Rule 71 on page 3274 simply states in Section
·4· · · ·1, "Officers and members shall familiarize
·5· · · ·themselves with all general orders issued by
·6· · · ·the chief of police."
·7· · · · · ·And then number two basically says, if there
·8· · · ·were orders issued in their absence, they would
·9· · · ·be expected to know them after they came back?
10· ·A.· Yes.· That is still in place today.
11· ·Q.· And members of the department were expected to
12· · · ·follow that rule, right?
13· ·A.· Yes, they were.
14· ·Q.· Now, page 3277, Rule 77, Section 1, states,
15· · · ·"Officers and members shall report on all matters
16· · · ·referred to and investigated by them.· Such
17· · · ·reports may be either verbal or written, as the
18· · · ·officer in charge may direct."
19· · · · · ·Were -- so written reports -- were the
20· · · ·written reports just form 10's in the '70s, do
21· · · ·you know, or was there some other kind of form?
22· ·A.· Well, there were form 10's.· There were form 1's,
23· · · ·which is a written documentation of -- form 10's
24· · · ·are investigative follow-up reports.· Form 1's
25· · · ·are informational reports that any officer can


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·1· · · ·do.
·2· · · · · ·If I was -- we knew there was a crime that
·3· · · ·was committed and I was working a particular zone
·4· · · ·and I received information about that crime, I
·5· · · ·would type a form 1 and give that to the
·6· · · ·investigator.
·7· · · · · ·So anyone can do a form 1.· Follow-up
·8· · · ·investigations require a form 10.
·9· ·Q.· Okay.· In a particular case?
10· ·A.· Yes.
11· ·Q.· How would verbal reports on the progress of an
12· · · ·investigation be documented?
13· ·A.· The way they're documented today is, some of
14· · · ·them are documented in a daily duty report, an
15· · · ·assignment that the supervisors are required to
16· · · ·fill out every day.
17· · · · · ·If you're the sergeant in the homicide unit
18· · · ·and I brief you, an overview, "Sarge, today, we
19· · · ·did A, B, C, and D," you would just put in your
20· · · ·daily duty report, "Conferred with Detective
21· · · ·Jones, who stated they conducted follow-up
22· · · ·investigations on this case," very broad, very
23· · · ·generic.
24· · · · · ·If it was something specific, they would
25· · · ·document it in that report.· We're all required


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·1· · · ·to do a daily duty assignment.
·2· ·Q.· And that includes detectives, too?
·3· ·A.· Pardon me?
·4· ·Q.· That includes detectives?
·5· ·A.· Oh, yes.
·6· ·Q.· And that is today.· That is the requirement
·7· · · ·today?
·8· ·A.· Yes.
·9· ·Q.· Was there a requirement for detectives to do
10· · · ·daily duty reports in the 1970s?
11· ·A.· I don't know if there was, and I didn't --
12· · · ·don't recall seeing them in any of the responsive
13· · · ·documents, but that is the -- today and the 30
14· · · ·years plus that I have been on the job, that is
15· · · ·the number one police 101 bit of administrative
16· · · ·work that you're taught from day one you're in
17· · · ·the academy, to document what happens during your
18· · · ·shift.
19· ·Q.· And where are those -- today, where are those
20· · · ·daily duty reports kept for --
21· ·A.· Today, they're -- excuse me.· Go ahead.
22· ·Q.· -- for detectives?
23· ·A.· They're kept in our inspection unit.
24· ·Q.· And how long are they retained?
25· ·A.· I don't know what the -- what the retention


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·1· · · ·schedule is.· I couldn't tell you, but whatever
·2· · · ·the retention schedule is, we follow it.
·3· ·Q.· So the daily duty reports -- they're not kept in
·4· · · ·specific case files, are they, like there --
·5· · · ·because they might cover a lot of things that
·6· · · ·don't have to do with a particular case?
·7· ·A.· Correct.
·8· ·Q.· So I just want to make sure I understand.· The
·9· · · ·requirement today for what goes into a daily duty
10· · · ·report is anything that an officer does during
11· · · ·his shift?
12· ·A.· Yeah.· Specifically, today --
13· ·Q.· Yes.
14· ·A.· -- I will have my starting time, what I did
15· · · ·today, and my completion time, what I did today.
16· · · ·If I'm here for 8, 10, 12 hours, however long
17· · · ·I'm here --
18· ·Q.· It won't be 12 hours.
19· ·A.· -- it's going to be -- it's going to be one line.
20· · · ·If I was a uniformed officer and I answered 15
21· · · ·calls for service, parking violation, domestic
22· · · ·violence, it'll all be documented in that report.
23· · · · · ·So they vary.· They're not -- it's just what
24· · · ·did you do today, and we are taught early on to
25· · · ·put any significant items in there.


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·1· ·Q.· Okay.· And how long are they, usually?· Just one
·2· · · ·page?
·3· ·A.· They're one page.
·4· ·Q.· Okay.· Does -- is the supervisor supposed to sign
·5· · · ·off on them?
·6· ·A.· Yes.· Both -- if you're -- yes.· The supervisor
·7· · · ·signs off on them.· It is an accounting of your
·8· · · ·daily duty.· You sign it.· Your partner signs it.
·9· · · ·Your supervisor reviews it, and they sign it.
10· · · · · ·You could go an entire shift without having
11· · · ·any face-to-face discussion with your supervisor.
12· · · ·So he or she could come in the next morning, look
13· · · ·at it, this is what I did yesterday, maybe ask
14· · · ·you a question about it or whatever.
15· · · · · ·If not, it's just -- it's like our --
16· · · ·you know, our time would be -- you know, our
17· · · ·timecard.· We're tracking exactly what you did.
18· ·Q.· Okay.· Rule 85.· It's on page 3281.· It states,
19· · · ·"Officers and members shall have in their
20· · · ·possession a memorandum book, in which they shall
21· · · ·record information necessary for the performance
22· · · ·of their duty."
23· · · · · ·Do you know what this memorandum book was in
24· · · ·the 1970s?
25· ·A.· In the 1970s, there was -- throughout law


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·1· ·enforcement, officers had a memo book.· And what
·2· ·it was, it was -- if you were walking a beat or
·3· ·you were working, you would jot down things on
·4· ·that book as to what you were doing, kind of like
·5· ·a duty report.
·6· · · ·And then the supervisor could come up to
·7· ·you and say, "Let me see your memorandum book,"
·8· ·and he or she would initial it, or if something
·9· ·significant happened, the boss would tell you,
10· ·"Put that in your memorandum book," and then
11· ·they would initial it.
12· · · ·That is how it was.· It was a little more
13· ·formalized.· We do not have memorandum books
14· ·today.· We have what we call run sheets.
15· · · ·And, basically, a run sheet, if you see any
16· ·officer today working, there is paper like this
17· ·folded, and they usually have it in their pocket.
18· ·And they just jot things down.
19· · · ·If the police radio gives you an assignment
20· ·to respond to 123 Main Street for a parked
21· ·vehicle, you write that down.· You write the
22· ·disposition down.
23· · · ·And then you transpose that onto your daily
24· ·duty report, but that is all -- that is all that
25· ·is.· It's -- the daily -- the run sheets, I have


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·1· · · ·had them.· I have done it.· I still do it.· You
·2· · · ·know, you get rid of them at the end of the day.
·3· ·Q.· So there is no rule -- today, there is no rule
·4· · · ·that requires officers to keep their run sheets?
·5· ·A.· No.· There is no rule.
·6· ·Q.· And officers are allowed to dispose of their run
·7· · · ·sheets?
·8· ·A.· Yes.
·9· ·Q.· And in the 1970s, officers were allowed by
10· · · ·department policy to dispose of their memorandum
11· · · ·books?
12· ·A.· I don't believe so.· I believe the memorandum
13· · · ·book was a little more formal, because it was
14· · · ·issued by the Division of Police.· And it was
15· · · ·usually in a leather case.
16· · · · · ·It would almost look like a reporter's
17· · · ·notebook.· They would flip it over, and they
18· · · ·would jot things down in that -- in that
19· · · ·book --
20· ·Q.· Okay.
21· ·A.· -- for the officer's supervisor to review.
22· ·Q.· What written policy required the -- what written
23· · · ·policy required officers to turn in their
24· · · ·memorandum books?
25· ·A.· I don't know.


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·1· ·Q.· Did you see any written policies or rules or
·2· · · ·regulations in your review of the documents in
·3· · · ·preparation for your deposition here today that
·4· · · ·required officers in the 1970s to keep their
·5· · · ·memorandum books?
·6· ·A.· No, I did not.
·7· ·Q.· And did you see any memorandum books of any of
·8· · · ·the defendant officers in this case in your
·9· · · ·preparation for your deposition here today?
10· ·A.· No, I did not.
11· ·Q.· Have you ever seen a memorandum book?
12· ·A.· Yes.
13· ·Q.· When did you last see one?
14· ·A.· I couldn't tell you exactly when, but I saw them
15· · · ·when I was a rookie policeman when I came on the
16· · · ·job.· I came on in 1985, and some of the men and
17· · · ·women that broke me in on the job were hired in
18· · · ·the '60s.
19· · · · · ·And, you know, we would have these run
20· · · ·sheets, and they would say, "Oh, we used to carry
21· · · ·these, you know.· Now we carry run sheets."
22· · · · · ·So yeah.· I mean, I remember seeing them.
23· · · ·Like I said, the men and women that trained me
24· · · ·were hired in the '50s, '60s, and '70s.· So, you
25· · · ·know, customary to say, "Kid, this is the way we


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·1· · · ·did things now, and this is the way we do
·2· · · ·things."
·3· ·Q.· And so when you started, you didn't --
·4· ·A.· No.
·5· ·Q.· You did not have a memorandum book when you
·6· · · ·started?
·7· ·A.· Run sheets.· No memorandum book.
·8· ·Q.· Did you know any of the defendant officers in
·9· · · ·this case?
10· ·A.· No, I did not.· Let me -- no.· Let me -- let me
11· · · ·back up.· I'm sorry.· Jerry Englehart.
12· · · · · ·I didn't know him when he was on the job,
13· · · ·but after he retired, he was -- he worked for the
14· · · ·county at the grand jury.· And I knew him from
15· · · ·there.
16· · · · · ·I mean, I knew he was a Cleveland policeman,
17· · · ·but when he was on the job, I never had the
18· · · ·opportunity to work with him, or I'm not exactly
19· · · ·sure when he retired, but he was, I guess, the
20· · · ·scheduler for the grand jury.· And when I would
21· · · ·testify, I would see him, and we would say hello.
22· ·Q.· Did you know him any more specifically than
23· · · ·just --
24· ·A.· No.
25· ·Q.· -- through your dealings with the grand jury?


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·1· ·A.· No.
·2· · · · · · · · · · · MR. FUNK:· Is this a good time for
·3· · · · · · · a break?
·4· · · · · · · · · · · MS. WANG:· Sure.
·5· · · · · · · · · · · · · ·-· -· -              -
·6· · · · · · · · ·(Thereupon, a recess was had.)
·7· · · · · · · · · · · · · ·-· -· -              -
·8· · · · · · · · · · · MS. WANG:· Let's mark this as
·9· · · · · · · Exhibit 3.
10· · · · · · · · · · · (Thereupon, Deposition Exhibit 3
11· · · · · · · was marked for purposes of identification.)
12· · · ·BY MS. WANG:
13· ·Q.· So the court reporter has handed you what has
14· · · ·been marked as Deposition Exhibit 3.· And it is
15· · · ·another version of the Manual of Rules.· It is
16· · · ·Bates stamped Jackson 4682 through 4755.
17· · · · · ·This one, I believe, was obtained from the
18· · · ·Cleveland Public Library, this version.
19· · · · · ·Did you review this one in preparation for
20· · · ·your deposition?
21· ·A.· Yes.
22· ·Q.· Did you see any noticeable differences between
23· · · ·this version of the Manual of Rules and the other
24· · · ·one?
25· ·A.· No, nothing that I can recall.· Noticeable


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·1· · · ·difference?· I don't know what --
·2· ·Q.· Well, would it be fair to say that Deposition
·3· · · ·Exhibit 2 has a few rules that were updated after
·4· · · ·1950, whereas this version, Deposition Exhibit 3,
·5· · · ·appears to have been published in 1950 without
·6· · · ·any revisions?
·7· ·A.· Yes.· That would be fair to say.
·8· ·Q.· And the couple revisions that were in Deposition
·9· · · ·Exhibit 2 were from later in the '50s; is that
10· · · ·fair?
11· ·A.· Yes, they were.
12· ·Q.· Okay.· Do you know when this Manual of Rules was
13· · · ·published, the one that's Deposition Exhibit 3?
14· ·A.· No, I don't.
15· ·Q.· Okay.· It says 1950 on the cover?
16· ·A.· Right.
17· ·Q.· Is it fair to say that it was published in 1950?
18· ·A.· I could assume that, yes.
19· ·Q.· And it would have been in effect in 1975?
20· ·A.· This or some iteration of this, yes.
21· ·Q.· Okay.
22· ·A.· It's still in effect today, the Manual of Rules.
23· · · ·So I could make that assumption, yes.
24· ·Q.· Now, when the police chief promulgated the Manual
25· · · ·of Rules, the 1950 Manual of Rules, did he have


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·1· · · ·to get approval from anybody else, like the mayor
·2· · · ·or the director of public safety or anyone, prior
·3· · · ·to promulgating the Manual of Rules?
·4· ·A.· I can tell you today.· Everything -- we operate
·5· · · ·with a paramilitary chain of command.· Anything
·6· · · ·that we do goes up to the next person for review.
·7· · · · · ·So in this case, the chief answers to the
·8· · · ·safety director.· The safety director answers to
·9· · · ·the mayor.
10· · · · · ·By looking at this, I would assume, yes.· The
11· · · ·mayor is the final authority in the division --
12· · · ·in the city, just as he is today.
13· · · · · ·So everything goes up the next level until
14· · · ·it stops.· It can either -- it can stop with
15· · · ·the chief of police as a divisional notice, but
16· · · ·something as important as this, I would assume
17· · · ·by looking at this, since his name is on it, it
18· · · ·probably did go up to the mayor's office for
19· · · ·final approval.
20· ·Q.· Does the mayor have the power to veto any of the
21· · · ·rules?
22· ·A.· Yes.· The mayor can do -- yeah.
23· ·Q.· Okay.· So is the chief of police -- in 1975, was
24· · · ·the chief of police the final policy maker for
25· · · ·rules in the department?


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·1· ·A.· Yes, he was.· And everything -- yeah.· He is the
·2· · · ·final policy maker by the charter, but,
·3· · · ·obviously, the director of public safety and the
·4· · · ·mayor have final authority.
·5· · · · · ·If they felt something was not appropriate or
·6· · · ·something was missing, they would recommend to
·7· · · ·the chief, you know, "Maybe this needs to go in."
·8· · · · · ·And we've changed our uniform, or we've done
·9· · · ·something like that, but all the final decisions
10· · · ·do rest with the chief.· The chief is appointed
11· · · ·by the mayor in the City of Cleveland.
12· · · · · ·Technically, the mayor's got final say on
13· · · ·everything.
14· ·Q.· If the director of public safety or the mayor
15· · · ·don't have any -- well, you gave an example.· You
16· · · ·know, the public -- the director of public safety
17· · · ·or the mayor might make a recommendation to the
18· · · ·police chief as to how a specific rule or order
19· · · ·should look.
20· · · · · ·Was the police chief free to reject those
21· · · ·recommendations or suggestions?
22· ·A.· I can tell you today, Chief Williams has that
23· · · ·authority.· He can talk to the mayor and say he
24· · · ·doesn't believe that this is in the best interest
25· · · ·of the Division of Police and the citizens that


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·1· · · ·we serve.
·2· · · · · ·In the 1950s and the 1970s, I would imagine
·3· · · ·that the chief did have a lot of input into that,
·4· · · ·exactly what went into that manual.
·5· · · · · ·The mayors have enough confidence to appoint
·6· · · ·somebody to be the chief of that division.· They
·7· · · ·expect them to be able to run it.
·8· ·Q.· Okay.· And part of running it includes having
·9· · · ·final say over the rules that would govern the
10· · · ·department?
11· ·A.· Yes, yes.
12· ·Q.· Now, let's take a look at --
13· · · · · · · · · · · MS. WANG:· Let's mark another one.
14· · · · · · · · · · · (Thereupon, Deposition Exhibit 4
15· · · · · · · was marked for purposes of identification.)
16· · · · · · · · · · · (Thereupon, Deposition Exhibit 5
17· · · · · · · was marked for purposes of identification.)
18· · · ·BY MS. WANG:
19· ·Q.· Deposition Exhibit 4, which the court reporter
20· · · ·just handed you, is Bates stamped CLE 2983
21· · · ·through 3092.· And Deposition Exhibit 5 is
22· · · ·3093 -- CLE 3093 through 4172.
23· · · · · ·Okay.· Deputy Chief, did you review these
24· · · ·documents in preparation for your deposition?
25· ·A.· Yes, I did.· Uh-huh.


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·1· · · · · · · · · · · THE WITNESS:· These are the GPOs
·2· · · · · · · that were in that -- yes, I did.
·3· · · · · · · · · · · MR. MALLAMAD:· Answer her
·4· · · · · · · question.
·5· · · · · · · · · · · THE WITNESS:· Yes, I did.
·6· · · ·BY MS. WANG:
·7· ·Q.· Have you had a chance to look at that?
·8· ·A.· Yes, I did.
·9· ·Q.· Now, this Deposition Exhibit 4 says at the top,
10· · · ·"Draft Copy, Manual of Duties and Procedures,
11· · · ·with Index of GPOs, 1969 to 1974, Cleveland
12· · · ·Police Department, October 1974."
13· · · · · ·And in the note, it says that this manual
14· · · ·is the first draft of an updated version of the
15· · · ·Cleveland Police -- Cleveland Division of Police
16· · · ·duties and procedures complied by Inspector Lloyd
17· · · ·Gary in 1969.
18· · · · · ·And, essentially, it says -- and I won't
19· · · ·read the whole thing, but, essentially, it says
20· · · ·that it is a draft copy.· And so it's not in the
21· · · ·complete format that it would exist in the final
22· · · ·copy, but they're giving it out to the police
23· · · ·officers so that they will have it.
24· · · · · ·Is that fair to say?
25· ·A.· Yes, it is.


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·1· ·Q.· And then it appears this general police orders
·2· · · ·that's Deposition Exhibit 5, 1969 to 1974, is
·3· · · ·what was attached with this draft copy of the
·4· · · ·Manual of Duties and Procedures?
·5· ·A.· Yes.
·6· ·Q.· Okay.· And Deposition Exhibit 5, general police
·7· · · ·orders dated 1969 to 1974, is this a complete
·8· · · ·copy of the general police orders that were in
·9· · · ·existence in 1969 to 1974?
10· ·A.· This is everything that was located and produced.
11· · · ·I could say that if there were any other orders,
12· · · ·I didn't have a chance to review them, but this
13· · · ·was everything that was located during that time
14· · · ·frame.
15· ·Q.· And, in fact, there is a -- so the Bates numbers
16· · · ·that begin with CLE, those were stamped -- those
17· · · ·were page numbers that were stamped by the city,
18· · · ·but there is a separate set of page numbers.· If
19· · · ·you turn to the second page, it says G1 at the
20· · · ·bottom.
21· ·A.· Oh, yes.
22· ·Q.· Okay.· And then if you look at all the page
23· · · ·numbers, it goes from G1 to G79.· The last page
24· · · ·is G79.
25· ·A.· Correct.


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·1· ·Q.· And all the pages are there, right?· G1 through
·2· · · ·G79?
·3· ·A.· Yes.
·4· ·Q.· Now, do you know what was the purpose of the
·5· · · ·manual -- going back to Deposition Exhibit 4 --
·6· ·A.· Okay.
·7· ·Q.· -- what was the purpose of this Manual of Duties
·8· · · ·and Procedures, with the index of GPOs, do you
·9· · · ·know?
10· ·A.· This was a manual that was produced to provide
11· · · ·guidance to the men and women of the Division of
12· · · ·Police about how to perform their duties and what
13· · · ·procedures to follow during the performance of
14· · · ·those duties.
15· ·Q.· There is a reference to the -- sorry.· Strike
16· · · ·that.
17· · · · · ·And so it's dated October 1974.· Is it your
18· · · ·understanding that this document with the GPOs
19· · · ·was distributed to officers at that time?
20· ·A.· Yes.
21· ·Q.· And it would have been distributed to all
22· · · ·officers in the department?
23· ·A.· Yes, it would have.
24· ·Q.· And do you know where this copy was found?
25· ·A.· No, I don't.


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·1· ·Q.· What about the general police orders, Deposition
·2· · · ·Exhibit 5?· Do you know where this was found?
·3· ·A.· I believe that was located in our police museum.
·4· ·Q.· Okay.· If you'd turn to page 3,000 in this
·5· · · ·Deposition Exhibit 4.
·6· ·A.· Okay.
·7· ·Q.· All right.· So there is a section on writing
·8· · · ·reports.· And the general rule, Section A,
·9· · · ·governing written reports says, "Anything that
10· · · ·requires immediate police action or which will
11· · · ·necessitate future action by police or other
12· · · ·units of government should be reported in written
13· · · ·form by the officer receiving the complaint or
14· · · ·learning of the incident or information."
15· · · · · ·What was your understanding of what this rule
16· · · ·required?
17· ·A.· My understanding of this rule is that any
18· · · ·incident either immediate or that will require
19· · · ·police action needs to be documented in what I
20· · · ·described earlier as either a form 10 or an
21· · · ·offense incident report, which back in the --
22· · · ·when this was written, they were called RC1
23· · · ·reports.
24· · · · · ·And it is an officer's first observation
25· · · ·of what took place.· It's very generic, date,


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·1· · · ·time, location, witnesses.· And that's how it's
·2· · · ·documented.
·3· · · · · ·So that is my understanding, that our job
·4· · · ·requires the documentation of action that is
·5· · · ·taken immediate and for future investigative
·6· · · ·purposes.
·7· ·Q.· How were officers -- besides -- I'm sorry.
·8· · · ·Strike that.
·9· · · · · ·Were officers trained on how -- strike that.
10· · · · · ·All officers in the department got a copy of
11· · · ·this manual in October of 1974; is that correct?
12· ·A.· I would assume they did, yes.
13· ·Q.· Was there any instruction given to officers about
14· · · ·anything that was in the manual for the general
15· · · ·police orders when they received it?
16· ·A.· I don't know if there was additional instruction
17· · · ·given in 1970.
18· ·Q.· And if there was instruction, it would be
19· · · ·reflected in the training documents that we
20· · · ·received in this litigation?
21· ·A.· It may -- it may have been reflected in that.
22· · · ·This is a requirement.· When you're given a
23· · · ·general police order, when you're given --
24· · · ·provided a policy document, it is understood
25· · · ·that you will know the document and follow the


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·1· · · ·document.· That is what it's there for.
·2· ·Q.· So you're expected to read it, right?
·3· ·A.· Yes, you are.
·4· ·Q.· Is there any explanation or training given to
·5· · · ·officers, besides expecting them to read it?
·6· ·A.· No, there is not, but the expectation is, you're
·7· · · ·expected to read it.· If you don't understand
·8· · · ·something -- and that is the way it is today --
·9· · · ·you need to go to your supervisor, and that
10· · · ·particular section or policy that you don't
11· · · ·understand will be explained further to you.
12· ·Q.· Is that documented somewhere?
13· ·A.· Pardon me?
14· ·Q.· How is it -- how do officers know that that's
15· · · ·what they're to do, that they're to ask questions
16· · · ·if they don't understand something that's --
17· ·A.· Well, today, we put it in our general police
18· · · ·orders.· And in the last 31 years, since I've
19· · · ·been a police officer, it says you're to know
20· · · ·this, particularly, orders that are -- general
21· · · ·police orders that we update every year.· You
22· · · ·are expected to understand this order.
23· · · · · ·They read it at roll call for seven days.· It
24· · · ·says right in the instructions:· "Supervisor
25· · · ·shall read this order at roll call for seven


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·1· · · ·days.· Anyone that doesn't understand it, you
·2· · · ·will assume to have understanding of this order.
·3· · · ·If not, you are to talk to your supervisor."
·4· ·Q.· Was that done in 1970?
·5· ·A.· I don't know if it was.
·6· ·Q.· That is your experience since you joined the
·7· · · ·department?
·8· ·A.· That is my experience, yes.
·9· ·Q.· All right.· Turning to 3010, page 3010, there is
10· · · ·a memo here on this page and the next page about
11· · · ·the message reporting report system.
12· · · · · ·Do you know how that process worked?
13· ·A.· Yes.· This was before -- long before we had the
14· · · ·technology that we have today.· Our reports were
15· · · ·called in to a central reporting system by
16· · · ·telephone.· You would dictate your report almost
17· · · ·to like a stenographer type.
18· · · · · ·And that is what that was.· So -- and then
19· · · ·if there was a message to be left, if they were
20· · · ·overloaded or they were busy, they could call in
21· · · ·and leave a message.
22· · · · · ·"I got this incident.· I need to report it.
23· · · ·I need to get it documented.· I will be on shift
24· · · ·tomorrow.· Get ahold of me, and I will make that
25· · · ·report."


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·1· · · · · ·A vehicle was stolen, or a business was
·2· · · ·broken into, something along those lines.
·3· ·Q.· Was this just for a patrolman, or did detectives
·4· · · ·use this, too?
·5· ·A.· In my experience, it was just for the patrolmen.
·6· · · ·When I came on, we actually still had some of
·7· · · ·this in 1985.· And when I first started, we would
·8· · · ·call in our reports on a telephone and dictate
·9· · · ·exactly what took place.
10· ·Q.· Did you also -- you know, at the end of your
11· · · ·shift, did you also write up your report, or was
12· · · ·a written report generated from the system?
13· ·A.· A written report was generated from that system,
14· · · ·yes.
15· ·Q.· And so you were expected to dictate your report
16· · · ·and do this verbally for any report that you
17· · · ·had --
18· ·A.· Yes.
19· ·Q.· -- as opposed to writing it down yourself?
20· ·A.· Yes, we were.· Yes.
21· ·Q.· Okay.· Were you ever -- were you ever aware of
22· · · ·detectives using this message recording system?
23· ·A.· In my experience, I was not.· And when I became a
24· · · ·detective, we didn't use that.· We did everything
25· · · ·on form 10's and form 1's.


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·1· ·Q.· And then if a written report was generated from
·2· · · ·the message recording report system, did you then
·3· · · ·have an opportunity to review it to make sure
·4· · · ·that it was written correctly?
·5· ·A.· In my experience, no.· There was a supervisor
·6· · · ·at the report center.· They would review it for
·7· · · ·accuracy, and they would have the final say-so.
·8· ·Q.· How would they know what it was that you knew --
·9· · · ·I mean, the supervisor wouldn't have been there
10· · · ·for whatever it was that you were reporting,
11· · · ·right?
12· ·A.· Right.
13· ·Q.· So how would they know whether it was accurate?
14· ·A.· Because I dictated it.· So they would -- they
15· · · ·would just review what I told them.
16· ·Q.· Oh, the recording, the actual --
17· ·A.· Yes, yes.
18· ·Q.· All right.· The page that is Bates stamped CLE
19· · · ·3020 --
20· ·A.· Okay.
21· ·Q.· -- there is a section on the officer's notebook.
22· · · ·It says, "Type of notebook.· A regular bound
23· · · ·notebook is preferred with entries made in ink;
24· · · ·one, it provides a chronological personal record
25· · · ·of duties, findings, and occurrences; two,


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·1· · · ·reduces the possibility of lost pages and
·2· · · ·contentions by the defense that pages have
·3· · · ·been removed or newly inserted."
·4· · · · · ·Then it gives three reasons for the purpose
·5· · · ·of the notebook.
·6· · · · · ·Is this the same thing as the memo book that
·7· · · ·was mentioned in Rule 85, the Manual of Rules?
·8· ·A.· No.· I don't believe it is.· This is a different
·9· · · ·type of notebook that they were required to keep.
10· · · ·And it looks like it was a little more formal as
11· · · ·to what took place.
12· ·Q.· And was this notebook issued by the department to
13· · · ·officers?
14· ·A.· I don't know.
15· ·Q.· Do you know anything about what was required to
16· · · ·be -- what officers were required to put into the
17· · · ·notebook, besides what it says here?
18· ·A.· No.· I don't know what the -- you know, what the
19· · · ·requirements were.
20· ·Q.· Okay.· So it says in the purpose section that
21· · · ·the purpose is, one, to record details of all
22· · · ·investigations; two, to serve as the basis for
23· · · ·official reports; three, to refresh the memory
24· · · ·of the officer/investigator.
25· · · · · ·A.· In criminal cases, the notebook should be


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·1· · · ·turned over to the county prosecutor to prevent
·2· · · ·its being used as an article of evidence by the
·3· · · ·defense attorney.
·4· · · · · ·Was this rule followed?
·5· ·A.· Yes.· I -- yes.· That rule -- if it was in this,
·6· · · ·you were expected to follow that rule, yes.
·7· ·Q.· Were supervisors required to sign off on what was
·8· · · ·in the notebook?
·9· ·A.· I don't think so.· And I don't -- I don't see it
10· · · ·anywhere, unless it's documented somewhere in
11· · · ·this document that they were required to do it
12· · · ·under supervisory responsibilities.
13· ·Q.· Have you ever seen a notebook of this
14· · · ·description?
15· ·A.· No, I haven't.
16· ·Q.· The older officers who trained you when you first
17· · · ·started, do you remember them ever having a
18· · · ·notebook like this?
19· ·A.· No, I don't.
20· ·Q.· Do you remember there ever being any discussion
21· · · ·within the department of a regular bound notebook
22· · · ·like this?
23· ·A.· No, I don't.· In the reviewing of this, I found
24· · · ·this -- I had never heard of that.
25· ·Q.· And were there any policies, rules, or procedures


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·1· · · ·that required detectives to place their notebook
·2· · · ·or make a copy of it and place it into the
·3· · · ·official investigative file?
·4· ·A.· It's stated right here that they were required to
·5· · · ·do that.· They were required to turn it over to
·6· · · ·the county prosecutor.
·7· ·Q.· Was there an official investigative file in the
·8· · · ·1970s for each investigation?
·9· ·A.· For each investigation?
10· ·Q.· Right.
11· ·A.· Yes.
12· ·Q.· Okay.· And there still is today, right?
13· ·A.· Yes.
14· ·Q.· And is there any written policy that required
15· · · ·officers to turn in their notebooks and place
16· · · ·them into the official investigative file?
17· ·A.· No.· I don't see any.
18· ·Q.· Was there any written policy or procedure that
19· · · ·required officers to turn -- to place their -- a
20· · · ·copy -- to either place their original memo book
21· · · ·or a copy of it into the official investigative
22· · · ·file?
23· ·A.· No.· I don't see it.
24· ·Q.· If you'd turn to page 3064.
25· ·A.· Okay.


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·1· ·Q.· So there is a number of pages here that go to
·2· · · ·3069, detailing the law on -- what appears to be
·3· · · ·the law on searches of a person and of vehicles
·4· · · ·and so forth.
·5· · · · · ·Do you see that?
·6· ·A.· Yes.
·7· ·Q.· Okay.· Was there any instruction given to
·8· · · ·officers on any of these topics, besides the fact
·9· · · ·that they just got a copy of this document?
10· ·A.· In the 1970s?
11· ·Q.· In the 1970s.
12· ·A.· In the 1970s, I'm not aware if there was any
13· · · ·additional, no.
14· ·Q.· In this Deposition Exhibit 4, the document
15· · · ·here, were there any -- do you see any policies
16· · · ·or procedures relating to the requirement of
17· · · ·officers to document developments in an
18· · · ·investigation so that they would be maintained
19· · · ·in an official investigative file?
20· ·A.· I think that -- I see documentation where it says
21· · · ·that they shall have documents and maintain them,
22· · · ·but to be exact, where it says putting them in an
23· · · ·investigative file, no, I don't see that.
24· ·Q.· In the document that has been marked as
25· · · ·Deposition Exhibit 4, is there any policy that --


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·1· · · ·is there any policy relating to the conducting or
·2· · · ·documenting of photo or in-person lineups or
·3· · · ·show-ups?
·4· ·A.· I have to go through this.· No, there is not.
·5· ·Q.· In the document -- go ahead.
·6· ·A.· No.· Go ahead.
·7· ·Q.· Are you done?
·8· ·A.· Yeah.· I'm done.
·9· ·Q.· In that document, Deposition Exhibit 4, is
10· · · ·there any policy or procedure relating to the
11· · · ·use of informants or witnesses during a criminal
12· · · ·investigation, including disclosure of such
13· · · ·witnesses and payments, gifts, promises, and
14· · · ·threats made to such witnesses?
15· ·A.· Not in the documents provided.
16· ·Q.· In the document before you, Deposition Exhibit
17· · · ·4, is there any policy or procedure or rule or
18· · · ·regulation relating to the conducting and
19· · · ·documenting of interrogations or interviews of
20· · · ·suspects and witnesses, include juveniles?
21· ·A.· No.· I don't believe there is.
22· ·Q.· In the document marked as Exhibit 4, is there
23· · · ·any policy or procedure or rule or regulation
24· · · ·relating to the writing, preserving, and
25· · · ·destroying of police reports,


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·1· · · ·investigator/detective notes, memos, and
·2· · · ·exculpatory evidence, including the course of --
·3· · · ·during the course of an investigation?
·4· ·A.· In this document, there is not.· That is -- in
·5· · · ·this document, no.
·6· ·Q.· Okay.· And in this document, Deposition Exhibit
·7· · · ·4, is there any policy, procedure, rule, or
·8· · · ·regulation relating to the discipline, training,
·9· · · ·or supervision of detectives?
10· ·A.· Yes.· In this document, there is.
11· ·Q.· What page is that on?
12· ·A.· There is documentation regarding the duties and
13· · · ·procedures of members of the Division of Police,
14· · · ·but there is no documentation as to exactly what
15· · · ·their training is, but there is a guide here as
16· · · ·to what they're supposed to do.
17· ·Q.· Just identify the page for me.
18· ·A.· Well, there is numerous pages, but I can point
19· · · ·to -- on page 3060, it has what you would do --
20· · · ·page 73, Bates number 3060, what you would do in
21· · · ·the event that there was a felony arrest.· So
22· · · ·that is a guide there as to exactly what the
23· · · ·detectives would do.
24· ·Q.· Okay.· Going back to Deposition Exhibit 1 -- or
25· · · ·not 1 -- 2 -- sorry -- is there anything in that


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·1· · · ·Manual of Rules that relates to the conducting --
·2· · · ·or the conducting and documenting -- strike that.
·3· · · · · ·Is there anything in Deposition Exhibit 2,
·4· · · ·the Manual of Rules, relating to conducting and
·5· · · ·documenting photo or in-person line-ups or
·6· · · ·show-ups?
·7· ·A.· No, there is not.
·8· ·Q.· Is there anything in Deposition Exhibit 2, the
·9· · · ·Manual of Rules, relating to use of informants
10· · · ·or witnesses during a criminal investigation,
11· · · ·including disclosure of such witnesses and
12· · · ·payments, gifts, promises, and threats made
13· · · ·to such witnesses?
14· ·A.· I would point to Rule 104.· "No member of the
15· · · ·Division of Police shall directly or indirectly
16· · · ·give, offer, solicit, or receive or be in any
17· · · ·manner concerned in giving, offering, soliciting,
18· · · ·receiving any assessment, subscription, or
19· · · ·contribution of money or any other thing of value
20· · · ·to or for any ranking officer to include or
21· · · ·persuade such officer to resign/retire for the
22· · · ·purpose of accelerating a promotion or a
23· · · ·promotional list."
24· · · · · ·Basically, that covers that in our -- in the
25· · · ·law and in our rules and regulations, that will


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·1· · · ·not be subject to any type of, I guess, financial
·2· · · ·gain or gift to do anything that is contrary to
·3· · · ·the law.· So I think Rule 104 would cover that.
·4· · · ·That rule is still in effect today.
·5· ·Q.· Okay.· Any other rule in the Manual of Rules
·6· · · ·that covers the topic of making payments, gifts,
·7· · · ·threats, or promises to witnesses?
·8· ·A.· Rule number 99.· "Officers, members, and
·9· · · ·employees shall violate no laws of the United
10· · · ·States, the State of Ohio, no ordinances of the
11· · · ·City of Cleveland.· They shall not willfully
12· · · ·disobey any lawful order issued to them by a
13· · · ·superior officer."
14· · · · · ·I think Rule 99, Section 1, would cover that.
15· ·Q.· Okay.· So an officer is supposed to know, based
16· · · ·on reading Rule 99, that he is not to make any
17· · · ·promises, threats, gifts, payments to witnesses?
18· ·A.· Well, that is against the law.· So I would assume
19· · · ·that they would understand that.
20· ·Q.· Okay.· But it's not spelled out in the Manual of
21· · · ·Rules, correct?
22· · · · · · · · · · · MR. FUNK:· Objection.
23· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
24· · · · · · · answer.
25· · · ·BY MS. WANG:


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·1· ·Q.· It doesn't specifically say anything about
·2· · · ·threats or promises to witnesses in Rule 99,
·3· · · ·does it?
·4· ·A.· No, it does not say that.· It just says obey the
·5· · · ·law.
·6· ·Q.· Okay.· In the Manual of Rules that has been
·7· · · ·marked as Deposition Exhibit 2, is there any
·8· · · ·rule relating to the disclosure of exculpatory
·9· · · ·evidence, including, but not limited to,
10· · · ·impeachment material to criminal defendants,
11· · · ·defense attorneys, or prosecutors?
12· ·A.· There isn't.· I would still answer that as a
13· · · ·follow-up and say I would still point to that
14· · · ·Rule 99, that they should not violate the law
15· · · ·of the state, the city.
16· ·Q.· When -- you're familiar with the case Brady
17· · · ·versus Maryland, correct?
18· ·A.· Yes, I am.
19· ·Q.· Okay.· And what's your understanding of what it
20· · · ·obligates officers to do?
21· · · · · · · · · · · MR. FUNK:· Objection.
22· · · · · · · · · · · MR. MALLAMAD:· Objection.
23· · · · · · · · · · · Go ahead, Chief.· You can answer.
24· · · · · · · It's not a 30(b) subject, but if you can
25· · · · · · · answer in a -- to the best of your ability.


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·1· · · · · · · Plus it calls for a legal analysis.
·2· ·A.· I'm limited familiar with it, that their officers
·3· · · ·are required to provide any and all evidence and
·4· · · ·reports to the prosecution so it can be
·5· · · ·determined as to the value of what it -- the
·6· · · ·value of that evidence is in a court proceeding.
·7· · · ·BY MS. WANG:
·8· ·Q.· When Brady versus Maryland was decided in 1963,
·9· · · ·was there any notice or anything given to any of
10· · · ·the officers in the department so that they would
11· · · ·know that this decision had come down?
12· · · · · · · · · · · MR. FUNK:· Objection.
13· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
14· · · · · · · answer.
15· ·A.· Yeah.· In 1963, I couldn't answer that.
16· ·Q.· Okay.· At any time between 1963 and 1975, were
17· · · ·officers informed of what their obligations were
18· · · ·under Brady versus Maryland?
19· ·A.· I can't answer that to that date.· I can tell you
20· · · ·that we are notified today.· I can tell you how
21· · · ·we do it today in any Supreme Court decision that
22· · · ·relates to law enforcement or how we do our job.
23· · · ·Those are promulgated by Chief Williams through
24· · · ·the law department.
25· ·Q.· In what kind of notice?


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·1· ·A.· Usually, a divisional notice.
·2· ·Q.· Okay.· Did you see any divisional notices from
·3· · · ·the 1970s, relating to Brady versus Maryland?
·4· ·A.· No, I did not.
·5· ·Q.· Did you see any written policies whatsoever,
·6· · · ·whether it was a rule from the Manual of Rules
·7· · · ·or a general police order or a departmental
·8· · · ·or divisional notice, relating to officers'
·9· · · ·obligation to disclose exculpatory evidence?
10· ·A.· No, I didn't.
11· ·Q.· And so your belief is that officers in the 1970s
12· · · ·would read Rule 99 and think that they were
13· · · ·required to disclose exculpatory evidence to
14· · · ·prosecutors and criminal defendants?
15· · · · · · · · · · · MR. MALLAMAD:· Objection.· It
16· · · · · · · really is outside of the scope of the
17· · · · · · · deposition, but, Chief, if you have a
18· · · · · · · response, you can respond.
19· ·A.· I can tell you that -- I can't tell you what they
20· · · ·were thinking or assuming then, but I know the
21· · · ·standard that for the last 31 years that we've
22· · · ·been held to is that you are required to know
23· · · ·this and follow this.
24· · · · · ·And when we come on this job to be police
25· · · ·officers, it's unique, because we do take an oath


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·1· · · ·to uphold that law, the laws of the state and the
·2· · · ·federal government and the city.
·3· · · · · ·So I think that is all-encompassing, but that
·4· · · ·particular -- the way you worded it in
·5· · · ·particular, I would have to say no, but my
·6· · · ·assumption would be that everybody knew that they
·7· · · ·had to follow the law.· If that was the law, then
·8· · · ·I assume it would be followed.
·9· · · ·BY MS. WANG:
10· ·Q.· So you did not go to law school, right?
11· ·A.· No, I didn't.
12· ·Q.· And police officers, most of them, are not
13· · · ·lawyers, correct?
14· ·A.· Yeah.
15· ·Q.· So would you agree that officers would need to
16· · · ·get training or instruction of some sort to know
17· · · ·what the law is?
18· ·A.· Well, I think -- I would agree, and I would agree
19· · · ·that officers do receive -- officers do and
20· · · ·continue to receive training.· And the basic --
21· · · ·it's very elementary.· Very basic police 101 is
22· · · ·that you know the law and you follow the law.
23· · · ·That is your profession, that you do know that.
24· · · · · ·Was there anything formal that is documented
25· · · ·from the 1970s?· I don't know, but I do know


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·1· · · ·that the officers that -- they have supervisors
·2· · · ·that train them, teach them.· They have senior
·3· · · ·detectives that would reiterate that to those
·4· · · ·officers.
·5· · · · · ·And that is how I was trained also.· My
·6· · · ·training was a little more formal, but in the
·7· · · ·'60s and '70s, I think it was a little more
·8· · · ·informal, but I still believe that it all goes
·9· · · ·back to this rule, to follow that, to follow
10· · · ·the law.
11· ·Q.· Okay.· And so the only way that officers would
12· · · ·know -- in the 1970s would know what the law
13· · · ·required of them is if somebody else in the
14· · · ·department told them?
15· · · · · · · · · · · MR. FUNK:· Objection.
16· · · · · · · · · · · MR. MALLAMAD:· Objection.· That's
17· · · · · · · not his testimony, but you can answer,
18· · · · · · · Chief.
19· ·A.· I don't -- I don't think it would be if somebody
20· · · ·else told them.· I think if -- I don't see any
21· · · ·divisional notices that address that.
22· · · · · ·I know there was a document that we haven't
23· · · ·located that was then put into a general police
24· · · ·order.
25· · · · · ·If I remember correctly, I think it was at


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·1· · · ·the time Prosecutor John Corrigan, who sent a
·2· · · ·letter to the then chief that said, "Make sure
·3· · · ·you follow A, B, C, and D, as far as evidence."
·4· · · · · ·And the chief took that and put that into a
·5· · · ·divisional notice.· I don't believe I've seen the
·6· · · ·letter, but yeah.· That's how they would --
·7· · · ·that's how they would be notified of it.
·8· · · ·BY MS. WANG:
·9· ·Q.· So officers would be notified by a divisional
10· · · ·notice or if it was in a rule?
11· ·A.· In a rule.
12· ·Q.· In a general police order; is that right?
13· ·A.· Yes.
14· ·Q.· Are there any other written forms that -- in
15· · · ·which an officer would be informed of what the
16· · · ·law is?
17· ·A.· No, not that I'm aware of at that time.
18· ·Q.· And let's go back to the Manual of Rules for a
19· · · ·second.
20· · · · · ·Deposition Exhibit 2, the Manual of Rules,
21· · · ·do you see anything in there that relates to the
22· · · ·conducting and documenting of interrogations or
23· · · ·interviews of suspects and witnesses, including
24· · · ·juveniles?
25· ·A.· No.· That would not be contained in the Manual of


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·1· · · ·Rules.
·2· ·Q.· Is there anything in the Manual of Rules,
·3· · · ·Deposition Exhibit 2, that relates to writing,
·4· · · ·preserving, and destroying police reports,
·5· · · ·investigator/detective notes, memos, exculpatory
·6· · · ·evidence during the course of an investigation?
·7· · · · · · · · · · · MR. MALLAMAD:· I will object,
·8· · · · · · · because it's already been asked and
·9· · · · · · · answered, but go ahead.
10· · · · · · · · · · · THE WITNESS:· As far as -- the
11· · · · · · · answer to the question is no, with this
12· · · · · · · explanation, that if -- it's not our
13· · · · · · · determination nor a law enforcement
14· · · · · · · officer's determination to decide what is
15· · · · · · · exculpatory or not.· That decision is made
16· · · · · · · by the prosecutor's office.
17· · · · · · · · · · · So our job and our requirement is
18· · · · · · · to follow the law and turn everything over
19· · · · · · · to the prosecutor's office to make that
20· · · · · · · determination.
21· · · ·BY MS. WANG:
22· ·Q.· Where does it say that in the Manual of Rules?
23· ·A.· It says that -- I don't believe it's in the
24· · · ·Manual of Rules, but I believe it says in the
25· · · ·investigative process that any and all evidence


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·1· · · ·that you obtain is to be turned over to the
·2· · · ·prosecutor's office.
·3· · · · · ·And I think we did reference it in one of
·4· · · ·these other documents earlier that you had
·5· · · ·highlighted.
·6· ·Q.· Okay.· And so what you're referring to is what we
·7· · · ·previously discussed?
·8· ·A.· Yes.
·9· ·Q.· Is there anything else that you're thinking of
10· · · ·that is responsive to whether or not there is any
11· · · ·rules or regulations or policies on the writing,
12· · · ·preserving, and destroying of police reports,
13· · · ·investigator/detective notes, memos, and
14· · · ·exculpatory evidence?
15· ·A.· No, there was not.
16· · · · · · · · · · · MR. MALLAMAD:· You're referring to
17· · · · · · · this Manual of Rules, Exhibit 2?
18· · · · · · · · · · · MS. WANG:· Yes.
19· · · · · · · · · · · MR. MALLAMAD:· Then I object.
20· · · · · · · It's been asked and answered as cited
21· · · · · · · previously.
22· · · ·BY MS. WANG:
23· ·Q.· The deposition Exhibit 5 -- actually, one last
24· · · ·question.
25· · · · · ·Is there anything in the Manual of Rules,


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·1· · · ·Deposition Exhibit 2, that relates to the
·2· · · ·discipline, training, and supervision of
·3· · · ·detectives?
·4· ·A.· The discipline?· Could you repeat that?
·5· ·Q.· Discipline, training, and supervision of
·6· · · ·detectives.
·7· ·A.· No.· To detectives specifically, no, there is
·8· · · ·not.
·9· ·Q.· Okay.· The document that has been Bates stamped
10· · · ·Deposition Exhibit 5.
11· · · · · ·Okay.· So let's take a look at -- well,
12· · · ·actually, first of all, a background question
13· · · ·about the general police orders.
14· · · · · ·This is a book of general police orders from
15· · · ·1969 to 1974; is that right?
16· ·A.· Yes, it is.
17· ·Q.· And these police orders were promulgated by the
18· · · ·police chief, correct?
19· ·A.· Yes.
20· ·Q.· Do you know why this particular set of police
21· · · ·orders only covers 1969 to 1974?
22· ·A.· No, I don't.
23· ·Q.· Okay.· There were police orders that existed
24· · · ·prior to 1969, right?
25· ·A.· Yes, there were.


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·1· ·Q.· And there were police orders that existed after
·2· · · ·1974?
·3· ·A.· Yes, there were.
·4· ·Q.· If there had been police orders that -- strike
·5· · · ·that.
·6· · · · · ·Let's take a look at page 3108.
·7· ·A.· Okay.
·8· ·Q.· So on page 3108, there's a Rule number 2-74.· It
·9· · · ·says, "January 25th, 1974, Subject:· Amendment to
10· · · ·the Manual of Rules."
11· · · · · ·And it says, "To the Members of the
12· · · ·Department by the Authority of James T. Conny,
13· · · ·Director of Public Safety, the Manual of Rules of
14· · · ·the Department of Public Safety, Division of
15· · · ·Police, shall be revised as follows."
16· · · · · ·And then it gives what appears to be an
17· · · ·amendment to the rules; is that right?
18· ·A.· Yes.· That's correct.
19· ·Q.· Okay.· So it appears that the amendments to the
20· · · ·Manual of Rules were issued in police orders?
21· ·A.· Yes.
22· ·Q.· Was there any other way in which amendments to
23· · · ·the Manual of Rules were issued?
24· ·A.· No, not that I'm aware of.
25· ·Q.· And if you'd just take a look at page 3110.


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·1· ·A.· Okay.
·2· ·Q.· Number 22-73 dated August 31st, 1973, says,
·3· · · ·"Subject:· Procedure Before a Custodial
·4· · · ·Interrogation."
·5· · · · · ·And this rule has to do with the procedure
·6· · · ·that officers are expected to follow, in terms of
·7· · · ·giving a suspect their Miranda rights; is that
·8· · · ·right?
·9· ·A.· Yes.· That is right.
10· ·Q.· So this is the type of rule or policy that would
11· · · ·be promulgated per general police order?
12· ·A.· That's correct.
13· ·Q.· Okay.· Can you think of any other place that a
14· · · ·rule relating to, you know, procedures during a
15· · · ·custodial interrogation would be given, besides
16· · · ·in a general police order?
17· ·A.· In --
18· ·Q.· In the 1970s.
19· ·A.· No.
20· ·Q.· It's not the kind of thing that would be in the
21· · · ·Manual of Rules, right?
22· ·A.· Right.
23· ·Q.· And it's not the kind of thing that would be
24· · · ·given by a divisional or departmental notice?
25· ·A.· No.· It would be in a general police order.


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·1· ·Q.· Okay.· And if you'd just look at the number, it
·2· · · ·says number 22-73.· So the 73 refers to the year
·3· · · ·that the rule is promulgated, right?
·4· ·A.· Yes.
·5· ·Q.· And they're given in order; is that fair to say?
·6· ·A.· Yes.
·7· ·Q.· All right.· So starting in January of a given
·8· · · ·year, you would start numbering the police orders
·9· · · ·for that year 1 dash year?
10· ·A.· Yes.
11· ·Q.· And then at the end of the year, it would be
12· · · ·whatever the last one for the year would be?
13· ·A.· That's correct.
14· ·Q.· Is that still how it's done today, the numbers?
15· ·A.· No.
16· ·Q.· No?
17· ·A.· No.· It's different today.
18· ·Q.· Okay.· And if you'd turn to page 3112.
19· ·A.· Okay.
20· ·Q.· Number 19-73, dated July 18th, 1973, the subject
21· · · ·is pretrial discovery rights of defense attorneys
22· · · ·in court in criminal cases.
23· · · · · ·Now, this one states, "To Members of the
24· · · ·Department, in a letter to this department,
25· · · ·County Prosecutor John T. Corrigan has defined


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·1· · · ·the legal rights of defense attorneys in court to
·2· · · ·statements, reports, and other items in criminal
·3· · · ·cases.· His letter, as a part of this order,
·4· · · ·shall be considered an integral part of criminal
·5· · · ·case preparation procedures, and all members
·6· · · ·shall comply with this provision.· A copy shall
·7· · · ·be forwarded to all divisions, districts, and
·8· · · ·units."
·9· · · · · ·And then what follows appears be the text of
10· · · ·Attorney Corrigan's letter; is that right?
11· · · · · · · · · · · MR. MALLAMAD:· Objection.· If you
12· · · · · · · know.
13· ·Q.· Well, take a minute to review it.
14· ·A.· Yeah.· That appears to be the text of his letter.
15· ·Q.· Okay.· It says at the end, "Respectfully
16· · · ·Submitted, signed John T. Corrigan" --
17· ·A.· Yes.
18· ·Q.· -- "Prosecuting Attorney," right?
19· ·A.· Yes.
20· ·Q.· All right.· So --
21· · · · · · · · · · · MR. FUNK:· I'm sorry.· What's the
22· · · · · · · Bates number on this?
23· · · · · · · · · · · MS. WANG:· 3112, CLE 3112.
24· · · ·BY MS. WANG:
25· ·Q.· Now, in approximately the middle of the page, in


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·1· · · ·the first column, it says, "No police department
·2· · · ·is required or shall give to the defense counsel
·3· · · ·any -- and/or any court any record, paper,
·4· · · ·statement, report, or tangible object of a
·5· · · ·criminal case."
·6· · · · · · · · · · · MR. MALLAMAD:· Wait for the
·7· · · · · · · question.
·8· · · ·BY MS. WANG:
·9· ·Q.· This letter from Attorney Corrigan was adopted by
10· · · ·the police department in a general police order,
11· · · ·right?
12· ·A.· Yes, it was.
13· ·Q.· In this police order?
14· ·A.· Yes.
15· ·Q.· And this police order was distributed to all the
16· · · ·officers in the department?
17· ·A.· Yes, it was.
18· ·Q.· And the officers, including detectives, were
19· · · ·expected to follow this order?
20· ·A.· Yes.
21· ·Q.· It then says, "Under proper circumstances under
22· · · ·this rule, by application to the prosecuting
23· · · ·attorney and/or the court, the defense counsel
24· · · ·may be entitled to the following."
25· · · · · ·And then it gives a number of items.· Number


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·1· · · ·6 is evidence favorable to the defendant.· Do you
·2· · · ·see that?
·3· ·A.· Yes, I do.
·4· ·Q.· Was there any explanation in any of the general
·5· · · ·police orders that you have here before you in
·6· · · ·Deposition Exhibit 5 of what evidence favorable
·7· · · ·to the defendant was?
·8· ·A.· No, there wasn't.
·9· ·Q.· Okay.· Is there any other written document that
10· · · ·you're aware of from the 1970s that explained
11· · · ·what evidence favorable to the defendant was?
12· ·A.· No, there is not.
13· ·Q.· And then it says, "Exception to the foregoing.
14· · · ·The foregoing does not authorize the discovery or
15· · · ·the inspection of reports, memoranda, or other
16· · · ·internal documents made by the prosecuting
17· · · ·attorney or his agents" -- police departments or
18· · · ·his agents" -- in connection with the
19· · · ·investigation or prosecution of a case or of
20· · · ·statements made by witnesses or prospective
21· · · ·witnesses to state agents."
22· · · · · ·Do you see that?
23· ·A.· Yes, I do.
24· ·Q.· So this rule set out in numbers 1 through 6
25· · · ·items that police officers were expected to give


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·1· · · ·to defense counsel, but witness statements were
·2· · · ·excepted from that?
·3· · · · · · · · · · · THE COURT:· Objection.
·4· · · · · · · · · · · MR. MALLAMAD:· Objection.
·5· · · ·BY MS. WANG:
·6· ·Q.· Is that fair to say?
·7· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
·8· · · · · · · answer it to the best of your ability.
·9· · · · · · · · · · · THE WITNESS:· The foregoing does
10· · · · · · · not -- yes.· That appears to be what it
11· · · · · · · says.
12· · · ·BY MS. WANG:
13· ·Q.· And officers were expected to follow this rule?
14· ·A.· Yes.· It was a law.
15· ·Q.· And it was adopted by the police department in a
16· · · ·general police order?
17· ·A.· Yes.
18· ·Q.· Is that still a rule that the police department
19· · · ·follows today?
20· ·A.· Yes.· And I believe it's been expanded upon with
21· · · ·the rules of discovery, if I'm not mistaken, but
22· · · ·yes.· Any and all information is to go to the
23· · · ·prosecutor's office.
24· ·Q.· Actually, that's not what this says, right?· So
25· · · ·you're saying the rule today is that any and all


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·1· · · ·information that an investigating officer --
·2· ·A.· Right.
·3· · · · · · · · · · · MR. MALLAMAD:· Hold on.
·4· · · ·BY MS. WANG:
·5· ·Q.· -- obtains today is to be given to a prosecutor,
·6· · · ·right?
·7· ·A.· Correct.
·8· ·Q.· This rule says items 1 through 6 -- and 6 is
·9· · · ·evidence favorable to the defense.
10· ·A.· Right.
11· ·Q.· -- may be given -- by application to the
12· · · ·prosecutor or the court may be given to the
13· · · ·defense counsel, except witness statements?
14· ·A.· Right.· So the answer to your question --
15· · · · · · · · · · · MR. FUNK:· Objection.
16· · · · · · · · · · · MR. MALLAMAD:· Objection.· Go
17· · · · · · · ahead and answer.
18· · · · · · · · · · · THE WITNESS:· Okay.
19· · · ·BY MS. WANG:
20· ·Q.· Is that your understanding -- is that your
21· · · ·understanding of what it says?
22· ·A.· That's my understanding of what it says.· And the
23· · · ·answer to the question is -- is this in effect
24· · · ·today?· The answer is no.
25· ·Q.· Okay.


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·1· ·A.· This is not in effect today.
·2· ·Q.· Okay.· It was in effect in 1975, right?
·3· ·A.· Correct.
·4· ·Q.· It was in effect as of July 18th of 1973?
·5· ·A.· Yes.
·6· ·Q.· Why isn't it in effect today?
·7· ·A.· It is not in effect today because of the --
·8· · · ·our procedures, our rules have changed.· And
·9· · · ·the rules of discovery and what the prosecutor
10· · · ·requires us to provide them is any and all
11· · · ·documentation in a case.
12· · · · · ·Exactly how that came about, I think it was a
13· · · ·legal matter that was decided in court.· So...
14· ·Q.· If you'd turn to 3149, number 2171, do you see
15· · · ·that at the top of that page?
16· ·A.· I do.
17· ·Q.· Okay.· And it's dated May 3rd, 1971.· The subject
18· · · ·is supplement to GPO 3370, field training program
19· · · ·procedures.
20· · · · · ·So this general -- is it fair to say that
21· · · ·this general order establishes some revision or
22· · · ·supplement to the field training procedures?
23· ·A.· Yes, it does.
24· ·Q.· Okay.· And let's go to number 3370, which is on
25· · · ·page 3159, all right?


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·1· ·A.· Yes.
·2· ·Q.· So number 3370, which was promulgated on
·3· · · ·September 10th of 1970, the subject is
·4· · · ·responsibilities and operational and assignment
·5· · · ·procedures in the field training program.
·6· · · · · ·So this general order lays out the field
·7· · · ·training program, correct?
·8· ·A.· Yes, it does.
·9· ·Q.· Was there any other training provided to
10· · · ·detectives of the Cleveland Police Department in
11· · · ·the 1970s, besides the field training program?
12· ·A.· Yes, there was.
13· ·Q.· And what training was there?
14· ·A.· They received training from the police academy
15· · · ·before they were sworn in as a law enforcement
16· · · ·officer.· There was training from supervisors
17· · · ·and other officers that were memorialized or
18· · · ·formalized in the field training officer program.
19· · · · · ·And there were some opportunities for what we
20· · · ·would call today continuing education training
21· · · ·for our officers.
22· ·Q.· All right.· So was there any other training
23· · · ·provided to officers in the 1970s?
24· ·A.· Not that -- not that I'm aware of.
25· ·Q.· Okay.· What was taught to officers in the


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·1· · · ·academy?
·2· ·A.· Well, in the 1970s, I can tell you what we were
·3· · · ·taught.· In 1984, when I attended the police
·4· · · ·academy, rules, regulations, laws, Supreme Court
·5· · · ·decisions, physical fitness, firearms training,
·6· · · ·how to conduct interviews, diversity training,
·7· · · ·how to deal with the public, you know, how to
·8· · · ·write tickets, just, you know, six months of law
·9· · · ·enforcement training from -- like I said, from
10· · · ·rules and regulations all the way down to your
11· · · ·responsibilities when you're on and off duty.
12· ·Q.· And this was when you attended the academy in
13· · · ·1985?
14· ·A.· Yes.
15· ·Q.· Did they have diversity training in the 1970s?
16· ·A.· I don't believe they did, but I couldn't speak on
17· · · ·it, but I don't believe they did.· I believe that
18· · · ·was something that evolved over the years.
19· ·Q.· Okay.· And so how did you -- so you were -- what
20· · · ·is your understanding of what training officers
21· · · ·in the 1960s, let's say, had at the academy?
22· ·A.· My understanding is from one of the reports that
23· · · ·I reviewed.· It was a form 1 report from the
24· · · ·training academy supervisor, and it listed -- I
25· · · ·think there was six or seven different categories


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·1· · · ·with the officers' grades, you know, how they
·2· · · ·scored on it.
·3· · · · · ·Exactly the fact that they -- if there was
·4· · · ·any lesson plans or anything, I don't have any
·5· · · ·knowledge of that.
·6· · · · · ·I know there was a peace officer training
·7· · · ·council that was set up by the State's Attorney
·8· · · ·General, and they followed some of those
·9· · · ·guidelines.
10· · · · · ·It's quite a bit more formalized today than
11· · · ·it was in the '70s.
12· ·Q.· Okay.· What else did officers -- or sorry.
13· · · ·Strike that.
14· · · · · ·How else did officers get training in the
15· · · ·1960s and '70s, besides from the police
16· · · ·academy --
17· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
18· · · · · · · answer.
19· ·Q.· -- and the field training program?
20· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
21· · · · · · · and answered.· You can answer.
22· · · · · · · · · · · THE WITNESS:· Okay.
23· ·A.· I believe in the 1960s and 1970s, a lot of it was
24· · · ·from your supervisor and from your senior
25· · · ·officers.· I think you could define it as


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·1· · · ·on-the-job training, just as in any profession.
·2· · · · · ·A more experienced officer would assist you
·3· · · ·until you became comfortable in what you were
·4· · · ·doing.
·5· · · ·BY MS. WANG:
·6· ·Q.· Did you -- when you became a detective, did you
·7· · · ·have to go to detective school?
·8· ·A.· No, I didn't.
·9· ·Q.· Did you have to receive any kind of specialized
10· · · ·training to be a detective?
11· ·A.· No.· The detective function within the Division
12· · · ·of Police is not a rank.· It is an assignment.
13· · · ·And you're a patrol officer, working in a plain
14· · · ·clothes investigative assignment.
15· · · · · ·So your training was -- we do have detective
16· · · ·training now, but to your question, when I was a
17· · · ·detective, you were detailed to an investigative
18· · · ·bureau, and you were trained by the investigators
19· · · ·in that bureau.
20· ·Q.· Like on-the-job training?
21· ·A.· On-the-job training, reviewing some of these
22· · · ·policies in the manuals, but, mostly, it was, you
23· · · ·just shadowed somebody for a while, until you
24· · · ·became comfortable with the process.
25· ·Q.· And in the 1960s and '70s, was there any


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·1· · · ·formalized training for detectives?
·2· ·A.· I believe it was the same thing.
·3· ·Q.· On-the-job training?
·4· ·A.· Yes.
·5· ·Q.· Is there anything in Deposition Exhibit 5,
·6· · · ·the general police orders from 1969 to 1974,
·7· · · ·that relates to topic 1A of the deposition
·8· · · ·notice, which is documenting or memorializing
·9· · · ·the developments in an investigation in such a
10· · · ·way that they would become part of the official
11· · · ·file during the course of an investigation?
12· · · · · · · · · · · MR. MALLAMAD:· Objection to the
13· · · · · · · extent that the documents speak for
14· · · · · · · themselves, but you can go ahead and review
15· · · · · · · this document, Chief.
16· ·A.· There is no index here, obviously, right?
17· · · · · · · · · · · MR. FUNK:· All the GPOs?
18· · · · · · · · · · · MR. MALLAMAD:· No.· I'm sorry.
19· · · · · · · The exhibit, Deposition Exhibit 5, what's
20· · · · · · · been identified as general police orders,
21· · · · · · · 1969 to 1974.
22· · · · · · · · · · · MR. FUNK:· Okay.
23· ·A.· Could you repeat that, please?
24· ·Q.· Sure.· Is there anything in the general police
25· · · ·orders, 1969 to 1974, Deposition Exhibit 5,


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·1· · · ·that relates to documenting or memorializing
·2· · · ·the developments in an investigation in such a
·3· · · ·way that they would become part of the official
·4· · · ·file during the course of an investigation?
·5· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
·6· · · · · · · and answer.· You can answer, Chief.
·7· ·A.· There are -- in the general police orders, there
·8· · · ·are guidelines regarding reports and what they
·9· · · ·should include, but there is nothing that says
10· · · ·exactly where those reports shall go.· So the
11· · · ·first answer is yes.· It's on page 3103.
12· · · · · ·The second answer is no, that there is no
13· · · ·place listed in here, where those reports should
14· · · ·go.
15· · · ·BY MS. WANG:
16· ·Q.· All right.· Is there anything in Deposition
17· · · ·Exhibit 5 that relates to conducting and
18· · · ·documenting photo or in-person lineups or
19· · · ·showups?
20· · · · · · · · · · · MR. FUNK:· Objection.· Asked and
21· · · · · · · answered.
22· · · · · · · · · · · THE WITNESS:· I don't believe
23· · · · · · · there is, no.
24· · · · · · · · · · · MR. FUNK:· You can answer.
25· · · · · · · · · · · MS. WANG:· He hasn't answered with


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·1· · · · · · · respect to this document.
·2· · · · · · · · · · · MR. FUNK:· His prior answer
·3· · · · · · · would have encompassed the answer to
·4· · · · · · · that question, but go ahead, Chief.
·5· · · · · · · · · · · THE WITNESS:· No.
·6· · · ·BY MS. WANG:
·7· ·Q.· Did you have something else to say?
·8· ·A.· No, I didn't.
·9· ·Q.· Okay.· Is there anything in Deposition Exhibit
10· · · ·5 that relates to topic 1C of the deposition
11· · · ·notice, which is use of informants or witnesses
12· · · ·during a criminal investigation, including
13· · · ·disclosure of such witnesses and payments, gifts,
14· · · ·promises, or threats made to such witnesses?
15· · · · · · · · · · · MR. FUNK:· Objection.· Asked and
16· · · · · · · answered.· You can answer, Chief.
17· · · · · · · · · · · THE WITNESS:· Yeah.· In these
18· · · · · · · documents, no, there is not.· I cited
19· · · · · · · the Manual of Rules is where that would
20· · · · · · · be.
21· · · ·BY MS. WANG:
22· ·Q.· The Deposition Exhibit 5, is there anything
23· · · ·in there that relates to D, 1D, disclosure of
24· · · ·exculpatory evidence, including, but not limited
25· · · ·to, impeachment materials to criminal defendants,


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·1· · · ·defense attorneys, or prosecutors, other than
·2· · · ·Rule 19-73, which we already discussed?
·3· ·A.· Other than --
·4· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
·5· · · · · · · and answered.· You can answer.
·6· ·A.· Other than that rule with the letter, no.
·7· · · ·BY MS. WANG:
·8· ·Q.· And by that rule with the letter, we're talking
·9· · · ·about the one with the prosecutor's letter?
10· ·A.· Yes.
11· ·Q.· Okay.· Is there anything in Deposition Exhibit 5
12· · · ·that relates to topic 1F, writing, preserving,
13· · · ·and destroying police reports, investigator/
14· · · ·detective notes, memos, exculpatory evidence
15· · · ·during the course of an investigation?
16· · · · · · · · · · · MR. FUNK:· Objection.· Asked and
17· · · · · · · answered.· You can answer, Chief.
18· · · · · · · · · · · THE WITNESS:· Just the writing of
19· · · · · · · the police reports.
20· · · ·BY MS. WANG:
21· ·Q.· And do you recall which general order it is?
22· ·A.· That would be -- I just read it.· That is on page
23· · · ·3103, reports, what shall be included in the
24· · · ·reports.
25· ·Q.· Okay.· Is there anything in Deposition Exhibit 5


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·1· · · ·that relates to discipline, training, and
·2· · · ·supervision of detectives?
·3· · · · · · · · · · · MR. FUNK:· Objection.· It's been
·4· · · · · · · answered.· You can answer, Chief.
·5· · · · · · · · · · · THE WITNESS:· No, there is not.
·6· · · · · · · · · · · MS. WANG:· Okay.· Let's mark that
·7· · · · · · · as an exhibit.
·8· · · · · · · · · · · (Thereupon, Deposition Exhibit 6
·9· · · · · · · was marked for purposes of identification.)
10· · · ·BY MS. WANG:
11· ·Q.· Okay.· So we -- I have handed you what's been
12· · · ·marked as Deposition Exhibit 6.· That is -- it's
13· · · ·Bates stamped CLE 160 through 976.
14· ·A.· Yes.
15· ·Q.· So I know it's a very large document, but is
16· · · ·that one of the documents that you reviewed in
17· · · ·preparation for your deposition?
18· ·A.· Some of the documents in this, I reviewed.
19· ·Q.· Okay.· Do you know where this copy was obtained
20· · · ·from?
21· ·A.· I think it was -- I believe it was obtained from
22· · · ·our police museum.· Now, I know that we had two
23· · · ·retired police officers working diligently to
24· · · ·find all the responsive documents, and I know
25· · · ·they recovered a lot of it from our police


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·1· · · ·museum.
·2· ·Q.· So the cover here is -- it has handwritten on it
·3· · · ·Sergeant C.H. Breaery, B-R-E-A-E-R-Y.· Is it your
·4· · · ·understanding that this was that person's copy of
·5· · · ·the manual?
·6· ·A.· Yes.· Yes, it is.
·7· ·Q.· Not manual, but of the police orders?
·8· ·A.· Yes.
·9· ·Q.· And he likely donated it to the museum?
10· ·A.· It appears that way.
11· ·Q.· So these documents are in reverse chronological
12· · · ·order, it appears from the approximately -- if
13· · · ·you go to the last page, the date is from 1961.
14· ·A.· Okay.
15· ·Q.· I will just let you get there.
16· ·A.· 1959.
17· ·Q.· Or 1959, actually.
18· ·A.· Yes.
19· ·Q.· It goes from 1959 to 1976.
20· ·A.· Correct.
21· ·Q.· Do you know if this is a complete copy of this
22· · · ·person's, Sergeant Breaery, police orders, or
23· · · ·this is some subset?
24· ·A.· No.· I do not know if this is a complete copy.
25· ·Q.· Okay.· Now, these -- if you flip through it, you


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·1· · · ·will see that it contains the police orders,
·2· · · ·essentially, from 1959 to 1976.
·3· ·A.· Yes.
·4· ·Q.· Is this --
·5· · · · · · · · · · · MR. FUNK:· Wait for the question.
·6· · · · · · · · · · · THE WITNESS:· Okay.
·7· · · ·BY MS. WANG:
·8· ·Q.· Is it your understanding that these are the
·9· · · ·police orders that existed from 1959 to 1976?
10· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
11· · · · · · · answer to the best of your ability.
12· · · · · · · · · · · THE WITNESS:· To the best of my
13· · · · · · · ability, I would have to say yes.· There
14· · · · · · · may be other documents out there, but these
15· · · · · · · are all the documents that could have been
16· · · · · · · located.
17· · · ·BY MS. WANG:
18· ·Q.· Okay.· So when you say there may have been other
19· · · ·documents out there, what are you referring to?
20· ·A.· I'm talking about -- I would refer to these
21· · · ·general police orders.· Exactly how many were
22· · · ·issued, if there were any addendums or any other
23· · · ·orders that could still be -- we could be unable
24· · · ·to locate them, but --
25· ·Q.· So the city has already -- has done a search for


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·1· · · ·all of the documents that constituted general
·2· · · ·police orders dating from the 1960s and '70s; is
·3· · · ·that true?
·4· ·A.· Yes, they have.· Yes.
·5· ·Q.· And you've produced already the ones that you
·6· · · ·have obtained, right?
·7· ·A.· Yes.
·8· ·Q.· And you're not -- are you still continuing your
·9· · · ·search for additional documents?
10· ·A.· I don't know if the search is ongoing, but the
11· · · ·possibility that other documents may exist or
12· · · ·could have existed is -- it's possible.
13· ·Q.· And you don't know what those are?
14· ·A.· No.· I am not -- I'm not in charge of that search
15· · · ·process.· I'm not in charge of producing these.
16· · · ·So --
17· ·Q.· Right.· But whatever documents you haven't
18· · · ·seen, if there was some general police order out
19· · · ·there from the 1960s or '70s that is not in the
20· · · ·documents before you that you've reviewed, you
21· · · ·would not know what it said, right?
22· ·A.· Right, correct.· I would not.
23· ·Q.· Okay.· And the general police orders in this set
24· · · ·of general police orders are also numbered, you
25· · · ·know, 1 through whatever it is at the end of the


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·1· · · ·year, and then the second set of numbers is the
·2· · · ·year, correct?
·3· ·A.· Yes.
·4· ·Q.· Okay.· To your knowledge, were there any general
·5· · · ·police orders that were not numbered in that
·6· · · ·fashion from the 1960s and '70s?
·7· ·A.· I can't answer.· I don't know.
·8· ·Q.· If you take a look at -- just one moment.
·9· · · · · ·All right.· If you look at CLE 822.· So this
10· · · ·just has to do with building permits.· It's the
11· · · ·general police order number 25-53 and the date is
12· · · ·April 26, 1963.
13· · · · · ·It says towards the bottom, "All such
14· · · ·inspections" -- and it's talking about building
15· · · ·inspections -- "are to be included in the
16· · · ·member's daily duty report."
17· · · · · ·Do you see that?
18· ·A.· Yes.
19· ·Q.· Okay.· So there is a reference here to the daily
20· · · ·duty report that we discussed earlier?
21· ·A.· Yes, there is.
22· ·Q.· So at least according to this document, daily
23· · · ·duty reports were required of officers at least
24· · · ·in 1963?
25· ·A.· Yes.


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·1· ·Q.· And they still are today?
·2· ·A.· Yes, they are.
·3· ·Q.· And is it your understanding that they were
·4· · · ·required of officers and detectives in the 1970s
·5· · · ·as well?
·6· ·A.· Yes.
·7· ·Q.· Now, turning to page 732, this one is general
·8· · · ·police order number 1070, dated April 14th, 1970.
·9· · · ·It's an amendment to training bulletin 82.53.
10· · · · · ·And then there is a discussion of different
11· · · ·training bulletins in this general order.· Do you
12· · · ·still have training bulletins today?
13· ·A.· No, we don't.
14· ·Q.· What is your understanding of when training
15· · · ·bulletins were issued?
16· ·A.· When there was -- my understanding today is, we
17· · · ·issue training opportunities, which probably back
18· · · ·then would be a bulletin, in divisional notices.
19· · · ·So that's a divisional notice today.
20· · · · · ·There is a training opportunity for search
21· · · ·and seizure at Tri-C this date.· If you'd like to
22· · · ·attend, fill out the following form.
23· · · · · ·That is how we do it today.· Maybe they did
24· · · ·it a little bit different back then, but I'm not
25· · · ·-- but today this would be a divisional notice.


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·1· ·Q.· Okay.· And did you come across any training
·2· · · ·bulletins in your search for responsive documents
·3· · · ·regarding training materials in the 1970s?
·4· ·A.· No, I didn't.
·5· ·Q.· So the best of your understanding is that a
·6· · · ·training bulletin from the 1960s and '70s were
·7· · · ·notices that the department would put out about
·8· · · ·training opportunities.· That is kind of how it
·9· · · ·would be done today, and you would expect it
10· · · ·would be the same back then?
11· · · · · · · · · · · MR. FUNK:· Objection.· You can
12· · · · · · · answer.
13· · · · · · · · · · · THE WITNESS:· Right.· I would
14· · · · · · · expect it would be the same.· Reading this
15· · · · · · · document, all new legislation and the
16· · · · · · · statutes would have been amended and
17· · · · · · · repealed.· Same thing today.
18· · · · · · · · · · · A divisional notice would tell you
19· · · · · · · if there was new legislation or a statute
20· · · · · · · or an ordinance in the City of Cleveland
21· · · · · · · has been repealed or is no longer
22· · · · · · · enforceable, yes.
23· · · ·BY MS. WANG:
24· ·Q.· Let's take a look at CLE 685.· So there is --
25· · · ·that is general order 3470, dated September 16th,


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·1· · · ·1970.· There is a reference there to the general
·2· · · ·record room.
·3· · · · · ·Do you see that?
·4· ·A.· Yes.
·5· ·Q.· Do you still have a general record room today?
·6· ·A.· No, we don't.
·7· ·Q.· What was the general record room?
·8· ·A.· The general record room was just what it said.
·9· · · ·It kept all general records for the Division of
10· · · ·Police internally.
11· · · · · ·So your employment application, your
12· · · ·assignment -- we have a card that tells you where
13· · · ·you have been assigned throughout the division.
14· · · · · ·Those are general records that were -- now
15· · · ·they're maintained in all sorts of different
16· · · ·units; police academy unit, inspection unit.
17· · · · · ·It's been decentralized.· This was just a
18· · · ·general record room where files were kept.
19· ·Q.· Was it just for personnel type files or
20· · · ·investigative files also?
21· ·A.· It was not investigatory files.
22· ·Q.· So where were -- in the 1970s, where were the
23· · · ·investigatory files kept for the homicide unit?
24· ·A.· For the homicide unit, where they're kept today,
25· · · ·in the homicide unit.


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·1· ·Q.· All right.· Turning to CLE 601, this is general
·2· · · ·police order number 28-71, dated June 1st, 1971.
·3· · · ·And it's a rescinding of a rule from the Manual
·4· · · ·of Rules; is that accurate?
·5· · · · · · · · · · · MR. FUNK:· Objection.· If you
·6· · · · · · · know.
·7· · · · · · · · · · · THE WITNESS:· Yeah.· It looks like
·8· · · · · · · it, yes.
·9· · · ·BY MS. WANG:
10· ·Q.· So changes, amendments, rescinding of rules were
11· · · ·done by general police orders, at least as of
12· · · ·1971?
13· ·A.· Yes.· It appears so.
14· ·Q.· And -- strike that.
15· · · · · · · · · · · MR. FUNK:· What's that general
16· · · · · · · order number?· I'm sorry.
17· · · · · · · · · · · MS. WANG:· That one is 28-71.
18· · · · · · · · · · · MR. FUNK:· 28-71.
19· · · ·BY MS. WANG:
20· ·Q.· All right.· Let's take a look at CLE 434 through
21· · · ·435.
22· ·A.· Okay.
23· ·Q.· Actually, I think I asked you about this one
24· · · ·already.· So strike that.
25· · · · · ·All right.· CLE 323 is general police


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·1· · · ·order number 26-75, dated July 18th, 1975.
·2· · · ·This rule -- or police order -- the subject
·3· · · ·is unauthorized and prohibited comments,
·4· · · ·communications, and interviews.
·5· · · · · ·And it says, "To the Members of the
·6· · · ·Department.· All members are expressly directed
·7· · · ·to give full compliance to Rule 4147 and Rule
·8· · · ·97."
·9· · · · · ·So the reference to the rules here is a
10· · · ·reference to the Manual of Rules; is that right?
11· ·A.· Yes.
12· ·Q.· Okay.· And it's the manual that we were
13· · · ·discussing earlier?
14· ·A.· Yes, it was.
15· ·Q.· Page 172, CLE 172.· It's general police order
16· · · ·number 35-76, and it's dated May 24th, 1976.· The
17· · · ·subject line is acknowledgement of receipt of
18· · · ·general police orders, departmental notices, and
19· · · ·memorandums.
20· · · · · ·And it says, "To the Members of the
21· · · ·Department.· Within 48 hours of receipt of a
22· · · ·general police order, departmental notice, or
23· · · ·memorandum, every commanding officer shall
24· · · ·receive a copy of same and return a receipt
25· · · ·of copy to the chief's office."


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·1· · · · · ·What is your understanding of whether or not
·2· · · ·this rule was in place before 1976?
·3· ·A.· I don't know if it was in place before 1976.
·4· ·Q.· Do you have to do that today?· Do officers have
·5· · · ·to sign acknowledgement that they've received a
·6· · · ·general order?
·7· ·A.· No.
·8· ·Q.· Did you have to do that when you first started at
·9· · · ·the department in '85?
10· ·A.· No.· We are required to keep an updated general
11· · · ·police order book, which is subject to inspection
12· · · ·at any time.· And it's done randomly at roll
13· · · ·calls.· You may be asked to attend roll call
14· · · ·tomorrow night at 10:00 o'clock.· Bring your
15· · · ·general police order book with you and then it
16· · · ·will be inspected there.· And if it's not in
17· · · ·compliance, you'll be told to get it in
18· · · ·compliance.· You're usually given three days.· If
19· · · ·it's not in compliance then, then there's formal
20· · · ·discipline.
21· ·Q.· Well, where -- these days where do officers keep
22· · · ·their general police office book?
23· ·A.· Some officers have them in their car when they're
24· · · ·driving around.· Mine is on my desk.· I'm
25· · · ·required to keep it.· It all depends.· Some of


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·1· · · ·them keep it in their lockers.· It's up to you to
·2· · · ·have that and to be able to refer to that.· So
·3· · · ·there is no specific place.
·4· ·Q.· Okay.· Is there anything in Deposition Exhibit 6
·5· · · ·that relates to topic 1A of the Notice of
·6· · · ·Deposition, which is, "Documenting or
·7· · · ·memorializing the developments in an
·8· · · ·investigation in such a way that they would
·9· · · ·become part of the official file during the
10· · · ·course of an investigation"?
11· ·A.· There are -- there is an order on page 170 that
12· · · ·is significant and it deals with evidence in sex
13· · · ·crimes cases.
14· ·Q.· Okay.
15· ·A.· But as far as -- I wish they had an index because
16· · · ·I could tell you --
17· · · · · · · · · · · MR. MALLAMAD:· Well, objection to
18· · · · · · · the extent that the documents speak for
19· · · · · · · themselves and their completeness is not
20· · · · · · · being attested to.
21· · · · · · · · · · · Beyond that you can review every
22· · · · · · · page of that if you wish to to try and
23· · · · · · · answer the question.
24· ·A.· There are guidelines for how certain offenses
25· · · ·should be handled and documented in these general


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·1· · · ·police orders, but to answer your specific
·2· · · ·question, I'd have to say that -- I'd imagine
·3· · · ·that they're in these documents, but exactly
·4· · · ·where they're at, I cannot point out to you at
·5· · · ·the moment.
·6· ·Q.· All right.· So if there were a written policy
·7· · · ·relating to topic 1A of the Amended Notice of
·8· · · ·Deposition, it would be in that document?
·9· ·A.· It would be --
10· · · · · · · · · · · MR. MALLAMAD:· Objection.
11· · · · · · · · · · · THE WITNESS:· Go ahead.
12· · · · · · · · · · · MR. MALLAMAD:· To the extent that
13· · · · · · · these documents may reflect that, the City
14· · · · · · · is not attesting that these are a complete
15· · · · · · · set of general police orders in effect in a
16· · · · · · · period of time.· These are what had been
17· · · · · · · able to be located.
18· · · · · · · · · · · MS. WANG:· Shawn, you're not
19· · · · · · · testifying --
20· · · · · · · · · · · MR. MALLAMAD:· Well, let me get my
21· · · · · · · objection on the record and then the Chief
22· · · · · · · can answer.
23· · · · · · · · · · · MS. WANG:· What is the objection?
24· · · · · · · There's no speaking objections.· You're
25· · · · · · · giving a speaking objection.


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·1· · · · · · · · · · · MR. MALLAMAD:· Okay.· I think that
·2· · · · · · · the court reporter got it all down, so,
·3· · · · · · · Chief, you can testify.
·4· · · ·BY MS. WANG:
·5· ·Q.· And just so the record is clear, my question is:
·6· · · ·If there were a general police order that existed
·7· · · ·from 1971 through 19 -- or I'm sorry, strike
·8· · · ·that.
·9· · · · · ·If there were a general police order that
10· · · ·existed in that book of general police -- sorry,
11· · · ·strike that.
12· · · · · ·If there were a general police order relating
13· · · ·to topic 1A in the deposition notice, it would be
14· · · ·reflected in that document CLE 160 through 976;
15· · · ·is that correct?
16· · · · · · · · · · · MR. MALLAMAD:· And I assert the
17· · · · · · · same objection.
18· · · · · · · · · · · MR. FUNK:· Objection.
19· · · · · · · · · · · MR. MALLAMAD:· You can answer,
20· · · · · · · Chief.
21· ·A.· Yes.
22· ·Q.· If there were a general police order relating to
23· · · ·topic 1B of the deposition notice, which is
24· · · ·conducting and documenting photo or in-person
25· · · ·lineups or showups, it would be contained in


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·1· · · ·Deposition Exhibit 6, which is CLE 160 through
·2· · · ·976?
·3· · · · · · · · · · · MR. MALLAMAD:· Same objection.
·4· ·A.· Yes, it would be in the documents provided.
·5· ·Q.· If there were a general police order relating to
·6· · · ·topic 1C of the deposition notice, which is use
·7· · · ·of informants or witnesses during a criminal
·8· · · ·investigation including disclosure of such
·9· · · ·witnesses and payments, gifts, promises or
10· · · ·threats made to such witnesses, it would be
11· · · ·contained in Deposition Exhibit 6?
12· · · · · · · · · · · MR. MALLAMAD:· Same objection.
13· ·A.· Yes, it would.
14· ·Q.· If there were a general police order relating to
15· · · ·topic 1D of the deposition notice, which is
16· · · ·disclosure of exculpatory evidence including but
17· · · ·not limited to impeachment material, to criminal
18· · · ·defendants, defense attorneys or prosectors, it
19· · · ·would be contained in CLE 160 through 976, which
20· · · ·is Deposition Exhibit 6?
21· · · · · · · · · · · MR. MALLAMAD:· Same objection.
22· ·A.· Yes, it would.
23· ·Q.· If there were a general police order relating to
24· · · ·the documenting and conducting of interrogations
25· · · ·or interviews of suspects and witnesses,


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·1· · · ·including juveniles, it would be contained in the
·2· · · ·general police orders Bates Stamped CLE 160
·3· · · ·through 976?
·4· · · · · · · · · · · MR. MALLAMAD:· Same objection.
·5· ·A.· Yes, it would.
·6· ·Q.· If there were a general police order relating to
·7· · · ·topic 1F of the deposition notice, which is
·8· · · ·writing, observing and destroying police reports,
·9· · · ·investigator/detective notes, memos and
10· · · ·exculpatory evidence during the course of an
11· · · ·investigation, it would be contained in
12· · · ·Deposition Exhibit 6, which is CLE 160 through
13· · · ·976?
14· · · · · · · · · · · MR. MALLAMAD:· Same objection.
15· ·A.· Yes.
16· ·Q.· If there were a general police order relating to
17· · · ·the topic 1G of the deposition notice, which is
18· · · ·discipline, training and supervision of
19· · · ·detectives, it would be contained in Deposition
20· · · ·Exhibit 6, which is Bates Stamped CLE 160 through
21· · · ·976?
22· · · · · · · · · · · MR. MALLAMAD:· Same objection.
23· ·A.· Yes.
24· ·Q.· Okay.· Thank you.
25· · · · · · · · · · · MS. WANG:· Let's take a quick


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·1· · · · · · · break.
·2· · · · · · · · · · · · · ·-· -· -               -
·3· · · · · · · · ·(Thereupon, a recess was had.)
·4· · · · · · · · · · · · · ·-· -· -               -
·5· · · ·BY MS. WANG:
·6· ·Q.· All right.· So now, Deputy Chief Tomba, we've
·7· · · ·reviewed the Manual of Rules, both versions, that
·8· · · ·we got in this case as well as two different
·9· · · ·versions of the general police orders.
10· · · · · ·So, having reviewed those documents and --
11· · · ·well, strike that.
12· · · · · ·So, I just want to go through a couple of
13· · · ·these topics in the notice and ask you about any
14· · · ·unwritten policies or procedures relating to the
15· · · ·topics, all right?
16· ·A.· Okay.
17· ·Q.· We talked about the written and I just want to
18· · · ·talk about if there's any unwritten.
19· · · · · ·So, for topic 1A for the deposition and
20· · · ·that's documenting or memorializing the
21· · · ·developments in an investigation in such a way
22· · · ·that it would become part of an official file
23· · · ·during the course of an investigation.
24· · · · · ·Was there any unwritten -- were there any
25· · · ·unwritten policies or practices in place during


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·1· · · ·the relevant time period relating to that topic?
·2· ·A.· During that time period, I don't know if there
·3· · · ·were.
·4· ·Q.· In the relevant time period, were there any
·5· · · ·unwritten policies, procedures or practices
·6· · · ·relating to topic 1B?
·7· ·A.· You know, during that time period I don't know.
·8· · · ·I can speak on how we did things -- how we did
·9· · · ·things in the 1980s up until now, but during that
10· · · ·time frame, no.
11· ·Q.· Okay.· During the relevant time period of 1970
12· · · ·through 1980, were there any unwritten policies,
13· · · ·procedures or practices relating to topic 1C?
14· ·A.· No, not that I'm aware of.
15· ·Q.· During the time period of 1970 to 1980, were
16· · · ·there any unwritten policies, practices or
17· · · ·procedures relating to topic 1D?
18· ·A.· No, not that I'm aware of.
19· ·Q.· During the relevant time period of 1970 to 1980,
20· · · ·were there any unwritten policies, procedures or
21· · · ·practices relating to topic 1E?
22· ·A.· No, not that I'm aware of.
23· ·Q.· During the time period of 1970 to 1980, were
24· · · ·there any unwritten policies, procedures or
25· · · ·practices relating to topic 1F?


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·1· ·A.· No, not that I'm aware of.
·2· ·Q.· During the time period of 1970 to 1980, were
·3· · · ·there any unwritten policies, procedures or
·4· · · ·practices relating to 1G?
·5· ·A.· Not that I'm aware of, no.
·6· ·Q.· Okay.· Now, who was responsible for the
·7· · · ·maintenance and preservation of general police
·8· · · ·orders in the 1970s?
·9· ·A.· Who was -- I'd have to -- the chief of police.
10· ·Q.· Okay.· And what is your understanding of what the
11· · · ·retention policies were for general police orders
12· · · ·in the 1970s?
13· ·A.· The only time a general police order would not be
14· · · ·retained is when it was not in effect.· So, if
15· · · ·the general police order was amended, that old
16· · · ·general police order would no longer be in
17· · · ·effect.
18· · · · · ·Now, if your question is how long do we
19· · · ·maintain those older ones?· I don't have an
20· · · ·answer for you.· But if it's not in effect, then
21· · · ·it's not a relevant document.· I don't believe it
22· · · ·was retained.
23· ·Q.· So, it appeared -- you know, from reviewing the
24· · · ·general police orders that were produced in this
25· · · ·case, there would be general police orders that


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·1· · · ·would be issued that were amendments to prior
·2· · · ·orders.· Is that fair to say?
·3· ·A.· Yes, it is fair to say.
·4· ·Q.· Is that still how it's done today?
·5· ·A.· Yes.
·6· ·Q.· So, older police orders would still be in effect
·7· · · ·until it was rescinded or amended in some way?
·8· ·A.· Correct.
·9· ·Q.· And then -- so, when a new officer joins the
10· · · ·force, would they just be given a copy of all the
11· · · ·current general police orders that are in effect
12· · · ·as of that date?
13· ·A.· Yes.
14· ·Q.· And then as new ones are added or old ones are
15· · · ·rescinded, they would get inserts that they would
16· · · ·put into their books?
17· ·A.· Yes.
18· ·Q.· Okay.· And that's still how it works today?
19· ·A.· Yes.· The filing system is a little different,
20· · · ·but general police orders are classified in broad
21· · · ·categories.· Administration, investigation,
22· · · ·traffic, communications.· That's the way they're
23· · · ·classified today.· So, General Police Order 4.011
24· · · ·is always going to be how we investigate use of
25· · · ·force.· If that's changed, it will just be sent


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·1· · · ·out, this has now been changed -- the Section G1
·2· · · ·is now changed.· Review it.· But that number
·3· · · ·stays the same.· A little bit different in the
·4· · · ·'70s.
·5· ·Q.· The numbering system?
·6· ·A.· The numbering system, that's all.
·7· ·Q.· And there was the one general police order we
·8· · · ·talked about, which is No. 19-73 relating to the
·9· · · ·obligation to disclose evidence to the
10· · · ·prosecutor, correct?
11· ·A.· Yes.
12· ·Q.· That's the one that contained the prosecutor's
13· · · ·letter?
14· ·A.· Yes.
15· ·Q.· So, that topic area, the topic area of disclosure
16· · · ·of evidence to prosecutors and defense counsel,
17· · · ·is the kind of topic area that would be discussed
18· · · ·in a general police order?
19· ·A.· Yes, it is.
20· ·Q.· And so if there were other general police orders
21· · · ·relating to the topic of disclosure of evidence
22· · · ·to criminal defense counsel or to prosecutors, it
23· · · ·would be in a general police order?
24· ·A.· Yes, it would.
25· · · · · · · · · · · MS. WANG:· Let's have this marked


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·1· · · · · · · as 7.
·2· · · · · · · · · · · · · ·-· -· -               -
·3· · · · · ·(Thereupon, Plaintiff's Exhibit 7 was marked
·4· · · · · ·for purposes of identification.)
·5· · · · · · · · · · · · · ·-· -· -               -
·6· ·Q.· So, I have handed you what has been marked as
·7· · · ·Deposition Exhibit 7.
·8· · · · · ·So, Deposition Exhibit 7 is the City of
·9· · · ·Cleveland's answer to Plaintiff's first amended
10· · · ·-- amended first set of interrogatories to
11· · · ·Defendant City of Cleveland.
12· · · · · ·Could you take a look at that and let me know
13· · · ·if you've seen that before.
14· ·A.· I have seen this document before.
15· · · · · · · · · · · MS. WANG:· Let's have this marked
16· · · · · · · as Exhibit 8.
17· · · · · · · · · · · · · ·-· -· -               -
18· · · · · ·(Thereupon, Plaintiff's Exhibit 8 was marked
19· · · · · ·for purposes of identification.)
20· · · · · · · · · · · · · ·-· -· -               -
21· ·Q.· All right.· So, Deposition Exhibit 8 is a
22· · · ·verification.· And it is -- is that your
23· · · ·signature there?
24· ·A.· That is, yes.
25· ·Q.· Okay.· And so you have verified on this form that


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·1· · · ·you have answered the interrogatories and given
·2· · · ·supplemental answers to the interrogatories under
·3· · · ·oath?
·4· ·A.· Yes, I have.
·5· ·Q.· Okay.· Now, let's take a look at Deposition
·6· · · ·Exhibit 7, No. 8.
·7· ·A.· Okay.
·8· ·Q.· All right.· So, Interrogatory No. 8 states,
·9· · · ·please state whether any of the individual
10· · · ·defendants or any other defendant city employee
11· · · ·involved in the Harold Franks' homicide
12· · · ·investigation acted inconsistently with any of
13· · · ·the policies, customs or practices of the City of
14· · · ·Cleveland at any time during the events described
15· · · ·in Plaintiff's Complaint.
16· · · · · ·Now, you read Plaintiff's Complaint, correct?
17· ·A.· Yes.
18· ·Q.· So, what is -- what is the city's position with
19· · · ·respect to whether any of the individual
20· · · ·defendants involved in the homicide investigation
21· · · ·acted inconsistently with any of the policies or
22· · · ·practices with the City of Cleveland?
23· · · · · · · · · · · MR. FUNK:· Objection.
24· · · · · · · · · · · MR. MALLAMAD:· Objection.· To the
25· · · · · · · extent that Chief Tomba can answer beyond


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·1· · · · · · · what's already in the answer to
·2· · · · · · · interrogatory, in light of the objection
·3· · · · · · · that's also contained in there, you may
·4· · · · · · · respond, Chief.
·5· ·A.· My response is there was no inconsistency within
·6· · · ·the policy and the Manual of Rules.· And I cannot
·7· · · ·make a determination about customs or practices
·8· · · ·during that time frame.
·9· ·Q.· Okay.· The officers, the defendant officers in
10· · · ·the case, acted consistently with the policies as
11· · · ·reflected in the manual of rules in the general
12· · · ·police orders?
13· · · · · · · · · · · MR. MALLAMAD:· Objection.
14· · · · · · · · · · · MR. FUNK:· Objection.
15· ·A.· As far as I was concerned, yes, that they
16· · · ·followed the Manual of Rules and the general
17· · · ·police orders, yes.
18· ·Q.· With respect to Interrogatory No. 10, which is on
19· · · ·page 7, it states for any document requested in
20· · · ·Plaintiff's discovery requests that have been
21· · · ·lost, discarded or destroyed, please identify
22· · · ·each such document as completely as possible and
23· · · ·state the approximate date it was lost, discarded
24· · · ·or destroyed.
25· · · · · ·The answer that was given here says documents


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·1· · · ·may have been destroyed in accordance with the
·2· · · ·city's record retention policy.
·3· · · · · ·Are you aware specifically of any documents
·4· · · ·that have been destroyed in this case relating to
·5· · · ·any policies or procedures of the city?
·6· ·A.· No, I am not.
·7· ·Q.· Okay.· Interrogatory No. 12 states, do you
·8· · · ·contend that the City of Cleveland had in place
·9· · · ·between 1950 and 1980 a written policy or
10· · · ·procedure that -- and then it lists a bunch of
11· · · ·topic areas.· Just take a moment to read through
12· · · ·those subsections and then I'll ask you some
13· · · ·questions about it.
14· ·A.· Okay.· I'm done.· Go ahead.
15· ·Q.· All right.· So, we've spent a lot of time already
16· · · ·today talking about the policies and procedures
17· · · ·relating to topics 12A through E, correct?
18· ·A.· Yes, we have.
19· ·Q.· Are there any other policies, written policies or
20· · · ·procedures, that the City of Cleveland had
21· · · ·relating to any of these topics, which you're
22· · · ·aware of, other than what we've discussed today?
23· ·A.· Other than what we've discussed and what's been
24· · · ·provided, no.
25· · · · · · · · · · · MS. WANG:· Let's mark this as


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·1· · · · · · · Exhibit 9.
·2· · · · · · · · · · · · · ·-· -· -               -
·3· · · · · ·(Thereupon, Plaintiff's Exhibit 9 was marked
·4· · · · · ·for purposes of identification.)
·5· · · · · · · · · · · · · ·-· -· -               -
·6· ·Q.· Deposition Exhibit 9 is your -- the City of
·7· · · ·Cleveland's supplemental answers to Plaintiff's
·8· · · ·First Set of Interrogatories.· Just take a moment
·9· · · ·to look at that and let me know if you've seen
10· · · ·that before?
11· ·A.· Yes.· I have seen this document before.
12· ·Q.· Okay.· And this one is also verified under oath
13· · · ·under the verification that you signed, correct?
14· ·A.· Yes, it is.
15· ·Q.· Okay.· If you turn to page 3, Interrogatory No.
16· · · ·12, Interrogatory No. 12 says -- now, this
17· · · ·relates to the one that we were just discussing
18· · · ·on the other exhibit --
19· ·A.· Yes.
20· ·Q.· -- the policies and procedures that we talked
21· · · ·about today.
22· · · · · ·So, the City of Cleveland has supplemented
23· · · ·its answer by saying, upon information and belief
24· · · ·Defendant, City of Cleveland, states that there
25· · · ·were written policies and procedures between 1950


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·1· · · ·and 1980 regarding all the subject areas
·2· · · ·referenced in Interrogatory No. 12.
·3· · · · · ·Upon a diligent search of its records from
·4· · · ·the relevant time period, the City of Cleveland
·5· · · ·has located some of the general police orders,
·6· · · ·written training manuals and other written
·7· · · ·procedures from the relevant period of time and
·8· · · ·has produced such documents to the Plaintiff.
·9· · · · · ·Upon information and belief, the documents
10· · · ·produced are all not the written policies,
11· · · ·procedures and training manuals that were in
12· · · ·existence at this time.
13· · · · · ·Are there any written policies or procedures
14· · · ·relating to any of the topics in 12A through E
15· · · ·other than what we've discussed today?
16· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
17· · · · · · · answer.
18· · · · · · · · · · · MR. FUNK:· Objection.· Asked and
19· · · · · · · answered.
20· ·A.· The answer is that I don't know, but I know the
21· · · ·efforts that were made to locate all these
22· · · ·documents were Herculian efforts by a couple of
23· · · ·retired policemen.· So, is there a possibility
24· · · ·that other information does exist, that
25· · · ·possibility is there, but exactly where it's at,


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·1· · · ·I don't have any knowledge of it.· And like I
·2· · · ·said, I believe that the men that worked on this
·3· · · ·did everything they could to locate it.
·4· ·Q.· And so on what basis have you said under oath
·5· · · ·that upon information and belief the documents
·6· · · ·produced are not all the written policies,
·7· · · ·procedures and training materials that were in
·8· · · ·existence at the time?
·9· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
10· · · · · · · answer.
11· ·A.· I'm sorry.· Upon --
12· ·Q.· So, you're -- what you're aware of --
13· ·A.· Right.
14· ·Q.· -- is the efforts that certain officers with CPD
15· · · ·made --
16· ·A.· Yes.
17· ·Q.· -- to locate documents, right?
18· ·A.· Correct.
19· ·Q.· And you don't know what documents may have
20· · · ·existed other than the ones that have been
21· · · ·produced, if any?
22· ·A.· That's correct.
23· ·Q.· You don't know if there are other general police
24· · · ·orders or versions of the Manual of Rules that
25· · · ·did exist that you haven't found?


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·1· ·A.· That's correct.
·2· ·Q.· Okay.· You understand that you signed the answers
·3· · · ·to these interrogatories under oath on behalf of
·4· · · ·the City of Cleveland?
·5· ·A.· Yes.· Yes.
·6· ·Q.· In your supplemental interrogatory answer No. 12,
·7· · · ·it states that at the end, upon information and
·8· · · ·belief, the documents produced are not all the
·9· · · ·written policies, procedures and training manuals
10· · · ·that were in existence at this time.
11· · · · · ·Upon what information or belief did you write
12· · · ·that sentence?
13· ·A.· I would say it's not information.· It's being a
14· · · ·police officer for 31 years, knowing how police
15· · · ·departments operate.· Knowing how our police
16· · · ·department operates with the volume of records
17· · · ·that we produce daily, yearly, that I'm confident
18· · · ·that they -- their search was exhaustive.· But
19· · · ·are there other documents?· There is a
20· · · ·possibility.
21· · · · · ·So, I'm not saying it is a definite, I'm not
22· · · ·giving you that.· In fact, I said, there is a
23· · · ·belief that there could be something else out
24· · · ·there.
25· · · · · ·That I have knowledge of?· No, absolutely


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·1· · · ·not.· I do not have knowledge that there's
·2· · · ·something that's out there that's being withheld
·3· · · ·at all, but I do know how police departments run
·4· · · ·and how the Cleveland Police Department runs.
·5· ·Q.· Okay.· And so you don't know, one way or the
·6· · · ·other, what any missing policies or procedures
·7· · · ·might have said?
·8· ·A.· No, I don't.· I do not.
·9· ·Q.· Or even if there are any?
10· ·A.· Correct, I do not know.
11· ·Q.· And the chief of police would have been
12· · · ·responsible for maintaining or preserving any
13· · · ·policies and procedures; is that true?
14· ·A.· Yes.
15· ·Q.· Okay.· No. 13, Interrogatory No. 13 in Deposition
16· · · ·Exhibit 7, it states do you contend that the City
17· · · ·of Cleveland had in place between 1950 and 1980
18· · · ·any training for its police officers, formal or
19· · · ·informal, relating to any of the subject areas
20· · · ·identified in Interrogatory No. 12A through E
21· · · ·above?
22· · · · · ·So, we talked a little bit about training
23· · · ·that existed in the 1960s and '70s.· And talked
24· · · ·about the police academy.· You mentioned the
25· · · ·police officer -- peace officer's training


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·1· · · ·council, and you mentioned on-the-job training
·2· · · ·from supervisors.
·3· · · · · · · · · · · MR. MALLAMAD:· Wait for the
·4· · · · · · · question.
·5· ·Q.· Okay.· Is there any other training that existed
·6· · · ·for police officers in the 1960s and '70s?
·7· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
·8· · · · · · · answer.
·9· ·A.· In reviewing the documents that were provided, I
10· · · ·do recall seeing some training certificates for
11· · · ·some officers limited to that.· Other than that,
12· · · ·I do not know.
13· ·Q.· Okay.· So there would have been training, as
14· · · ·reflected in whatever training certificates the
15· · · ·officers had, right?
16· ·A.· It is documented that were the -- some of the
17· · · ·documents that were provided.
18· ·Q.· Okay.· Are you aware of there being any training
19· · · ·of detectives in the Cleveland Police Department
20· · · ·on how to document or memorialize the various
21· · · ·developments in an investigation in such a way
22· · · ·that it would become part of the official file?
23· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
24· · · · · · · and answered.· You can answer.
25· ·A.· I believe that those policies and that training


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·1· · · ·was outlined in the document from the Ohio Police
·2· · · ·Officers Training Academy, and some of it we
·3· · · ·discussed that were in the Manual of Rules and
·4· · · ·Regulations.
·5· ·Q.· Is there any training that the Cleveland Police
·6· · · ·Department provided to detectives that required
·7· · · ·them to place any witness statements in the
·8· · · ·official file or otherwise make them available to
·9· · · ·criminal defendants, defense counsels, and
10· · · ·prosecutors?
11· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
12· · · · · · · and answered.· You can answer, Chief.
13· ·A.· As far as training, I would have to say no.· But
14· · · ·still going back to what I said earlier, being
15· · · ·guided by the law and the general police orders.
16· ·Q.· Was there any training that the City of Cleveland
17· · · ·provided between 1950 and 1980 to its detectives
18· · · ·regarding documenting or memorializing photo or
19· · · ·in-person lineups or otherwise governing the
20· · · ·conduct of detectives during photo or in-person
21· · · ·lineups?
22· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
23· · · · · · · and answered.· You can answer, Chief.
24· ·A.· Specifically training, once again, my answer
25· · · ·would be the same, no.· But under the law and


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·1· · · ·under the general police orders, we were expected
·2· · · ·to follow those.
·3· ·Q.· Was there any training that the City of Cleveland
·4· · · ·had in place between 1950 and 1980 for
·5· · · ·detectives, requiring them to disclose
·6· · · ·exculpatory evidence?
·7· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
·8· · · · · · · and answered.· You can answer, Chief.
·9· ·A.· No.· No specific training.· Just once again,
10· · · ·following the law and the general police orders.
11· ·Q.· Was there any training that the City of Cleveland
12· · · ·had in place between 1950 and 1980 relating to
13· · · ·requiring detectives of the Cleveland Police
14· · · ·Department to document or memorialize
15· · · ·interrogations or interviews of suspects and
16· · · ·witnesses including that police officers retain
17· · · ·notes of interviews?
18· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
19· · · · · · · and answered.· You can answer, Chief.
20· ·A.· No.· No specific training as to that.· Just the
21· · · ·rules of the department.
22· ·Q.· Okay.· So the -- let's take a look at
23· · · ·Interrogatory No. 14 in Deposition Exhibit 7 --
24· · · ·actually strike that, let's go to something
25· · · ·else.· · · · · · · · · -· -· -                -


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·1· · · · · ·(Thereupon, Plaintiff's Exhibit 10 was marked
·2· · · · · ·for purposes of identification.)
·3· · · · · · · · · · · · · ·-· -· -               -
·4· ·Q.· All right.· Take a look at Deposition Exhibit 10
·5· · · ·and let me know if you've seen that before.
·6· ·A.· Yes, I've seen this document before.
·7· ·Q.· Okay.· Now, that is a document Bates Stamped CLE
·8· · · ·2589 through 2886, titled Source Document for
·9· · · ·Police Training.
10· · · · · ·Is that one of the documents that you
11· · · ·reviewed for your deposition?
12· ·A.· Yes, it was.
13· ·Q.· And do you know when this was published?
14· ·A.· No, I don't unless there's a -- no, I don't.
15· ·Q.· Do you know if this is distributed to officers or
16· · · ·detectives through the department?
17· ·A.· No, I don't.
18· ·Q.· Do you know how this document was obtained?
19· ·A.· It was obtained on the -- through a request from
20· · · ·the law department.· And I believe it was
21· · · ·obtained by the two investigators from the law
22· · · ·department.
23· ·Q.· Okay.· So, do you know whether or not this
24· · · ·document was given to two detectives or officers
25· · · ·in the 1970s as a part of their training?


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·1· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
·2· · · · · · · answer.
·3· ·A.· No, I don't.· This particular document, no, I do
·4· · · ·not know if this was provided.
·5· ·Q.· Okay.· So, do you know why this document was
·6· · · ·produced in discovery in this case?
·7· ·A.· I do not know why it was produced.· I would
·8· · · ·imagine it was produced at the request of
·9· · · ·somebody, whoever.
10· ·Q.· But you have no information that this was
11· · · ·actually given to officers as a part of their
12· · · ·training in the 1970s?
13· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
14· · · · · · · answer.
15· ·A.· No, I have no facts that this was provided to
16· · · ·officers in the 1970s.
17· ·Q.· Okay.· What does the peace officers training
18· · · ·council do?
19· ·A.· The Ohio Peace Officers Training Council is a
20· · · ·group that is -- they set standards for police
21· · · ·officers' training throughout the state under the
22· · · ·guidance and the direction of the Ohio Attorney
23· · · ·General.
24· · · · · ·Currently our officers have to be OPOTA, Ohio
25· · · ·Peace Officers Training, it's an association now.


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·1· · · ·They have to be OPOTA certified.· They provide
·2· · · ·certification for law enforcement officers
·3· · · ·across the state.· And they set standards for law
·4· · · ·enforcement.
·5· ·Q.· Did that exist in the 1970s?
·6· ·A.· Yes, it did.
·7· ·Q.· Okay.· And what was the peace officers training
·8· · · ·council's role with respect to training Cleveland
·9· · · ·police officers in the 1960s and '70s, if any?
10· ·A.· I don't know if they had any role in the actual
11· · · ·training of Cleveland police officers.· I believe
12· · · ·they set forth a source document, a best
13· · · ·practice, what they felt was the best way to
14· · · ·conduct law enforcement at that time throughout
15· · · ·the state.
16· · · · · · · · · · · · · ·-· -· -               -
17· · · · · ·(Thereupon, Plaintiff's Exhibit 11 was marked
18· · · · · ·for purposes of identification.)
19· · · · · · · · · · · · · ·-· -· -               -
20· ·Q.· I'll give the Bates numbers for the record.
21· · · ·Deposition Exhibit 11 is CLE 3640, 3641, 3337,
22· · · ·3342, 3949, 3945 -- sorry --
23· ·A.· 36.
24· ·Q.· 3545, 3546, 3416, 3417, 3429, 3957, 3960, 3965
25· · · ·and 3967.


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·1· ·A.· Yes.
·2· ·Q.· So, these are some training certificates that
·3· · · ·were in the personnel files of the defendant
·4· · · ·officers in this case that were produced to us in
·5· · · ·discovery.· Could you just take a look through it
·6· · · ·and let me know if you've seen this before.
·7· ·A.· Yes, I have seen these before.
·8· ·Q.· Okay.· Let's start at the beginning.· The first
·9· · · ·page, 3640 is the certificate from the State of
10· · · ·Ohio to Peter Comodeca from the Peace Officer
11· · · ·Training council.· And it's dated 9/13/74.· It
12· · · ·says this is to certify that Peter Comodeca is an
13· · · ·instructor in the criminal code training program.
14· · · · · ·Do you know what this certificate was for
15· · · ·exactly?
16· ·A.· Just what it says is that Officer Comodeca was
17· · · ·certified to be an instructor in criminal code
18· · · ·training, which is not unusual.· We still do that
19· · · ·today.· We still have our officers that are
20· · · ·certified by OPOTA to train our officers.· Today
21· · · ·it's called Train the Trainer.· You train a group
22· · · ·of officers, they become the internal trainers to
23· · · ·train their members of the division.
24· ·Q.· Do you know what was taught in the criminal code
25· · · ·training program?


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·1· ·A.· No, I don't.
·2· ·Q.· Did you see documents that were produced in this
·3· · · ·case that related to a criminal code training
·4· · · ·program?
·5· ·A.· I don't -- I don't recall if I did.
·6· ·Q.· Okay.· The second page is another certificate
·7· · · ·relating to Peter Comodeca from the Ohio Peace
·8· · · ·Officer Training council and it says this is to
·9· · · ·certify that Peter Comodeca completed the Ohio
10· · · ·Peace Officer criminal code training program.
11· · · ·Awarded September 1st, 1974.
12· · · · · ·So, do you know what this certificate was
13· · · ·for?
14· ·A.· This certificate looks like a certificate of
15· · · ·completion of a certain amount of hours of a
16· · · ·course regarding the criminal code that was given
17· · · ·by the Ohio Peace Officer Training council.
18· ·Q.· And do you know what the substance of the
19· · · ·criminal code training program was?
20· ·A.· No, I don't.
21· ·Q.· Okay.· So it appears that he received his
22· · · ·certificate to be an instructor in the program 12
23· · · ·days after he received training in the program
24· · · ·itself.· Is that accurate?
25· ·A.· Yes.


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·1· ·Q.· The next page is a certificate, the same kind of
·2· · · ·certificate, but to Frank Stoiker, for completing
·3· · · ·the Ohio Peace Officer criminal code training
·4· · · ·program dated September 1st, 1974.
·5· · · · · ·And what's your understanding of what this
·6· · · ·certificate was for?
·7· ·A.· My understanding is the same, that Officer
·8· · · ·Stoiker attended a training session and completed
·9· · · ·it successfully and was provided this certificate
10· · · ·as proof.
11· ·Q.· Okay.· So, if there were documents that were
12· · · ·produced in this case relating to the criminal
13· · · ·code training program, would it be fair to say
14· · · ·that your knowledge of what was taught in that
15· · · ·training program is reflected in the documents?
16· ·A.· Yes.· My knowledge is -- I really don't have
17· · · ·exact knowledge.· I can only assume that it was
18· · · ·the criminal code at that time that they trained
19· · · ·them on.
20· ·Q.· On what kinds of things were offenses and so on?
21· ·A.· Correct.
22· ·Q.· Okay.· The next page is CLE 3343.· This appears
23· · · ·to be a student registration form signed by Frank
24· · · ·Stoiker --
25· ·A.· 3342?


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·1· ·Q.· I'm sorry -- what did I say?· 3342.
·2· ·A.· Okay.· Yes, that's correct.
·3· ·Q.· All right.· So this was a signup form it looks
·4· · · ·like for criminal code training.· Is that fair to
·5· · · ·say?
·6· ·A.· Yes, it is.· It's a student registration form.
·7· ·Q.· Now, at the bottom it says, there's a signature
·8· · · ·for the training officer of the police academy,
·9· · · ·Francis Reagan, Lieutenant.· Do you see that?
10· ·A.· Yes.
11· ·Q.· Actually I'm not sure it says Francis, but it
12· · · ·says F-r-a -- I'm not sure what it says, but the
13· · · ·last name is Reagan.· Are you familiar with a
14· · · ·lieutenant named Reagan?
15· ·A.· No.
16· ·Q.· Do you know who were the people who were training
17· · · ·officers in the police academy at the time?
18· ·A.· No, I don't.
19· ·Q.· Are there records of who the police officer
20· · · ·training officers were in the 1970s?
21· ·A.· I don't know if they -- if those exist.
22· ·Q.· The next page is CLE 4949 and it is also a
23· · · ·criminal code training program certificate.· This
24· · · ·one is to Eugene Terpay dated September 1st,
25· · · ·1974.


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·1· · · · · ·And so what's your understanding of what the
·2· · · ·certificate was for?
·3· ·A.· My understanding is the same criminal code
·4· · · ·training Officer Terpay participated in and was
·5· · · ·given this certificate upon completion.
·6· ·Q.· All right.· And then the next page is CLE 3545.
·7· · · ·It's also the same certificate, but to John
·8· · · ·Staimpel, dated September 1st, 1974.· Is this
·9· · · ·also for completing the criminal code training
10· · · ·program?
11· ·A.· Yes, it is.
12· ·Q.· Page 3546 is a student registration form for John
13· · · ·Staimpel.· We don't need to ask about that.
14· · · · · ·All right.· The next page is CLE 3516.· It's
15· · · ·also a criminal code training program certificate
16· · · ·to James Farmer, dated September 1st, 1974.
17· · · · · ·And is it your understanding that this
18· · · ·certificate was for completing the criminal code
19· · · ·training program?
20· ·A.· Yes, it is.
21· ·Q.· All right.· Turning -- skipping the next page and
22· · · ·turning to 3429.· It's an international homicide
23· · · ·seminar certificate to JT Farmer.· This states,
24· · · ·this certifies that JT Farmer has satisfactorily
25· · · ·completed a course in homicide investigation as


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·1· · · ·prescribed by the board of trustees of the
·2· · · ·Hocking Technical College, Nelsonville, Ohio.
·3· · · ·Total clock hours 40.· Dates March 18 through 23,
·4· · · ·1979.
·5· · · · · ·What is your understanding of what this
·6· · · ·certificate is for?
·7· ·A.· My understanding is that Officer Farmer attended
·8· · · ·a one-week course, 40 hours, and that he
·9· · · ·completed that course and was issued that
10· · · ·certificate of completion by Hocking Technical
11· · · ·College.
12· ·Q.· And he completed that in 1979?
13· ·A.· Yes, he did.
14· ·Q.· Do you know what the substance -- do you know
15· · · ·anything about the substance of what was taught
16· · · ·during that course?
17· ·A.· No, I don't.
18· ·Q.· Page CLE 3957 is a departmental information form
19· · · ·that's dated June 30th, 1980.· Take a look at
20· · · ·this form for a moment and then I will ask you a
21· · · ·question about it.
22· · · · · ·All right.· Ready?
23· · · · · ·So this one states at the top, during the
24· · · ·week of June 23 through 27, 1980, a training
25· · · ·seminar, first one, supervision was held at the


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·1· · · ·police academy, and then it basically states, you
·2· · · ·know, there were sergeants and certain other
·3· · · ·people who were in attendance and topics that
·4· · · ·they were taught on.· One of the sergeants in
·5· · · ·attendance was Jerold Englehart.· He had a score
·6· · · ·on a posttest of 83.
·7· · · · · ·Do you have any knowledge of what was taught
·8· · · ·during this training seminar?
·9· ·A.· Only what's listed on this.· This is a Form 1.
10· ·Q.· Okay.· This is a Form 1.
11· ·A.· This is a Form 1.· You can see it up on top, CFC
12· · · ·Form 71-1.· So this is an internal document from
13· · · ·Sergeant Mengle to her lieutenant.· And exactly
14· · · ·what was taught, just what she has documented,
15· · · ·leadership, interpersonal communications,
16· · · ·everything else on this document.
17· ·Q.· Is it fair to say that generally what was taught
18· · · ·involved the subject matter of supervision?
19· ·A.· Yes.
20· ·Q.· Do you have any other knowledge of what was
21· · · ·taught during this course?
22· ·A.· No, I do not.
23· ·Q.· On the next page, CLE 3960, it is also a Form 1.
24· · · ·It's dated March 31st, 1977.· And the subject is
25· · · ·numbers in attendance, juvenile handling seminar


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·1· · · ·conducted at the police academy on March 30th,
·2· · · ·1977.
·3· · · · · ·Then it says in the narrative part:· Sir, the
·4· · · ·following is a list of members in attendance at
·5· · · ·the police academy for the juvenile handling
·6· · · ·seminar conducted on Wednesday, March 30th, 1977,
·7· · · ·between 1230 and 1630 hours.· And Detective
·8· · · ·Englehart -- or I don't know if he was a
·9· · · ·detective then, but Englehart is listed there.
10· · · ·Do you see that?
11· ·A.· Yes, I do.· And he was a detective at the time.
12· ·Q.· Oh, he was.· Okay.
13· · · · · ·So this -- is it your understanding that this
14· · · ·document states that Detective Englehart attended
15· · · ·a juvenile handling seminar in 1977?
16· ·A.· Yes.
17· ·Q.· Do you know -- and this seminar lasted four
18· · · ·hours?
19· · · · · · · · · · · MR. MALLAMAD:· Objection.
20· ·A.· That's what the document states.
21· ·Q.· Do you have any understanding of what
22· · · ·specifically was taught during that seminar?
23· ·A.· Specific, no, I do not.
24· ·Q.· Page 3965 is a certificate issued to Jerold
25· · · ·Englehart for completion of the criminal code


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·1· · · ·training program on September 1st, 1974.· Do you
·2· · · ·see that?
·3· ·A.· Yes, I do.
·4· ·Q.· So, is it your understanding that this indicates
·5· · · ·that Detective Englehart finished that training
·6· · · ·program on that date?
·7· ·A.· Yes, it is.
·8· ·Q.· Okay.· Do you have any knowledge of what -- I'm
·9· · · ·sorry, strike that.
10· · · · · ·What is your understanding of what any of the
11· · · ·defendant officers or detectives in this case
12· · · ·were trained on other than what's reflected in
13· · · ·these documents that we just discussed, which is
14· · · ·Deposition Exhibit 11?
15· ·A.· I don't have any other documents or knowledge of
16· · · ·what they were trained on besides what's
17· · · ·reflected in these documents.
18· ·Q.· If any of the defendant detectives in this case
19· · · ·had received any additional training or
20· · · ·certificates of any kind from specific programs,
21· · · ·would you expect that to have been contained in
22· · · ·their personnel files?
23· ·A.· I would have expected that, yes.
24· ·Q.· Okay.· Let's talk about topic 6 in the deposition
25· · · ·notice.


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·1· · · · · ·So, 6A asks for testimony on any efforts by
·2· · · ·the City of Cleveland to identify, investigate,
·3· · · ·or present any of the following types of
·4· · · ·misconduct, and discipline imposed by the city as
·5· · · ·a result of such investigations.
·6· · · · · ·6A is, improper eyewitness identification
·7· · · ·procedures including misconduct related to live
·8· · · ·in-person lineups and photographic showups, or
·9· · · ·lack of documentation regarding the same.
10· · · · · ·What is your -- what efforts did the City of
11· · · ·Cleveland make to identify or prevent any of
12· · · ·these types of misconducts listed in topic 6A?
13· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
14· · · · · · · answer.
15· ·A.· The efforts at the time go back to following the
16· · · ·law and the general police orders.· If I
17· · · ·understand your question correctly.· If you're
18· · · ·asking for the efforts to locate these types of
19· · · ·things, like I said before, the efforts were by
20· · · ·the two retired police officers and numerous
21· · · ·members of the division of police.
22· ·Q.· And let me be clear, I'm not asking about
23· · · ·documentary evidence --
24· ·A.· Okay.
25· ·Q.· -- I'm asking about the topic -- topic in topic


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·1· · · ·six relates to what efforts the City of Cleveland
·2· · · ·made to identify, investigate or prevent any of
·3· · · ·those types of misconduct that are listed in A
·4· · · ·through D?
·5· · · · · · · · · · · MR. MALLAMAD:· Let me just object.
·6· · · · · · · What time period are you asking about?
·7· · · · · · · · · · · MS. WANG:· 1970 through 1980.
·8· ·A.· Okay.
·9· ·Q.· So, during that time period, what efforts --
10· · · ·let's break this down.· What efforts did the City
11· · · ·of Cleveland make to identify any misconduct
12· · · ·relating to improper eyewitness identification
13· · · ·procedures?
14· ·A.· Okay.· I don't think effort was made to identify
15· · · ·misconduct, but by those training records and our
16· · · ·general police orders I think there was guidance
17· · · ·provided to avoid misconduct.· And as far as
18· · · ·discipline, I don't see any discipline in any of
19· · · ·these records where anyone was disciplined for
20· · · ·not following any of these orders that were --
21· · · ·orders or laws.
22· ·Q.· Were there any general police orders relating to
23· · · ·eyewitness identification procedures at all in
24· · · ·all of the documents that we looked at today?
25· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can


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·1· · · · · · · answer.
·2· ·A.· I don't believe there was, no.
·3· ·Q.· Okay.· Were there any efforts made by the City of
·4· · · ·Cleveland to investigate any misconduct relating
·5· · · ·to improper eyewitness identification procedures?
·6· · · · · · · · · · · MR. MALLAMAD:· Again, same
·7· · · · · · · objection.· You're referring to the 1970s?
·8· · · · · · · · · · · MS. WANG:· Yes, that's what the
·9· · · · · · · notice says.· May 19 -- in the front
10· · · · · · · page --
11· · · · · · · · · · · MR. MALLAMAD:· Just so we're
12· · · · · · · clear.· There's other subjects mentioned in
13· · · · · · · those dates, so I wanted to be -- just
14· · · · · · · wanted to have the deputy chief clear that
15· · · · · · · you're asking about between 1970 and 1980
16· · · · · · · is what she's referring to.
17· · · · · · · · · · · THE WITNESS:· Yes, I'm clear and
18· · · · · · · the answer is no.
19· ·Q.· Okay.· Were there any efforts by the City of
20· · · ·Cleveland to prevent misconduct relating to
21· · · ·eyewitness identification procedures in the time
22· · · ·period of 1970 to 1980?
23· · · · · · · · · · · MR. MALLAMAD:· Objection.· Go
24· · · · · · · ahead.
25· ·A.· I would to have say, no, not to my knowledge


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·1· · · ·there wasn't.
·2· ·Q.· Were there any efforts by the City of Cleveland
·3· · · ·to identify, investigate or prevent misconduct
·4· · · ·relating to conduct of in-person lineups during
·5· · · ·the 1970s or '80s?
·6· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
·7· · · · · · · answer.
·8· ·A.· No, not that I'm aware.
·9· ·Q.· During the time period of 1970 to 1980, were
10· · · ·there any efforts by the City of Cleveland to
11· · · ·identify, investigate or prevent misconduct
12· · · ·relating to failure to place Brady evidence and
13· · · ·information in the official investigative file or
14· · · ·otherwise withholding material, exculpatory
15· · · ·evidence?
16· · · · · · · · · · · MR. MALLAMAD:· Objection.· You may
17· · · · · · · answer.
18· ·A.· I would say that there was in the general police
19· · · ·orders as a follow-up to the letter written by
20· · · ·John Corrigan.
21· ·Q.· Are you saying -- are you just referring to the
22· · · ·general police order?· The one that we talked
23· · · ·about before?
24· ·A.· Yes, that's correct.
25· ·Q.· I just want to be clear in your answer.· Are you


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·1· · · ·saying there was follow-up to that general police
·2· · · ·order?
·3· ·A.· No.
·4· ·Q.· Are you aware of any other efforts by the City of
·5· · · ·Cleveland to identify, investigate or prevent
·6· · · ·misconduct relating to withholding exculpatory
·7· · · ·evidence besides what's in the general police
·8· · · ·order?
·9· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
10· · · · · · · answer, Chief.
11· ·A.· No, I am not.
12· ·Q.· Are you aware of any efforts by the City of
13· · · ·Cleveland to identify, investigate or prevent
14· · · ·misconduct relating to failure to identify -- or
15· · · ·failure to document and preserve information
16· · · ·learned during a homicide investigation?
17· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
18· · · · · · · answer, Chief.
19· ·A.· No, not to my knowledge I'm not.
20· ·Q.· Are you aware of any efforts by the City of
21· · · ·Cleveland to identify, investigate or prevent
22· · · ·misconduct relating to improper interviews,
23· · · ·interrogations or interactions with juvenile
24· · · ·witnesses?
25· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can


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·1· · · · · · · answer.
·2· ·A.· No, not to my knowledge.
·3· ·Q.· Are you aware of any audits or other sort of
·4· · · ·internal reviews conducted of any of the general
·5· · · ·police orders in the 1970s or '80s to insure that
·6· · · ·they were, in fact, being followed by officers?
·7· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
·8· · · · · · · answer.
·9· ·A.· No, I'm not aware of any audits.
10· · · · · · · · · · · MR. FUNK:· Can we take a break?
11· · · · · · · · · · · MS. WANG:· Well, let's go off the
12· · · · · · · record.
13· · · · · · · · · · · · · ·-· -· -               -
14· · · · · · · · ·(Thereupon, a recess was had.)
15· · · · · · · · · · · · · ·-· -· -               -
16· · · ·BY MS. WANG:
17· ·Q.· Okay.
18· ·A.· Can I say something?
19· ·Q.· Yes.
20· ·A.· When I was providing my answers regarding
21· · · ·efforts, I was under the impression you were
22· · · ·looking for documents.· So, what I would like to
23· · · ·add, if it's okay, is that the efforts that were
24· · · ·made were in the form of, you know, supervision.
25· · · ·We had complaints that were investigated, and I


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·1· · · ·think some of those are documented in the
·2· · · ·responsive documents that I reviewed.
·3· · · · · ·So, as far as efforts to identify,
·4· · · ·investigate or present, any of the following
·5· · · ·types of misconduct, discipline imposed by the
·6· · · ·city, I didn't have documentation, but I can tell
·7· · · ·you the efforts were internally supervision of
·8· · · ·the supervisors.
·9· · · · · ·And then secondly is, like I said I believe I
10· · · ·did see a document in there where a complaint was
11· · · ·lodged in writing and that was investigated.
12· · · · · ·So, if that's a little different from the
13· · · ·one-word answer that I gave you, I'd have to say
14· · · ·that those were some of the efforts that were
15· · · ·made, but as far as having actual documentation
16· · · ·of that, we do not.
17· ·Q.· So, in what way do supervisors make efforts to
18· · · ·investigate or prevent improper eyewitness
19· · · ·identification procedures?
20· ·A.· Well, and the way we do it today is still in
21· · · ·place is they are responsible for those under
22· · · ·their command for review of reports, for review
23· · · ·of an oversight of anything that they're doing.
24· · · ·If they were conducting an interview, they would
25· · · ·view that from a separate room, they would view


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·1· · · ·that interview.· If they were conducting a
·2· · · ·lineup, a supervisor would have to be there.
·3· · · ·That's part of our -- that would be part of their
·4· · · ·internal policy.
·5· · · · · ·So, I think the first-line supervision are
·6· · · ·the ones that are really charged with the
·7· · · ·integrity and performance of the officers that
·8· · · ·they supervise.
·9· ·Q.· So, can you think of anything specifically that
10· · · ·any supervisors did in the 1970s -- strike that.
11· · · · · ·I understand your answer to be directed to
12· · · ·what happens today.· Is that what you're saying?
13· ·A.· And from the time I was on the police department,
14· · · ·yes.
15· ·Q.· Okay.· So, in the 1970s, what efforts did
16· · · ·supervisors make to identify, investigate or
17· · · ·prevent improper eyewitness identification?
18· ·A.· Okay.· That is in the specific -- I cannot give
19· · · ·you specifics, but it is in the Manual of Rules
20· · · ·what their responsibilities are.· And their
21· · · ·responsibilities are guidance and oversight.· To
22· · · ·make sure that the rules and regulations and the
23· · · ·laws are followed.· But specifically I can't tell
24· · · ·you what took place in the 1970s.
25· ·Q.· But specifically did you see any rules or


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·1· · · ·regulations relating to supervisors
·2· · · ·investigating, preventing or identifying improper
·3· · · ·eyewitness identification?
·4· ·A.· Did I see?
·5· ·Q.· Right.
·6· ·A.· In the 1970s?
·7· ·Q.· Did you see any in any of the documents that have
·8· · · ·been produced?
·9· ·A.· No, I didn't.
10· ·Q.· Okay.· With respect to topic 6B, speaking of,
11· · · ·since you brought up supervision, what efforts
12· · · ·did supervisors make in the 1970s to identify,
13· · · ·investigate or prevent officers from withholding
14· · · ·exculpatory evidence?
15· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
16· · · · · · · and answered.· To the extent you can
17· · · · · · · expand.
18· ·A.· Yeah, I would say that their efforts were, as I
19· · · ·stated before, the oversight of the officers.
20· · · ·And as far as the exculpatory evidence, they
21· · · ·would really never have a role in that.· All that
22· · · ·was done by the prosecutor's office.· It was up
23· · · ·to those supervisors to insure that everything
24· · · ·related to that case was provided to the
25· · · ·prosecutor's office.


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·1· ·Q.· The supervisors are not there with investigating
·2· · · ·detectives during an investigation, correct?
·3· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
·4· · · · · · · answer.
·5· ·A.· No, that's not correct, they are there.· For
·6· · · ·every part of it?· No.· But they are there for
·7· · · ·quite a bit of it.
·8· ·Q.· But there are things that an investigating
·9· · · ·detective would do in an investigation in the
10· · · ·absence of a supervisor, right?
11· ·A.· Yes, there are.
12· ·Q.· Investigating detectives might interview
13· · · ·witnesses, right?
14· ·A.· Yes.
15· ·Q.· They might receive tips about information in a
16· · · ·case, right?
17· ·A.· Yes.
18· ·Q.· A supervisor may or may not be aware of that
19· · · ·depending on whether they were there for that,
20· · · ·right?
21· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
22· · · · · · · answer.
23· ·A.· Immediately at that time they might not be aware
24· · · ·of it, but that's part of the Form 10, Form 1,
25· · · ·and the daily debriefing that we talked about


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·1· · · ·earlier.
·2· ·Q.· So, if the investigating detective decides not to
·3· · · ·write something down in a Form 1 or a Form 10 or
·4· · · ·tell their supervisor about something that's
·5· · · ·going on in a case, how would the supervisor know
·6· · · ·what was going on?
·7· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
·8· · · · · · · answer.
·9· ·A.· They wouldn't know.
10· ·Q.· Okay.· So a supervisor just depends -- just
11· · · ·relies on what the investigating detective
12· · · ·decides to tell them --
13· · · · · · · · · · · MR. MALLAMAD:· Objection.
14· ·Q.· -- about an investigation.· Is that fair to say?
15· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
16· · · · · · · answer.
17· ·A.· Yes.
18· ·Q.· And so a supervisor can only insure that an
19· · · ·investigating detective turned over everything to
20· · · ·the prosecutor if the investigating detective had
21· · · ·decided to turn over everything to the
22· · · ·supervisor?
23· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
24· · · · · · · answer.
25· ·A.· Correct.· And that is the detective's


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·1· · · ·responsibility to do that.
·2· ·Q.· What efforts do supervisors at the City of
·3· · · ·Cleveland make to identify, investigate or
·4· · · ·prevent the failure to document and preserve
·5· · · ·information learned during a homicide
·6· · · ·investigation?
·7· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
·8· · · · · · · and answered.· To the extent you can
·9· · · · · · · expand, you can answer, Chief.
10· ·A.· Okay.· The efforts would be the same with the
11· · · ·supervisors.· It's their responsibility to
12· · · ·oversee that investigation and insure that things
13· · · ·are being done properly and within the law.
14· ·Q.· And if there was information that was learned by
15· · · ·an investigating detective that the supervisor
16· · · ·was unaware of, how does the supervisor become
17· · · ·apprised of it?
18· · · · · · · · · · · MR. MALLAMAD:· Objection.
19· · · · · · · · · · · MR. FUNK:· Objection.
20· · · · · · · · · · · MR. MALLAMAD:· You can answer.
21· ·A.· They wouldn't know about it.
22· ·Q.· What efforts did the supervisors at the City of
23· · · ·Cleveland make to identify, investigate, or
24· · · ·prevent improper interviews, interrogations, or
25· · · ·interactions with juvenile witnesses?


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·1· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
·2· · · · · · · and answered.· To the extent you can
·3· · · · · · · expand, Chief, you can answer.
·4· ·A.· That would just be the supervisor's
·5· · · ·responsibility is to provide that oversight and
·6· · · ·to make sure things are done correctly with the
·7· · · ·information that they have provided to them.
·8· ·Q.· Today do you have general orders or any other
·9· · · ·kind of rules or regulations related to juvenile
10· · · ·witnesses?
11· ·A.· Yes.
12· ·Q.· And what do those rules and orders say generally?
13· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
14· · · · · · · the scope of the deposition, but go ahead,
15· · · · · · · Chief, you can answer.
16· ·A.· Generally, that it's a general guidance about how
17· · · ·we interact with juveniles when we're either
18· · · ·questioning them or just the daily interaction
19· · · ·with them, that there has to be an adult with
20· · · ·them now.· And, you know, we treat them a little
21· · · ·bit different than we do adult witnesses and/or
22· · · ·suspects.
23· ·Q.· What is the reason that juvenile witnesses or
24· · · ·suspects are treated differently than adults?
25· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can


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·1· · · · · · · answer.
·2· ·A.· The way it is now is that's -- you know, we felt
·3· · · ·that -- I don't know if there was any one
·4· · · ·specific incident that led to that, but being
·5· · · ·that they're underage, you know, we just thought
·6· · · ·it was best that we had an adult there with them.
·7· ·Q.· Would you ever question a juvenile witness
·8· · · ·without an adult present?
·9· · · · · · · · · · · MR. MALLAMAD:· Objection.
10· ·A.· Yes, we would.
11· ·Q.· Under what circumstance?
12· · · · · · · · · · · MR. MALLAMAD:· Same objection.
13· ·A.· An interview on the street.· If a juvenile came
14· · · ·up and engaged us and said, hey, this is what's
15· · · ·going on, you know, we would continue that dialog
16· · · ·with them.· We do it all the time.· You know, we
17· · · ·interact and interview and speak with juveniles
18· · · ·without adults there all the time.· If it became
19· · · ·part of a, you know, specific investigation, it
20· · · ·all depends where that investigation would lead,
21· · · ·if we would require a parent.
22· ·Q.· Now, what if you were going to take a statement
23· · · ·from a juvenile regarding something he had
24· · · ·witnessed, a crime he had witnessed, is that a
25· · · ·situation --


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·1· · · · · · · · · · · MR. FUNK:· Objection.
·2· ·Q.· -- where you would have a parent present or an
·3· · · ·adult present?
·4· · · · · · · · · · · MR. MALLAMAD:· Same objection in
·5· · · · · · · that it exceeds the scope of this
·6· · · · · · · deposition.· You can answer, Chief.
·7· ·A.· Today we would.
·8· ·Q.· And why?
·9· · · · · · · · · · · MR. MALLAMAD:· Same objection.
10· ·A.· It's in our general police orders.
11· ·Q.· Do you think that's a good idea to do that?
12· · · · · · · · · · · MR. MALLAMAD:· Objection.
13· · · · · · · · · · · MR. FUNK:· Objection.
14· · · · · · · · · · · MR. MALLAMAD:· You can answer,
15· · · · · · · Chief.
16· ·A.· Do you want my opinion?
17· ·Q.· Yeah.
18· ·A.· Yes.
19· ·Q.· Why?
20· ·A.· I just think it's a good idea, just like I think
21· · · ·Miranda is a good idea and now it's case law.· So
22· · · ·I think juveniles need to feel comfortable and,
23· · · ·you know, be allowed to speak freely.
24· ·Q.· Was there a requirement that an adult be present
25· · · ·for juvenile interviews in the 1970s?


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·1· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
·2· · · · · · · and answered.· You can answer.
·3· ·A.· I don't believe there was.
·4· ·Q.· Do you know when the department first adopted a
·5· · · ·policy that an adult should be present?
·6· ·A.· No, I don't.
·7· ·Q.· Was that the case -- was that rule in place when
·8· · · ·you first started in 1985?
·9· ·A.· I don't know if it was.· I couldn't tell you.                      I
10· · · ·would have to look.
11· ·Q.· Are you aware of any instance between 1950 and
12· · · ·May 19th, 1975 in which the final policy maker
13· · · ·for the police department undertook to review or
14· · · ·analyze whether there were any problems with any
15· · · ·of the policies or procedures in the department?
16· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
17· · · · · · · answer, Chief.
18· ·A.· No, I do not.
19· ·Q.· Are you aware of any instance between 1950 and
20· · · ·May 19th, 1975, in which the final policy maker
21· · · ·for the department undertook to review,
22· · · ·investigate or determine whether there was
23· · · ·misconduct going on with respect to withholding
24· · · ·exculpatory evidence?
25· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can


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·1· · · · · · · answer, Chief.
·2· ·A.· No, I do not.
·3· ·Q.· If there had been efforts to systematically
·4· · · ·review the policies and procedures of the
·5· · · ·department to insure that they were, in fact,
·6· · · ·acting effectively to prevent the violation of
·7· · · ·civilians' constitutional rights, is that
·8· · · ·something that would be documented by the
·9· · · ·department?
10· · · · · · · · · · · MR. MALLAMAD:· Objection.
11· · · · · · · · · · · MR. FUNK:· Objection.
12· · · · · · · · · · · MR. MALLAMAD:· It's way beyond the
13· · · · · · · scope of the deposition, but if you know,
14· · · · · · · Chief, you can answer.
15· ·A.· Yeah.· During those times, that time period, I
16· · · ·don't know.
17· ·Q.· Are you aware of any instance between 1950 and
18· · · ·May 19th, 1975, in which the final policy maker
19· · · ·of the department undertook to review or
20· · · ·determine whether there was any misconduct going
21· · · ·on with respect to interviews of juvenile
22· · · ·witnesses?
23· · · · · · · · · · · MR. MALLAMAD:· Objection.· Same
24· · · · · · · basis.· You can answer.
25· ·A.· No, I do not know that.


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·1· ·Q.· If you turn back to Deposition Exhibit 8.
·2· ·A.· The verification?
·3· ·Q.· Oh, sorry.· Seven.
·4· ·A.· That's the other interrogatories.
·5· ·Q.· All right.· Interrogatory No. 15 on page 10, it
·6· · · ·states please identify and describe any and all
·7· · · ·changes made between 1950 to May 19th, 1975 for
·8· · · ·the City of Cleveland or Cleveland Police
·9· · · ·Department's policies, practices and/or training
10· · · ·relating to any of the policies, procedures or
11· · · ·training identified in Interrogatory numbers 12
12· · · ·through 13 above.
13· · · · · ·Are there any changes that you're aware of
14· · · ·relating to any of the policies, practices or
15· · · ·training other than what's reflected in the
16· · · ·documents that we discussed today?
17· · · · · · · · · · · MR. MALLAMAD:· Objection.· Same
18· · · · · · · basis.· Asked and answered.· You can
19· · · · · · · answer, Chief.
20· ·A.· No, I'm not aware.· No, I do not know.
21· ·Q.· If you turn to Deposition Exhibit 9, page 4,
22· · · ·there's Interrogatory No. 15, which is the
23· · · ·supplement to your prior interrogatory answer.
24· · · ·And this one states that Defendant, City of
25· · · ·Cleveland, states that there were a number of


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·1· · · ·changes made to its written policies, procedures
·2· · · ·and training materials from 1950 to 1980.· The
·3· · · ·general police orders that were issued to members
·4· · · ·of the division of police have been produced.
·5· · · · · ·Is that a true statement?
·6· ·A.· Yes.
·7· ·Q.· And what changes were made to the written
·8· · · ·policies, procedures and training materials from
·9· · · ·1950 to 1980?
10· · · · · · · · · · · MR. MALLAMAD:· Objection.· That's
11· · · · · · · a pretty broad question and it's been asked
12· · · · · · · and answered throughout this deposition,
13· · · · · · · but if you have additional information,
14· · · · · · · Chief, you can answer.
15· · · · · · · · · · · THE WITNESS:· Yeah.
16· ·A.· No, I don't.· I do not know.· I don't have any
17· · · ·additional information.
18· ·Q.· So if there's changes that were made to the
19· · · ·policies, procedures and training materials from
20· · · ·1950 to 1980 they would be reflected in the
21· · · ·documents that have been produced?
22· · · · · · · · · · · MR. FUNK:· Objection.
23· · · · · · · · · · · MR. MALLAMAD:· Objection.
24· · · · · · · · · · · That's not the testimony, but go
25· · · · · · · ahead, Chief.


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·1· ·A.· Yeah, I'd have to say that, like we said before,
·2· · · ·there are -- the documents that have been
·3· · · ·produced are one thing, there may be other
·4· · · ·documents out there that answer those questions
·5· · · ·but I don't know where they're located at.
·6· ·Q.· What are those changes?· Do you know of any
·7· · · ·changes to any policies, procedures or training
·8· · · ·from 1950 to 1980?
·9· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
10· · · · · · · and answered.· To the extent that you can
11· · · · · · · provide additional information, Chief, go
12· · · · · · · ahead and answer.
13· ·A.· No, I do not know what those changes were.
14· ·Q.· So, on the last sentence of Interrogatory No. 15,
15· · · ·the supplemental answer, it says upon information
16· · · ·and belief, the documents produced are not all
17· · · ·the written policies, procedures and training
18· · · ·materials that were in existence at this time.
19· · · · · ·And you said already that there may have
20· · · ·existed other things out there, but you don't
21· · · ·know what they are.· Is that fair to say?
22· ·A.· Yes, that's fair to say.
23· ·Q.· Can you identify any of the changes made to any
24· · · ·policies, procedures or training between 1950 to
25· · · ·1980?


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·1· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
·2· · · · · · · and answered.· I'm not sure how many --
·3· · · · · · · · · · · MR. GILBERT:· Shawn, you're not
·4· · · · · · · keeping track of all the questions.· That
·5· · · · · · · was related to something else.· You know,
·6· · · · · · · she's asking the same question for policy,
·7· · · · · · · supervision, GPOs, this is now training.
·8· · · · · · · · · · · MR. MALLAMAD:· That was asked and
·9· · · · · · · answered, but to the extent you can answer,
10· · · · · · · Chief, go ahead.
11· ·A.· No, I don't have any information on that.                   I
12· · · ·cannot answer that.
13· ·Q.· All right.· Let's take a look at --
14· · · · · · · · · · · MS. WANG:· Mark this as Exhibit
15· · · · · · · 12.
16· · · · · · · · · · · · · ·-· -· -              -
17· · · · · ·(Thereupon, Plaintiff's Exhibit 12 was marked
18· · · · · ·for purposes of identification.)
19· · · · · · · · · · · · · ·-· -· -              -
20· ·Q.· All right.· Take a look at Deposition Exhibit 12
21· · · ·and let me know if you've seen it before.· And
22· · · ·I'll say for the record it's CLE 3912 through CLE
23· · · ·3919.
24· ·A.· Yes, I've seen this before.
25· ·Q.· Okay.· This is a complaint report filed by an


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·1· · · ·attorney named Stanley Tolliver against Detective
·2· · · ·Terpay, Eugene Terpay; is that fair?
·3· ·A.· Yes, it is.
·4· ·Q.· And on page 2, which is CLE 3913, there is a
·5· · · ·letter from Stanley Tolliver to Chief of Police
·6· · · ·Garrity at the time, dated November 25th, 1975.
·7· · · ·And in it he advises the chief of police that --
·8· · · ·and I'll just paraphrase here -- he brought his
·9· · · ·client to the Police Department.· He advised the
10· · · ·police that no statements were to be asked of his
11· · · ·client unless he was present, and then later that
12· · · ·day Detective Terpay called to say that his
13· · · ·client had quote, changed his mind, and was
14· · · ·willing to give a written statement.
15· · · · · ·Tolliver then recounts that on consultation
16· · · ·with Clayton, the client, I've learned that he
17· · · ·had not changed his mind, but was beaten by the
18· · · ·police, one of which was Terpay.
19· · · · · ·Do you see that letter?
20· ·A.· Yes, I do.
21· · · · · · · · · · · MR. FUNK:· Objection.
22· · · · · · · · · · · MS. WANG:· What's the objection?
23· · · · · · · · · · · MR. FUNK:· It's hearsay.· It's
24· · · · · · · multiple hearsays.
25· ·Q.· The letter states, we are asking that you check


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·1· · · ·into this matter.
·2· · · · · ·Are you aware of any action that the Police
·3· · · ·Department took to check into this matter?
·4· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
·5· · · · · · · answer that, Chief.
·6· ·A.· The action that I'm aware of is an investigation
·7· · · ·by Sergeant Comodeca in response to this
·8· · · ·complaint.
·9· ·Q.· That's Peter Comodeca?
10· ·A.· Yes, it is.
11· ·Q.· And what was the nature of his investigation?
12· · · · · · · · · · · MR. MALLAMAD:· Objection.· The
13· · · · · · · documents speak for themselves.· But if you
14· · · · · · · wish, the chief can review the documents
15· · · · · · · and tell you what they reflect.· He can do
16· · · · · · · that.· He obviously wasn't part of the
17· · · · · · · investigation.
18· ·A.· At an overview look at this, this is a standard
19· · · ·procedure.· Whenever any type of complaint is
20· · · ·received, that it's investigated by a supervisory
21· · · ·officer.· That's still true today.· It appears
22· · · ·that this letter was provided to the sergeant at
23· · · ·the time and he asked him to investigate it.· And
24· · · ·his results of what he did and exactly how he
25· · · ·investigated are in this Form 1 that was


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·1· · · ·generated by Sergeant Comodeca and signed off on
·2· · · ·by his captain.
·3· ·Q.· Okay.· And the investigation of Sergeant Comodeca
·4· · · ·was that he interviewed the involved officers; is
·5· · · ·that correct?
·6· · · · · · · · · · · MR. MALLAMAD:· Objection.· To the
·7· · · · · · · extent that you can glean from that
·8· · · · · · · 40-year-old document, Chief, go ahead.
·9· ·A.· Yes, correct.
10· ·Q.· Is there any evidence that Sergeant Comodeca
11· · · ·interviewed the complainant, Stanley Tolliver?
12· · · · · · · · · · · MR. MALLAMAD:· Objection.· Same
13· · · · · · · basis.
14· ·A.· No, there's not.· I do see he interviewed some
15· · · ·FBI agents who were speaking to the complainant
16· · · ·after the alleged allegation took place, but, no.
17· · · ·And I don't see anything where he interviewed
18· · · ·Stanley Tolliver.
19· ·Q.· Is there any evidence that Sergeant Comodeca
20· · · ·interviewed George Clayton who was the person
21· · · ·that was Stanley Tolliver's client?
22· · · · · · · · · · · MR. MALLAMAD:· Objection.· Same
23· · · · · · · basis.
24· ·A.· No.
25· ·Q.· Is the investigation that Sergeant Comodeca


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·1· · · ·conducted into this complaint, consistent with
·2· · · ·the kind of investigation that would be conducted
·3· · · ·into a complaint like this today?
·4· ·A.· No, it's not consistent.
·5· ·Q.· And how would an investigation into an allegation
·6· · · ·that police officers had beaten somebody in the
·7· · · ·police station, how would that be conducted
·8· · · ·today?
·9· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
10· · · · · · · the scope of the deposition, but you can
11· · · · · · · answer, Chief.
12· ·A.· Well, it's actually changed dramatically.· There
13· · · ·are several avenues that one can use to file a
14· · · ·complaint of alleged misconduct against an
15· · · ·officer.· They are assigned police investigators
16· · · ·and at different times civilian investigators,
17· · · ·which require that statements are obtained.· And
18· · · ·it's required that photographs are taken.· It's
19· · · ·required that the interviews are audio taped and
20· · · ·transcribed.· And every effort is to be made to
21· · · ·do a complete impartial investigation.· And the
22· · · ·complainant is notified of the results of the
23· · · ·investigation.
24· ·Q.· And do you agree with the use of those procedures
25· · · ·today in investigating an allegation of


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·1· · · ·misconduct against a department member?
·2· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
·3· · · · · · · the scope.· If you have an opinion, you can
·4· · · · · · · express it.
·5· ·A.· My opinion is today, yeah, I believe that those
·6· · · ·are good policies that we have in place.
·7· ·Q.· Would you characterize the investigation that
·8· · · ·Sergeant Comodeca did into the complaints of
·9· · · ·Stanley Tolliver concerning his client, George
10· · · ·Clayton, a full and complete investigation?
11· · · · · · · · · · · MR. FUNK:· Objection.
12· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
13· · · · · · · the scope.· To the extent that this
14· · · · · · · reflects the entirety of the investigation,
15· · · · · · · beyond that, Chief, you can answer if you
16· · · · · · · have an opinion.
17· ·A.· No.· As far as today's standards, it would be a
18· · · ·little bit different, but I believe that -- I
19· · · ·mean the sergeant did what he thought was
20· · · ·appropriate as far as investigating this at the
21· · · ·time.
22· ·Q.· Are you aware of anything that Sergeant Comodeca
23· · · ·did in relation to this investigation other than
24· · · ·what's reflected in these documents?
25· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond


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·1· · · · · · · the scope.· If you know, Chief, you can
·2· · · · · · · answer.
·3· ·A.· No, I do not know of anything else that he did.
·4· ·Q.· Is there any discipline, that you're aware of,
·5· · · ·that Detective Terpay -- strike that.
·6· · · · · ·Is there any discipline -- strike that.
·7· · · · · ·Did the Cleveland Police Department issue any
·8· · · ·discipline to Detective Terpay as a result of
·9· · · ·this complaint?
10· · · · · · · · · · · MR. MALLAMAD:· Objection.
11· · · · · · · · · · · MR. FUNK:· Objection.
12· · · · · · · · · · · MR. MALLAMAD:· Same basis.· Beyond
13· · · · · · · the scope of this deposition.· If you know,
14· · · · · · · Chief, you can answer.
15· ·A.· I do not know if any discipline was given to
16· · · ·Officer Terpay.
17· ·Q.· If there was any discipline that was given to
18· · · ·Officer Terpay as a result of this complaint,
19· · · ·would you expect that to be reflected in his
20· · · ·personnel file?
21· · · · · · · · · · · MR. FUNK:· Objection.
22· · · · · · · · · · · MR. MALLAMAD:· Objection.· Same
23· · · · · · · basis.· You can answer, chief.
24· ·A.· I would, yes.
25· ·Q.· Who is the final policy maker in the 1970s with


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·1· · · ·respect to discipline of detectives?
·2· ·A.· The chief of police.
·3· ·Q.· Was there any in-service training program in
·4· · · ·existence in 1975 for the members of the Police
·5· · · ·Department?
·6· ·A.· I don't know if there was.
·7· ·Q.· Was there anything done by the final policy maker
·8· · · ·in the 1970s to insure that officers who withheld
·9· · · ·exculpatory evidence were disciplined?
10· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
11· · · · · · · and answered.· Beyond the scope.· You can
12· · · · · · · answer if you have a response, Chief.
13· ·A.· No, I don't have any additional information on
14· · · ·that.
15· ·Q.· Were you able to find any instance of an officer
16· · · ·or a detective who was cited or disciplined for
17· · · ·engaging in unlawful interrogation tactics in the
18· · · ·1970s?
19· · · · · · · · · · · MR. MALLAMAD:· Objection.· Same
20· · · · · · · basis.· You can answer, Chief.
21· ·A.· No.
22· ·Q.· In the 1970s, was there any sort of policy or
23· · · ·practice in place for insuring that officers who
24· · · ·suppressed evidence and then, you know,
25· · · ·subsequently a motion to suppress was granted,


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·1· · · ·that they were disciplined or retrained in some
·2· · · ·way?
·3· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
·4· · · · · · · and answered.
·5· · · · · · · · · · · MR. FUNK:· Objection.
·6· · · · · · · · · · · MR. MALLAMAD:· You can answer,
·7· · · · · · · Chief.
·8· ·A.· In the 1970s, no, I do not know if there was.
·9· · · · · · · · · · · MS. WANG:· All right.· Okay.
10· · · · · · · · · · · · · ·-· -· -               -
11· · · · · · · · · EXAMINATION OF EDWARD TOMBA
12· · · ·BY MR. GILBERT:
13· ·Q.· Just a few questions and then we'll be done.                      I
14· · · ·won't keep you long.· We'll be out of here by
15· · · ·1:30.
16· ·A.· Okay.
17· ·Q.· Good afternoon.
18· ·A.· Good afternoon.
19· ·Q.· I'll try to be brief.
20· · · · · ·Deputy Chief, you read the complaint in this
21· · · ·case, correct?
22· ·A.· Yes.
23· ·Q.· All right.· There was a reference, if you recall,
24· · · ·to a report that was done, funded by the
25· · · ·Cleveland Foundation regarding the Cleveland --


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·1· · · ·the operation of the Cleveland Police Department.
·2· · · ·This would have been in 1975.· You saw that in
·3· · · ·the complaint, correct?
·4· ·A.· That reference?
·5· ·Q.· Yes --
·6· ·A.· Yes.
·7· ·Q.· -- that reference.
·8· ·A.· Yes.
·9· ·Q.· Did you through your efforts to review the
10· · · ·materials that were requested in this case, come
11· · · ·across any reference to that report?
12· ·A.· No.
13· ·Q.· Any of the visits to the Cleveland Police Museum
14· · · ·or any other repository of a document?
15· ·A.· No, I did not.
16· ·Q.· Okay.· Do you have any knowledge as to whether
17· · · ·any of the criticism or recommendations in that
18· · · ·report were followed up by the Cleveland Police
19· · · ·Department during the period of 1975 and
20· · · ·thereafter?
21· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
22· · · · · · · answer, Chief.
23· ·A.· No, I do not, no.
24· ·Q.· Have you ever read that report?
25· ·A.· No, sir, I have not.


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·1· · · · · · · · · · · MR. MALLAMAD:· I'm sorry, for the
·2· · · · · · · record, what's the name of the report?
·3· · · · · · · · · · · MR. GILBERT:· The name of the
·4· · · · · · · report is -- thank you -- for Private
·5· · · · · · · Sector Assistance to the Cleveland Police
·6· · · · · · · Department, authored by John Maddox and
·7· · · · · · · Mark Furstenberg.
·8· · · · · · · · · · · MS. WANG:· And produced by the
·9· · · · · · · city in this case.
10· · · ·BY MR. GILBERT:
11· ·Q.· So, your answer is that you have not seen it,
12· · · ·correct?
13· ·A.· That's correct.· I have not seen that report.
14· ·Q.· And you have not seen any written indication that
15· · · ·any response or follow-up was done by the
16· · · ·Cleveland Police Department?
17· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
18· · · · · · · answer, Chief.
19· ·A.· That's correct, I'm not aware of that.
20· ·Q.· Are you aware of a document called the 1974
21· · · ·report by the mayor's crime commission concerning
22· · · ·police corruption and criminal conduct in 1974?
23· ·A.· No, I'm not aware of that.
24· ·Q.· Okay.· You saw this in the lawsuit complaint, did
25· · · ·you not?


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·1· ·A.· I did, yes.
·2· ·Q.· Well, there was an appendix to that which was a
·3· · · ·1966 study by public administrations service on
·4· · · ·the Cleveland Police Department.· Were you aware
·5· · · ·of that?
·6· ·A.· Just by reading that document.
·7· ·Q.· Are you aware of a study that was actually
·8· · · ·conducted by the Cleveland Police Department
·9· · · ·itself called the Cleveland Police Department
10· · · ·1970 to 1980?
11· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
12· · · · · · · the scope.· You can answer, Chief.
13· ·A.· No, I'm not aware of that document.
14· · · · · · · · · · · MR. GILBERT:· Okay.· Well, there's
15· · · · · · · references there I believe that relate to
16· · · · · · · training, guidance, supervision and things
17· · · · · · · like that.· So, I think it's within the
18· · · · · · · scope, but if he doesn't know about it, he
19· · · · · · · doesn't know about.
20· ·A.· I don't, I'm not aware of that.
21· ·Q.· Okay.· Earlier in the deposition you mentioned
22· · · ·some reference to diversity training that I
23· · · ·believe you said it has existed since you came on
24· · · ·the department, but you didn't believe it was in
25· · · ·existence prior to your getting on the


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·1· · · ·department.· Do you remember that?
·2· ·A.· Yes, I did.
·3· ·Q.· Did I state your testimony correctly?
·4· ·A.· Yes, you did.
·5· ·Q.· Okay.· Now, in addition to diversity training,
·6· · · ·were you aware of actual problems between
·7· · · ·minorities and white officers within the
·8· · · ·department before you came on the job in the
·9· · · ·1980s?
10· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
11· · · · · · · the scope.· You can answer, Chief, to the
12· · · · · · · extent that you have knowledge of that.
13· ·A.· Yeah, no, I had no knowledge of that.
14· ·Q.· Were you aware of any kinds of cartoons, lynching
15· · · ·pictures, derogatory, racially negative postings
16· · · ·in various districts of the Cleveland Police
17· · · ·Department?
18· · · · · · · · · · · MR. MALLAMAD:· For what period of
19· · · · · · · time?
20· ·Q.· When you came on the force in the '80s.
21· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
22· · · · · · · the scope of this deposition.· You can
23· · · · · · · answer, Chief.
24· ·A.· Yeah.· No, I never saw anything like that in the
25· · · ·Sixth District.


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·1· ·Q.· Okay.· But in the department in general?
·2· ·A.· No.
·3· · · · · · · · · · · MR. MALLAMAD:· Same objection.
·4· ·A.· No.
·5· ·Q.· Have you heard about these kinds of things going
·6· · · ·on in the Cleveland Police Department?
·7· · · · · · · · · · · MR. MALLAMAD:· For what period of
·8· · · · · · · time, Terry?· In his career?
·9· · · · · · · · · · · MR. GILBERT:· Anytime.· Anytime.
10· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
11· · · · · · · the scope of this deposition.· To the
12· · · · · · · extent that you can answer, Chief, go
13· · · · · · · ahead.
14· ·A.· Yes, I have heard of those things.
15· ·Q.· And tell me about that.
16· ·A.· I heard that there were some derogatory things
17· · · ·that were posted in different city buildings that
18· · · ·were investigated by members of the division of
19· · · ·police and other people, but never saw anything,
20· · · ·never had any dealing with any of that during my
21· · · ·tenure within the police division.
22· ·Q.· Was this during the term of Mayor White, if you
23· · · ·know?
24· ·A.· I don't know when it was.
25· ·Q.· Okay.· Now, were you aware of a lawsuit regarding


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·1· · · ·discriminatory hiring practices in federal court
·2· · · ·that was ongoing from 1977 into the period where
·3· · · ·you were on the department?· Were you aware of
·4· · · ·this?
·5· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
·6· · · · · · · the scope of this deposition.· If you have
·7· · · · · · · knowledge, Chief, go ahead.
·8· ·A.· Yes, I was aware of that.
·9· ·Q.· And what were you aware that that -- generally
10· · · ·speaking, what that lawsuit was about?
11· · · · · · · · · · · MR. MALLAMAD:· Same objection.
12· ·A.· In general -- in general terms, it was about the
13· · · ·hiring practices of the division of police and
14· · · ·the promotional practices of the division of
15· · · ·police.· I wasn't involved in that as far as
16· · · ·being hired or promoted, so I really -- I didn't
17· · · ·pay a whole lot of attention to it.
18· ·Q.· Were you aware that the City of Cleveland was
19· · · ·under some kind of court order regarding the
20· · · ·practices?
21· · · · · · · · · · · MR. MALLAMAD:· Same objection.
22· · · · · · · You can answer to the extent you have
23· · · · · · · knowledge.
24· ·A.· Right.· No, I don't believe -- no, I don't have
25· · · ·any knowledge of a court order.


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·1· ·Q.· Did you come across, in your search for
·2· · · ·documents, any kind of documents, any kind of
·3· · · ·letters or references or memos, regarding reform
·4· · · ·efforts in the Cleveland Police Department during
·5· · · ·the period of our case, from 1950 to 1980?
·6· · · · · · · · · · · MR. MALLAMAD:· Objection.
·7· · · · · · · · · · · MR. FUNK:· Objection.
·8· · · · · · · · · · · MR. MALLAMAD:· You can answer,
·9· · · · · · · Chief.
10· ·A.· And just to be clear, I didn't perform any
11· · · ·searches.· You know, the officers, retired
12· · · ·officers did, and the answer to that is, no, I
13· · · ·did not.
14· ·Q.· So, specifically do you know -- did you know if
15· · · ·there was any effort on the part of the people
16· · · ·that were doing actually the search for
17· · · ·documents, did you ask them to look for any kind
18· · · ·of internal documents that refer to any kind of
19· · · ·reform efforts?
20· · · · · · · · · · · MR. MALLAMAD:· Objection.
21· · · · · · · · · · · MR. FUNK:· Objection.
22· · · · · · · · · · · MR. MALLAMAD:· You can answer to
23· · · · · · · the extent you can.
24· ·A.· No, I did not.
25· ·Q.· Are you aware of any kind of document, any


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·1· · · ·documents or memos or letters that refer to
·2· · · ·reform efforts in the Cleveland Police Department
·3· · · ·between 1950 and 1980?
·4· · · · · · · · · · · MR. MALLAMAD:· Objection.· You can
·5· · · · · · · answer.
·6· ·A.· No, I'm not aware of any.
·7· · · · · · · · · · · MR. GILBERT:· I have no further
·8· · · · · · · questions.
·9· · · · · · · · · · · MR. MALLAMAD:· The chief would
10· · · · · · · like to read his deposition.
11· · · · · · · · · · · MS. WANG:· Oh, I have a couple
12· · · · · · · follow-ups from what Terry asked.· Sorry.
13· · · · · · · · · · · MR. MALLAMAD:· Go ahead.
14· · · · · · · · · · · MS. WANG:· Since he mentioned some
15· · · · · · · documents, I have more.
16· · · · · · · · · · · · · ·-· -· -               -
17· · · · · ·(Thereupon, Plaintiff's Exhibit 13 was marked
18· · · · · ·for purposes of identification.)
19· · · · · · · · · · · · · ·-· -· -               -
20· · · · · · · · ·RE-EXAMINATION OF EDWARD TOMBA
21· · · ·BY MS. WANG:
22· ·Q.· All right.· So, the court reporter has handed you
23· · · ·what's been marked as Deposition Exhibit 13.· And
24· · · ·it's titled Private Sector Assistance to the
25· · · ·Cleveland Police Department.· And that is the


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·1· · · ·version produced by the city in this case,
·2· · · ·although unfortunately the little Bates numbers
·3· · · ·in the bottom got cut off.
·4· · · · · ·So, I'll let you take a look at that and then
·5· · · ·my question is just -- my first question is just:
·6· · · ·Have you seen that before?
·7· · · · · · · · · · · MR. FUNK:· Do you know what the
·8· · · · · · · Bates numbers are?
·9· · · · · · · · · · · MS. WANG:· Yes.· CLE 977 through
10· · · · · · · 1026.· Also produced in this case is
11· · · · · · · Jackson 4905 to 4957.
12· ·A.· No, I have not reviewed this document previous
13· · · ·'til today.
14· ·Q.· Okay.· So on page -- there's a little roman
15· · · ·numeral --
16· ·A.· Right.
17· ·Q.· -- page 7 of the little roman numerals --
18· ·A.· Okay.
19· ·Q.· -- so under the training section, No. 2 there, it
20· · · ·says a California based consultant group has been
21· · · ·engaged by the city to develop a department
22· · · ·in-service training program that's separate and
23· · · ·as a result to given rise to concern within the
24· · · ·department.
25· · · · · ·Do you know what this -- what this California


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·1· · · ·based consultant group was?
·2· ·A.· No, I do not.
·3· ·Q.· Do you know if there's any records kept by the
·4· · · ·city or the Police Department about the
·5· · · ·consulting group?
·6· ·A.· No, I don't know if there are any records.
·7· ·Q.· Okay.· And so is it your understanding that the
·8· · · ·department did not have any in-service training
·9· · · ·programs at the time of this report in 1975?
10· · · · · · · · · · · MR. MALLAMAD:· Objection.· Asked
11· · · · · · · and answered.
12· ·A.· Yeah, I believe I did answer that before and I
13· · · ·was not sure if there was in-service the way we
14· · · ·run it today, an annual in-service training.
15· ·Q.· If this report indicates that there was not an
16· · · ·in-service training program and they were as of
17· · · ·September 1975 developing one, do you have any
18· · · ·information to dispute that?
19· · · · · · · · · · · MR. MALLAMAD:· Objection.
20· ·A.· No, I don't.
21· · · · · · · · · · · MR. MALLAMAD:· You can answer.
22· ·A.· No, I do not.
23· ·Q.· Does the Cleveland Police Department do anything
24· · · ·with the Cleveland Foundation these days?
25· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond


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·1· · · · · · · the scope.· You can answer, Chief.
·2· ·A.· Yes, we do.
·3· ·Q.· Okay.· And today what does the Cleveland
·4· · · ·Foundation do for the Police Department?
·5· · · · · · · · · · · MR. MALLAMAD:· Same objection.
·6· ·A.· The Cleveland Foundation, they do numerous
·7· · · ·things.· They're a wonderful community partner
·8· · · ·for us.· At times we've gone to them and asked
·9· · · ·them for funding for certain projects that
10· · · ·they've provided us.· They sit on some of our
11· · · ·boards, including our police foundation.· So
12· · · ·specifically what they funded -- they are a
13· · · ·source of funding for us.· So, exactly what they
14· · · ·funded specifically, you know, I really couldn't
15· · · ·tell you, but I've been involved with numerous
16· · · ·representatives from that foundation and they're
17· · · ·just a great civic asset to the city and to the
18· · · ·division of police.
19· ·Q.· Okay.· And just going back to the foreword at the
20· · · ·very beginning of this document, it says in May
21· · · ·of 1975 the Cleveland Foundation asked a number
22· · · ·of lawyers, businessmen, civic leaders, to serve
23· · · ·on a special committee of citizens concerned
24· · · ·about criminal justice, which would recommend
25· · · ·ways private funds could best be used to help


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·1· · · ·improve local criminal -- the local criminal
·2· · · ·justice system.· This is one of five staff
·3· · · ·reports made to the committee.
·4· · · · · ·Is that characterization, is that familiar to
·5· · · ·you in terms of the role that the Cleveland
·6· · · ·Foundation plays today with respect to the
·7· · · ·Cleveland Police Department?
·8· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
·9· · · · · · · the scope.· You can answer, Chief.
10· ·A.· You know, I really don't know.· I mean, I can --
11· · · ·like I said before, my experience with them, but
12· · · ·exactly how their organization is set up and what
13· · · ·they do, I really can't comment on that, I don't
14· · · ·know.
15· ·Q.· Okay.· So going back to inside the document, the
16· · · ·page that's roman numeral six, the little ones --
17· · · ·not roman but --
18· ·A.· Uh-huh.
19· ·Q.· -- the little numbers.
20· · · · · · · · · · · MR. MALLAMAD:· I'm sorry, roman
21· · · · · · · numeral six or the number six?
22· · · · · · · · · · · MS. WANG:· Is that roman numerals?
23· · · · · · · · · · · MR. FUNK:· They're all roman
24· · · · · · · numerals.
25· · · · · · · · · · · MS. WANG:· Oh, those are roman


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·1· · · · · · · numerals.· The other ones are arabic
·2· · · · · · · numerals.· Okay.
·3· ·A.· Right, I got it.
·4· ·Q.· The bottom it says "project recommendations"?
·5· ·A.· Correct.
·6· ·Q.· Each of these recommended projects arose from our
·7· · · ·discussions with one or more Cleveland police
·8· · · ·officials or officers?
·9· ·A.· Right.
10· ·Q.· Then it says the police manual project has been
11· · · ·formally requested by the chief.· And it says
12· · · ·one, police manual, the Cleveland Police Manual
13· · · ·is out of date in light of new standards.· The
14· · · ·modern police manual is drafted pursuant to these
15· · · ·standard to create departmental uniformity.
16· · · ·Provide guidance to officers in complex
17· · · ·situations and instill public confidence and
18· · · ·protect conforming officers from civil liability.
19· · · ·The Cleveland Police Department is currently
20· · · ·rewriting its manual.
21· · · · · ·Do you know anything about the effort to
22· · · ·rewrite the manual during this time period of
23· · · ·September 1975?
24· ·A.· No, I do not.
25· ·Q.· Okay.· And is it your understanding that the


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·1· · · ·manual -- as of the publishing of this document
·2· · · ·which is September of 1975 -- the manual was in
·3· · · ·the process of being rewritten, but that had not
·4· · · ·yet been completed?
·5· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
·6· · · · · · · the scope.· Assuming you have knowledge,
·7· · · · · · · Chief, go ahead.
·8· ·A.· Right.· By reading this I would say that is
·9· · · ·correct.
10· ·Q.· Okay.· And you have no information to contest
11· · · ·that?
12· ·A.· No.
13· · · · · · · · · · · MR. MALLAMAD:· Same objection.
14· ·A.· No, I do not.
15· ·Q.· Okay.· Now -- by the way, are there annual
16· · · ·reports of the Cleveland Police Department put
17· · · ·out in the 1970s?
18· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
19· · · · · · · the scope, but you can answer.
20· ·A.· I don't know if there were annual reports.
21· ·Q.· Today are there annual reports?
22· · · · · · · · · · · MR. MALLAMAD:· Same objection.
23· ·A.· Yes.
24· ·Q.· And what do the annual reports cover generally
25· · · ·today?


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·1· · · · · · · · · · · MR. MALLAMAD:· Same objection.
·2· ·A.· They cover, obviously, crime statistics.
·3· · · ·Budgetary expenditures.· Programs that we
·4· · · ·implemented within the division of police.                     I
·5· · · ·mean, just -- I would have to say a broad review
·6· · · ·or overview of what took place during our last 12
·7· · · ·months of the division, in the division of
·8· · · ·police.
·9· ·Q.· On page 11 the arabic numerals.
10· ·A.· Regular page 11?
11· ·Q.· Regular page 11.
12· ·A.· Okay.· Got it.
13· ·Q.· The second full paragraph says the lack of
14· · · ·non-salaried funds to be used as the discretion
15· · · ·of the department is evidenced by one, the
16· · · ·absence of ongoing in-service training for all
17· · · ·officers.
18· · · · · ·Do you see that sentence?
19· ·A.· Yes, I do.
20· ·Q.· Do you have any information to dispute that there
21· · · ·was no ongoing in-service training for all
22· · · ·officers?
23· · · · · · · · · · · MR. MALLAMAD:· Objection.
24· ·A.· No, I --
25· · · · · · · · · · · MR. MALLAMAD:· Beyond the scope.


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·1· · · · · · · To the extent you have personal knowledge,
·2· · · · · · · Chief, you can answer.
·3· ·A.· No, I do not.
·4· ·Q.· Well, you've been designated by the city to
·5· · · ·testify about all training that existed in the
·6· · · ·1970s; is that right?
·7· ·A.· Yes, I have been.
·8· ·Q.· All right.· Your answers are in the capacity as
·9· · · ·the person who was designated by the city to
10· · · ·testify about the training that did or did not
11· · · ·exist in 1970 to 1980 --
12· · · · · · · · · · · MR. MALLAMAD:· Objection.
13· ·Q.· -- is that true?
14· · · · · · · · · · · MR. MALLAMAD:· Based on the
15· · · · · · · records that were available and have been
16· · · · · · · located.· This gentleman is not a member of
17· · · · · · · the Police Department in the 1970s.
18· ·A.· Yes.
19· · · · · · · · · · · MS. GILBERT:· Then we need
20· · · · · · · somebody, right?
21· · · · · · · · · · · MR. MALLAMAD:· Good luck.
22· ·A.· Yes, that's correct and I fully understand that.
23· ·Q.· All right.· And if there were some other training
24· · · ·that the City of Cleveland provided, you don't
25· · · ·know what that is?


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·1· · · · · · · · · · · MR. MALLAMAD:· Objection.· Same
·2· · · · · · · basis.· You can answer.
·3· ·A.· Right.· That is correct.· I am unaware of that.
·4· ·Q.· All right.· Turning to page 25 -- actually go to
·5· · · ·24, which is the page before.
·6· ·A.· Okay.
·7· ·Q.· So, on page 24 the Cleveland Foundation here is
·8· · · ·giving project recommendations.· And at the
·9· · · ·bottom it says "police manual".· Now, turn to
10· · · ·page 25.
11· ·A.· Okay.
12· · · · · · · · · · · MR. MALLAMAD:· There's not a
13· · · · · · · question yet, Chief, so I'm going to object
14· · · · · · · to the beginning of that statement, but go
15· · · · · · · ahead.
16· ·Q.· The Cleveland -- on page 25 it says the Cleveland
17· · · ·Police Manual rules of conduct was promulgated in
18· · · ·1950 and like the manuals of many departments is
19· · · ·out of date in light of these new standards.
20· · · · · ·Actually, let me read the sentence before.
21· · · ·So from the bottom of 24 to 25 it says, 1, police
22· · · ·manual, the importance of police policy has been
23· · · ·recognized widely during the past few years
24· · · ·culminating in recommended national standards for
25· · · ·implementing police policy.


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·1· · · · · ·And then in a footnote it cites to ABA
·2· · · ·standards and MAC standards dating to 1973.
·3· · · · · ·Then it says the Cleveland Police Manual
·4· · · ·rules of conduct and discipline was promulgated
·5· · · ·in 1950 and like the manuals of many departments
·6· · · ·is out of date in light of these new standards.
·7· · · · · ·Do you have any information to dispute that
·8· · · ·there were, in fact, national standards for
·9· · · ·implementing police policy that existed at the
10· · · ·time?
11· · · · · · · · · · · MR. MALLAMAD:· Objection --
12· · · · · · · · · · · MR. FUNK:· Objection.
13· · · · · · · · · · · MR. MALLAMAD:· -- to form, as to
14· · · · · · · the scope of the deposition.· To the extent
15· · · · · · · you have personal knowledge, Chief, you can
16· · · · · · · answer.
17· ·A.· No, I do not have knowledge of that.
18· ·Q.· Okay.· Do you have any information, one way or
19· · · ·another, with respect to -- sorry, strike that.
20· · · · · ·Do you have any information to contest that
21· · · ·the Cleveland Police Manual that was promulgated
22· · · ·in 1950 was still in existence and in effect in
23· · · ·September of 1975?
24· · · · · · · · · · · MR. MALLAMAD:· Same objection.
25· · · · · · · You can answer, Chief.


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·1· ·A.· No, I don't have any information if it was the
·2· · · ·same manual.
·3· ·Q.· On page 27 on the training, it says presently
·4· · · ·there is little formal training going on in the
·5· · · ·department and there's little reason to believe
·6· · · ·that the department can make a major investment
·7· · · ·in training; however much importance it may
·8· · · ·attach to training.
·9· · · · · ·Do you have any information to dispute that
10· · · ·there was little formal training going on in the
11· · · ·department at the time?
12· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
13· · · · · · · the scope.· Beyond this mans' personal
14· · · · · · · knowledge, but to the extent you know,
15· · · · · · · Chief, you may answer.
16· ·A.· No, I do not know.
17· · · · · · · · · · · · · ·-· -· -               -
18· · · · · ·(Thereupon, Plaintiff's Exhibit 14 was marked
19· · · · · ·for purposes of identification.)
20· · · · · · · · · · · · · ·-· -· -               -
21· ·Q.· So, the court reporter has handed to you what has
22· · · ·been marked as Deposition Exhibit 14.· It is
23· · · ·Bates Stamped Jackson 4756 through 4904.· And for
24· · · ·the record it was also produced by the city as
25· · · ·CLE 1105 through 1252.


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·1· · · · · ·Have you ever see that document before?
·2· · · · · · · · · · · MR. MALLAMAD:· This one appears to
·3· · · · · · · be blank.
·4· · · · · · · · · · · MS. WANG:· Oh, what happened to my
·5· · · · · · · --
·6· ·A.· Here we go -- well -- here, these are all blank.
·7· · · · · · · · · · · · · ·-· -· -               -
·8· · · · · · · · · · · ·(Off the record.)
·9· · · · · · · · · · · · · ·-· -· -               -
10· · · ·BY MS. WANG:
11· ·Q.· So, if you would just turn to -- oh, have you
12· · · ·seen that document?
13· ·A.· Yes.
14· ·Q.· Okay.· And did you review it in the context of
15· · · ·preparing for your deposition today?
16· ·A.· I reviewed parts of it, yes.
17· ·Q.· Okay.· If you turn to the first little tab there,
18· · · ·that Jackson 4762, there's a highlighted sentence
19· · · ·there that states departmental procedures and
20· · · ·rules have not been revised in nearly one quarter
21· · · ·of a century despite the overwhelming changes in
22· · · ·society and the police functions which have taken
23· · · ·place in that time.
24· · · · · ·Are you aware of any information to disagree
25· · · ·with that statement?


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·1· · · · · · · · · · · MR. MALLAMAD:· Objection.· Form.
·2· · · · · · · Beyond the scope of the deposition.· To the
·3· · · · · · · extent you have any personal knowledge,
·4· · · · · · · Chief, you can answer.
·5· ·A.· No, I have no knowledge if that's true.
·6· ·Q.· Okay.· And this is a preliminary report of the
·7· · · ·mayor's crime commission created March 16th, 1974
·8· · · ·with recommendations, and then there's another
·9· · · ·date, June 6th, 1974, right?
10· ·A.· Yes, there is.
11· ·Q.· So actually this is a document that was
12· · · ·commissioned by the mayor itself concerning the
13· · · ·Cleveland Police Department and issues concerning
14· · · ·police corruption that were taking place in the
15· · · ·Police Department at the time.· Is that fair to
16· · · ·say?
17· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
18· · · · · · · the scope.· To the extent you have personal
19· · · · · · · knowledge of the reason this was created,
20· · · · · · · Chief, you can answer.
21· ·A.· I don't know the reason why it was created.
22· ·Q.· Okay.· Do you have any information to dispute the
23· · · ·fact that the Cleveland Crime Commission was
24· · · ·commissioned by the mayor of Cleveland at the
25· · · ·time?


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   EDWARD TOMBA                                                 February 22, 2016
   JACKSON vs CITY OF CLEVELAND                                               206

·1· · · · · · · · · · · MR. MALLAMAD:· Objection.· Same
·2· · · · · · · basis.
·3· ·A.· Yeah, I have no -- nothing to dispute that.
·4· ·Q.· Okay.· So, if you turn to the page that is Bates
·5· · · ·Stamped Jackson 4843, it is labeled appendix item
·6· · · ·F and it is a memo from Mayor Ralph Perk to James
·7· · · ·Carney, Director of Safety, and Gerald Rademaker,
·8· · · ·Chief of Police, it's dated October 5th, 1972.
·9· · · ·Do you see that?
10· ·A.· Yes, I do.
11· ·Q.· Now, on page 6 of the memo, which is Bates
12· · · ·Stamped Jackson, 4848, it says at the bottom,
13· · · ·immediate steps should also be undertaken for a
14· · · ·complete revision of the rules of conduct and
15· · · ·discipline written in 1950 for members of the
16· · · ·Cleveland Police Department so that it is
17· · · ·consistent with the requirements and conditions
18· · · ·that exist today in 1972.
19· · · · · ·Do you see that?
20· ·A.· Yes, I do.
21· ·Q.· Are you aware of whether or not the Mayor, Ralph
22· · · ·Perk, issued a memo to the chief of police and
23· · · ·the director of public safety in 1972 telling the
24· · · ·Police Department that they needed to revise
25· · · ·their 1950 police manual?


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·1· · · · · · · · · · · MR. MALLAMAD:· Objection.· Beyond
·2· · · · · · · the scope.· To the extent you have personal
·3· · · · · · · knowledge of that, you can answer, Chief.
·4· ·A.· No, I don't -- no, I do not have any personal
·5· · · ·knowledge of that.
·6· ·Q.· Okay.· Are you aware of whether or not the
·7· · · ·Cleveland Police Manual was revised at any time
·8· · · ·between 1972 and 1975?
·9· · · · · · · · · · · MR. MALLAMAD:· Objection.· Same
10· · · · · · · basis.· You can answer.
11· ·A.· No, I did not.
12· · · · · · · · · · · MS. WANG:· I have no further
13· · · · · · · questions.
14· · · · · · · · · · · MR. MALLAMAD:· The chief would
15· · · · · · · like to read.· Thank you.
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      EDWARD TOMBA                                                  February 22, 2016
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·1· · · · · · · SIGNATURE OF DEPONENT

·2
· ·   · · I, the undersigned, EDWARD TOMBA, do hereby
·3
· ·   ·certify that I have read the foregoing
·4
· ·   ·deposition and find it to be a true and
·5
· ·   ·accurate transcription of my testimony, with
·6
· ·   ·the following corrections, if any:
·7
· ·   ·PAGE· ·LINE· · · · CHANGE· · · · · · REASON
·8

·9

10

11

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23
· · · · · · · · · · · · ___________________
24· · · · · · · · · · · EDWARD TOMBA

25


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·1

·2

·3· · · · · · · · ·C E R T I F I C A T E

·4
· · ·The State of Ohio, )· ·SS:
·5· ·County of Cuyahoga.)

·6

·7·   · · · ·I, Brian A. Kuebler, a Notary Public within
· ·   ·and for the State of Ohio, authorized to
·8·   ·administer oaths and to take and certify
· ·   ·depositions, do hereby certify that the
·9·   ·above-named witness was by me, before the giving
· ·   ·of their deposition, first duly sworn to testify
10·   ·the truth, the whole truth, and nothing but the
· ·   ·truth; that the deposition as above-set forth was
11·   ·reduced to writing by me by means of stenotypy,
· ·   ·and was later transcribed by computer-aided
12·   ·technology under my direction; that this is a
· ·   ·true record of the testimony given by the
13·   ·witness; that said deposition was taken at the
· ·   ·aforementioned time, date and place, pursuant to
14·   ·notice or stipulations of counsel; that I am not
· ·   ·a relative or employee or attorney of any of the
15·   ·parties, or a relative or employee of such
· ·   ·attorney or financially interested in this
16·   ·action; that I am not, nor is the court reporting
· ·   ·firm with which I am affiliated, under a contract
17·   ·as defined in Civil Rule 28(D).

18· · · ·IN WITNESS WHEREOF, I have hereunto set my
· · ·hand and seal of office, at Cleveland, Ohio, this
19· ·____ day of ____________, A.D. 20 ___.

20

21·   ·______________________________________________
· ·   ·Brian A. Kuebler, Notary Public, State of Ohio
22·   ·55 Public Square, Suite 1332
· ·   ·Cleveland, Ohio 44113
23·   ·My commission expires June 12, 2017

24

25


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·1·   ·Reference No.: 355660
·2
·3·   ·Case:· JACKSON vs CITY OF CLEVELAND
·4
· ·   · · ·DECLARATION UNDER PENALTY OF PERJURY
·5
· ·   · · · I declare under penalty of perjury that
·6·   ·I have read the entire transcript of my Depo-
· ·   ·sition taken in the captioned matter or the
·7·   ·same has been read to me, and the same is
· ·   ·true and accurate, save and except for
·8·   ·changes and/or corrections, if any, as indi-
· ·   ·cated by me on the DEPOSITION ERRATA SHEET
·9·   ·hereof, with the understanding that I offer
· ·   ·these changes as if still under oath.
10
11·   · · · · ·___________________________
12·   · · · · ·Edward Tomba
13
14·   · · · · · ·NOTARIZATION OF CHANGES
15·   · · · · · · · · (If Required)
16
17·   ·Subscribed and sworn to on the ______ day of
18
19·   ·__________________________, 20____ before me,
20
21·   ·(Notary Sign)________________________________
22
23·   ·(Print Name)· · · · · · · · · · Notary Public,
24
25·   ·in and for the State of _____________________

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·1· ·Reference No.: 355660
· · ·Case:· JACKSON vs CITY OF CLEVELAND
·2
·3· ·Page No._____Line No._____Change to:______________
·4· ·__________________________________________________
·5· ·Reason for change:________________________________
·6· ·Page No._____Line No._____Change to:______________
·7· ·__________________________________________________
·8· ·Reason for change:________________________________
·9· ·Page No._____Line No._____Change to:______________
10· ·__________________________________________________
11· ·Reason for change:________________________________
12· ·Page No._____Line No._____Change to:______________
13· ·__________________________________________________
14· ·Reason for change:________________________________
15· ·Page No._____Line No._____Change to:______________
16· ·__________________________________________________
17· ·Reason for change:________________________________
18· ·Page No._____Line No._____Change to:______________
19· ·__________________________________________________
20· ·Reason for change:________________________________
21· ·Page No._____Line No._____Change to:______________
22· ·__________________________________________________
23· ·Reason for change:________________________________
24
· · ·SIGNATURE:_______________________DATE:___________
25· ·Edward Tomba

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·1· ·Reference No.: 355660
· · ·Case:· JACKSON vs CITY OF CLEVELAND
·2
·3· ·Page No._____Line No._____Change to:______________
·4· ·__________________________________________________
·5· ·Reason for change:________________________________
·6· ·Page No._____Line No._____Change to:______________
·7· ·__________________________________________________
·8· ·Reason for change:________________________________
·9· ·Page No._____Line No._____Change to:______________
10· ·__________________________________________________
11· ·Reason for change:________________________________
12· ·Page No._____Line No._____Change to:______________
13· ·__________________________________________________
14· ·Reason for change:________________________________
15· ·Page No._____Line No._____Change to:______________
16· ·__________________________________________________
17· ·Reason for change:________________________________
18· ·Page No._____Line No._____Change to:______________
19· ·__________________________________________________
20· ·Reason for change:________________________________
21· ·Page No._____Line No._____Change to:______________
22· ·__________________________________________________
23· ·Reason for change:________________________________
24
· · ·SIGNATURE:_______________________DATE:___________
25· ·Edward Tomba

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